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                           EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

                                         )
   SANOFI-AVENTIS U.S. LLC and           )
   SANOFI MATURE IP,                     )
                                         )
                      Plaintiffs,        )     C.A. No. 20-804 (RGA)
                                         )     CONSOLIDATED
   v.                                    )
                                         )
   APOTEX CORP., et al.,                 )
                                         )
                      Defendants.        )



          SUPPLEMENTAL VALIDITY REPORT OF PETER S. NELSON, M.D.
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  I.     Introduction

         1.      I have been asked by counsel for plaintiffs Sanofi-Aventis U.S. LLC and Sanofi

  Mature IP (collectively, “Sanofi”) to respond to new arguments set forth in the March 19, 2021

  Reply Expert Report of Mark J. Ratain, M.D. for U.S. Patent Nos. 10,716,777 and 10,583,110

  (“the ’777 and ’110 patents”) (“Ratain Reply Report”) and the opinions regarding the ’777 and

  ’110 patents in the August 18, 2022 Supplemental Opening Expert Report of Mark J. Ratain,

  M.D. (“Ratain Supp. Report”) for U.S. Patent No. 8,927,592 (“the ’592 patent”). I have based

  my opinions on my general knowledge of clinical and experimental therapy for prostate cancer,

  Dr. Ratain’s reports and the references cited therein, and the documents set forth in Exhibit 1. 1

  II.    Responses to Dr. Ratain’s Assertions Regarding Increasing Survival

         2.      I understand that the Court has construed “increasing survival” as “increasing any

  of overall survival, tumor progression-free survival, pain progression-free survival, or prostate

  specific antigen (PSA) progression-free survival as compared to any other treatment that may be

  available to the patient (including no treatment).” 2 I have applied this construction in reaching

  the opinions contained herein.

         3.      For all the reasons set forth in my February 26, 2021 Rebuttal Validity Report

  (“Rebuttal Report”) (¶¶ 86-182) and set forth below, it is my opinion that a POSA would not

  have reasonably expected the claimed cabazitaxel treatment methods to increase either overall

  survival or any PFS metric as compared to any other alternative treatment or no treatment at all.




  1
   Exhibit 1 identifies the abbreviations for references used in this report.
  2
   The scientific literature refers to “survival” when referring to overall survival. In light of the
  Court’s construction, I will specify overall survival where needed herein.
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         A.      Responses to Dr. Ratain’s Assertions Regarding Overall Survival

         4.      Dr. Ratain opines that because two objectives of terminal cancer care are

  improving quality and quantity of life, a POSA administering any therapy to a patient would be

  motivated “to try to increase” quantity of life and that this goal in conjunction with the existence

  of the TROPIC study would have motivated a POSA to administer cabazitaxel therapy to the

  claimed patients “with the intent of increasing survival given the poor alternative of

  mitoxantrone and prednisone.” Ratain Supp. Report at ¶ 58. I disagree. While the two primary

  goals of treatment for mCRPC are improving a patient’s quality of life through pain and

  symptom control and/or increasing the quantity of life, a POSA understood that the intent of

  administering any particular treatment depends on the available data. A POSA also would have

  kept in mind the potential for a therapy to worsen quality of life. Since extending quantity of life

  was such a difficult task for patients with mCRPC by October 2009, and multiple drugs had

  failed to show a benefit for overall survival despite anecdotal reductions in pain, PSA,

  measurable tumor size, or even increases in PFS (Rebuttal Report at ¶¶ 56-57, 122-125, 131-

  141),3 a POSA could not have intended to increase quantity of life without data supporting a

  reasonable expectation that overall survival would be increased.

         5.      Dr. Ratain mischaracterizes my opinions on obviousness as requiring a phase III

  study to have an intent of increasing survival. Ratain Reply Report at ¶¶ 19, 59. A completed

  phase III study would not have been necessary, but Dr. Ratain relies upon references discussing

  the existence of the phase III TROPIC study of cabazitaxel (i.e., brief descriptions of the study),

  the first comparative study of cabazitaxel in any patient type. Thus, a POSA evaluating that



  3
   While many of these studies were even earlier in the disease state before patients had received
  docetaxel, a POSA would have understood post-docetaxel mCRPC as an even more challenging
  patient population to treat. Rebuttal Report at ¶ 117.
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  prior art would have also considered the existence of other negative phase III studies in mCRPC

  and the earlier phase data supporting those studies in assessing what conclusions and

  expectations to draw about the existence of the TROPIC study and the potential outcomes.

         6.      Dr. Ratain also opines that investigators enrolling patients in the TROPIC study

  were practicing the asserted claims and that investigators would have expected that the

  cabazitaxel treatment would increase survival. Ratain Supp. Report ¶ 61. I disagree. TROPIC

  was randomized, meaning it was not known in advance whether a patient would receive

  mitoxantrone or cabazitaxel. It was also unknown whether cabazitaxel would be better, worse,

  or the same as mitoxantrone with respect to overall survival or PFS. Indeed, the purpose of the

  TROPIC study was to determine whether cabazitaxel therapy could increase overall survival as

  compared to mitoxantrone therapy (an equivalent to no treatment for overall survival because it

  had never been shown to increase quantity of life). The existence of the TROPIC study itself

  with such minimal supporting data (a single responding patient with mCRPC previously treated

  with docetaxel), in view of the many negative mCRPC clinical trials with survival endpoints,

  would not have motivated a POSA to administer cabazitaxel (with or without prednisone) with

  the intent of increasing overall survival or PFS (as compared to any alternative treatment or no

  treatment). Rebuttal Report at ¶¶ 164-171. A POSA would not have understood that the

  TROPIC investigators intended to increase survival of their patients by administering cabazitaxel

  therapy.

         7.      Dr. Ratain states that the activity of cabazitaxel in the TROPIC study was “more

  predictable than that of most chemotherapy drugs, given its similarity to docetaxel.” Ratain

  Reply Report at ¶ 52. To the extent that Dr. Ratain is implying that taxanes would be expected

  to act similarly, I disagree for the reasons set forth in my Rebuttal Report (¶¶ 88, 95-107). In



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  addition, the TROPIC study included patients that had progressed during or shortly after

  docetaxel therapy. Cabazitaxel would have been expected to be of no benefit to these patients if

  it was expected to have the same activity as docetaxel. Ross at 525 (“[I]t appears unlikely that

  docetaxel alone would provide any benefit in patients who have just progressed while receiving

  docetaxel . . . .”). With respect to the TROPIC study, a POSA would have expected cabazitaxel

  therapy to be less active in post-docetaxel mCRPC patients than another chemotherapy with a

  different mechanism of action. See, e.g., Attard at 76 (“[D]espite these modest improvements,

  the fundamental mechanism of the anticancer activity of these new taxanes remains unchanged

  and they are unlikely to make a dramatic impact on patient outcome.”).

         8.      Dr. Ratain further opines that “in a hypothetical world,” if a drug “reproducibly

  reduces PSA, tumor size, or pain in multiple patients,” it “would demonstrate a statistically

  significant increase in survival if the trial were sufficiently large.” Ratain Reply Report at ¶ 49.

  A POSA considering whether to administer a therapy with the intent of increasing survival

  would consider existent data, not hypothesize about an infinitely large study, which may or may

  not reveal a nominal increase in survival. Those hypotheticals would not have motivated a

  POSA to administer a therapy with the intent to increase survival. Furthermore, the mCRPC

  literature discussed in my Rebuttal Report demonstrates that many drugs were reported to reduce

  tumor size, pain, and/or PSA but did not show increases in overall survival and/or increases in

  PFS as compared to other treatments. Rebuttal Report at ¶¶ 130-141. In fact, GVAX and DN-

  101 had more deaths (i.e., worse overall survival) than the comparator. Rebuttal Report at ¶¶

  131-132.

         9.      The lung cancer publication by Temel et al. cited by Dr. Ratain (Ratain Reply

  Report at ¶ 16) does not indicate that a drug that has some palliative benefit for mCRPC



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  increases overall survival. Temel did not assess a single therapy but rather an approach of

  including palliative care teams (which would have included various treatments and nonmedical

  approaches for improving quality of life) for newly diagnosed metastatic non-small-cell lung

  cancer as compared to standard treatment, where palliative care teams would typically be

  involved later in the course of the patient’s disease. Temel at 734-35. The early use of palliative

  care teams improved quality of life and mood, which the authors hypothesized accounted for the

  observed overall survival benefit. Temel at 739. The authors note that limitations of the study

  include that it was performed at a single tertiary care site with a team of specialized physicians,

  which limited generalization to other cancers. Temel at 741. With respect to mCRPC,

  mitoxantrone is a prototypical example of a drug that had been shown to increase pain PFS but

  not to increase overall survival. Rebuttal Report at ¶¶ 60-61. Thus, for mCRPC, a POSA would

  not assume an improvement in palliation would lead to an increase in overall survival.

         B.      Responses to Dr. Ratain’s Assertions Regarding Treatment of “Docetaxel
                 Sensitive” Patients

         10.     Dr. Ratain opines that a POSA would have had a reasonable expectation of

  success of increasing overall survival in patients that received minimal docetaxel and would still

  be considered docetaxel-sensitive. Ratain Supp. Report ¶¶ 68-73. I disagree. As an initial

  matter, Dr. Ratain states that docetaxel resistance was “well-defined” as progression “during

  docetaxel treatment.” Ratain Reply Report ¶ 27. Literature at the time did not consider

  docetaxel resistance so narrowly. As noted in my Rebuttal Report, clinical studies referred to

  patients as being refractory or resistant if there was progression within a few months after

  stopping docetaxel; the studies did not require progression during docetaxel treatment. Rebuttal

  Report at ¶ 81; Loriot at 704 (describing patients as docetaxel-resistant if there was progression

  within 60 days following docetaxel).


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         11.     Dr. Ratain points to the fact that some patients in Mita had not previously been

  treated with docetaxel as making it “obvious to administer cabazitaxel to patients that had never

  received docetaxel (and thus had not developed resistance to docetaxel) and those that had

  previously received docetaxel, but were not resistant.” Ratain Reply Report at ¶¶ 62-63. I

  disagree. Mita was a phase I dose-ranging study in a variety of tumor types, which enrolled

  patients between 1999-2001 before docetaxel had been approved for use in mCRPC and

  therefore when docetaxel itself was still an experimental treatment for prostate cancer. Mita at

  724, 726; Goetz (presenting preliminary results for 14 patients). A POSA would not draw any

  inferences about the fact that Mita enrolled patients who had not received docetaxel as

  suggesting that cabazitaxel therapy was appropriate to administer to (let alone with a reasonable

  expectation of increasing survival of) docetaxel-naïve or sensitive patients by October 2009, five

  years after docetaxel became the accepted standard of care for mCRPC.

         12.     Dr. Ratain also hypothesizes that the docetaxel-naïve patient in Mita with a partial

  response to 15 mg/m2 of cabazitaxel might have had the same response if he had received small

  doses of docetaxel. Ratain Reply Report at ¶ 56. A POSA would not have speculated in this

  way because there would have been no way to predict the effect of docetaxel on the patient’s

  cancer. That patient could have just as easily (if not more likely) developed resistance and/or

  toxicities to docetaxel that would have made further chemotherapy, let alone treatment with 15

  mg/m2 of cabazitaxel, inappropriate and/or ineffective.

         13.     Dr. Ratain also asserts that a POSA would have been motivated to administer

  cabazitaxel, which was in general administered in lower doses than docetaxel, for patients who

  could not or chose not to tolerate docetaxel but were still docetaxel-sensitive. Ratain Reply

  Report at ¶¶ 63-65. I disagree. Cabazitaxel was an experimental drug with little available



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  clinical data on its safety, particularly for men with mCRPC that had already received docetaxel

  and had disease progression. The reported side effects of cabazitaxel were similar to docetaxel,

  including neutropenia, nausea, diarrhea, and neurosensory symptoms. Mita at 726-27; Pivot at

  1550; Taxotere® Label at 11-13, 27-28. Dr. Ratain points to fluid retention and pleural effusion

  in particular as a reason to select cabazitaxel for docetaxel-sensitive patients. Ratain Reply

  Report at ¶ 65. In the TAX 327 study, mitoxantrone caused less fluid retention and edema than

  docetaxel, making it a better (FDA-approved) option than cabazitaxel for patients unable to take

  docetaxel for that reason. Taxotere® Label at 27-28. A POSA concerned enough about fluid

  retention and pleural effusion to stop docetaxel would not have wanted to administer additional

  taxane therapy with experimental cabazitaxel, which had been reported to cause edema and

  pleural effusion in some patients (Pivot at 1550, Table 2) even if the risk was lower.

         14.     Dr. Ratain notes that docetaxel may be stopped after 10 cycles even though the

  patient has not progressed because that was the limit of the pivotal clinical studies. Ratain Reply

  Report at ¶ 64. However, it was not uncommon for patients receiving docetaxel who were

  tolerating therapy and not progressing to continue beyond 10 cycles, particularly because there

  were no other life-prolonging options before October 2009. Petrylak 2004 at 1515 (patients in

  SWOG9916 trial could receive up to 12 cycles of docetaxel); Sternberg 2009 at 1265-66

  (patients could receive up to 12 cycles of docetaxel, range 1-13). I have personally continued my

  patients beyond 10 cycles of docetaxel, and I know other oncologists have done so as well.

         15.     Dr. Ratain also refers to obscure types of patients that he claims would be

  docetaxel-sensitive yet still fall within the claims. Ratain Supp. Report at ¶ 70. For example, he

  identifies patients on clinical trials who received adjuvant docetaxel after a prostatectomy.

  Ratain Supp. Report at ¶¶ 70, 72. Patients receive prostatectomy for their localized prostate



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  cancer in attempt to cure the disease. Adjuvant therapy (after the surgery) is an attempt to

  prevent disease recurrence. These are not patients with metastatic prostate cancer, let alone

  patients with metastases who have become castration-resistant.

         16.     The asserted claims state that the patient “has castration resistant metastatic

  prostate cancer that has progressed during or after treatment with docetaxel.” A POSA

  reviewing this claim language would understand it to mean patients had mCRPC and received

  docetaxel for that mCRPC. In fact, outside of clinical studies, systemic chemotherapy was only

  recommended for patients that already had mCRPC. NCCN Prostate Cancer Guidelines 2009 at

  CabRef0002915-20, CabRef0002925, CabRef0002945-46.

         17.     Kibel reported a patient death from adjuvant docetaxel leading the authors to

  conclude “we do not recommend adjuvant docetaxel outside the confines of a clinical trial.”

  Kibel at 1780. Kibel also notes that neoadjuvant docetaxel studies (i.e., docetaxel prior to

  prostatectomy and therefore not for metastatic or CRPC patients) had not achieved the primary

  endpoint of a pathological complete response. Kibel at 1780. Any use of docetaxel by October

  2009 for prostate cancer that was not mCRPC would have been very limited.

         18.     Dr. Ratain also hypothesizes about patients who lose health insurance mid-

  docetaxel therapy or have other health reasons for stopping docetaxel like heart surgery and then

  have disease progression. Ratain Supp. Report at ¶ 70. To the extent these hypothetical patients

  responded well to docetaxel without progression and were able to tolerate further therapy,

  docetaxel retreatment would be an appropriate option; a POSA would not have been motivated to

  administer experimental cabazitaxel therapy to such patients.

         19.     I also disagree that a POSA would have expected docetaxel-sensitive patients to

  have increased overall survival “by treatment with an active taxane, either docetaxel or



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  cabazitaxel” and that a POSA would understand “cabazitaxel may be a superior taxane to

  docetaxel, such that a lower dose of cabazitaxel may have fewer side effects,” and that

  “cabazitaxel was expected to be as good or better than docetaxel.” Ratain Reply Report at ¶¶ 65,

  73; Ratain Supp. Report at ¶ 70. There was no evidence that cabazitaxel would be “superior” or

  equivalent to docetaxel for the treatment of mCRPC, and certainly none with respect to overall

  survival or PFS, by October 2009.

         20.     Dr. Ratain essentially asserts that cabazitaxel would have been expected to

  improve overall survival as compared to no treatment simply because it is a taxane with some

  anticancer activity, which is contradicted by the existence of hundreds of taxanes that had been

  evaluated that were never shown to improve overall survival or PFS as compared to any other

  alternative treatment or no treatment by October 2009. Rebuttal Report at ¶¶ 88, 95-107.

  Docetaxel had been evaluated in several phase II studies in prostate cancer and multiple

  controlled clinical studies for prostate cancer where it was shown to increase overall survival

  repeatedly, whereas for cabazitaxel there was no data at all from a prostate cancer clinical study

  and no comparative clinical data for any tumor type. Pienta & Smith at 303-07.

         21.     Even considering docetaxel-naïve patients for the sake of Dr. Ratain’s assertions,

  there were only two partial responses in men with mCRPC in a single phase I study (Mita). Mita

  does not describe the trajectory of these patients’ disease prior to receiving cabazitaxel, making it

  impossible to determine if these patients experienced a meaningful increase in any time-based

  progression metric, let alone form a reasonable expectation as to whether any other mCRPC

  patient with progression during or after docetaxel treatment would have an increase in pain,

  tumor, or PSA-PFS as compared to no treatment or any alternative treatment.




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         22.     In view of the little data provided in Mita for only one patient falling within the

  claims and two total mCRPC patients, the well-known heterogeneity of mCRPC, the lack of a

  surrogate endpoint for overall survival, the repeated failure of other drugs that had shown partial

  responses in tumor size, pain, PSA, and/or increases in PFS to increase overall survival, the poor

  success rates of late stage oncology clinical studies with survival endpoints, and the uncertainty

  about the appropriate dose of cabazitaxel in view of its hematologic toxicity, a POSA would not

  have reasonably expected cabazitaxel therapy to increase overall survival or PFS as compared to

  no treatment or any alternative treatment for men with mCRPC, including men that had not

  previously received docetaxel, men that had received some docetaxel but were still docetaxel-

  sensitive for whatever reason, and especially not for men who were docetaxel-resistant.

  Rebuttal Report at ¶¶ 51-58, 120-125, 130-141, 167, 169-70, 176-178. A POSA would have had

  even less of an expectation of success for cabazitaxel doses of 15-20 mg/m 2 in patients

  previously treated with docetaxel because there had been no confirmed partial responses reported

  at a cabazitaxel dose lower than 25 mg/m2 in any patient previously treated with docetaxel, 4 and

  a POSA could not have predicted whether the docetaxel-naïve patient with a partial response to

  15 mg/m2 of cabazitaxel in Mita would have responded to cabazitaxel or needed a higher dose if

  he had progressed despite docetaxel. Rebuttal Report at ¶¶ 117, 177. For these reasons, the

  overall survival results reported in TROPIC and PROSELICA were surprising and unexpected in

  view of the knowledge of a POSA in October 2009.




  4
   This is despite 13 patients receiving 20 mg/m 2 of cabazitaxel in Mita and 7 patients receiving
  20 mg/m2 in Lortholary. Mita at 726, Table 2; Lortholary. Mita did not even report any grade 3
  or 4 neutropenia at the 20 mg/m2 dose. Mita at 726, Table 3. Pivot reported grade 4 neutropenia
  in 35 patients, but 20 of those were likely dose-escalated to 25 mg/m 2. Pivot at 1550, Table 2.
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         23.     The fact that docetaxel retreatment had some anticancer activity for some very

  select patients (no overall survival data reported) 5 would not have suggested to a POSA that

  cabazitaxel, a different drug, would increase overall survival or PFS in those patients.

         24.     I also disagree with Dr. Ratain that docetaxel retreatment was an appropriate

  comparison for cabazitaxel or closer prior art than mitoxantrone and prednisone for patients that

  had progressed during or after docetaxel. Ratain Supp. Report ¶¶ 79-80. 6 The literature

  cautioned that such retreatment was unlikely to be active in patients who progress during or

  shortly after docetaxel. Ross at 525 (“unlikely that docetaxel alone would provide any benefit in

  patients who have just progressed while receiving docetaxel”); Loriot at 706 (the strategy of

  docetaxel retreatment “is less likely to be active in patients exhibiting disease progression within

  3 months after completion of docetaxel”). Mitoxantrone/prednisone was a recognized reference

  treatment for mCRPC patients that had already received taxane chemotherapy, the control arm of

  multiple clinical studies, and had been accepted as an appropriate comparator for the TROPIC

  study. Rebuttal Report at ¶¶ 66-69. Even if it would be ethically permissible to compare

  cabazitaxel to docetaxel retreatment in men that had progressed during or after treatment with

  docetaxel (which it would not), the overall survival data reported for cabazitaxel in the TROPIC

  and PROSELICA clinical studies indicates that cabazitaxel would be superior. The FIRSTANA

  study Dr. Ratain relies upon is not to the contrary; the patients in that study had not previously

  received docetaxel and therefore fall outside of the claims. Oudard at 3189.




  5
    The Di Lorenzo study had very stringent criteria for enrollment: patients had to have had a
  partial or complete PSA response to first line docetaxel and progression after at least five months
  of biochemical stabilization with no objective progression. Di Lorenzo 2010 at 235.
  6
    TROPIC primarily enrolled patients that had received more than 225 mg/m 2 of docetaxel, who
  according to Dr. Ratain, are less likely to be docetaxel-sensitive. ’777 patent at col. 10, ll. 49-63,
  Fig. 3 (59 patients in the study out of 755 received less than 225 mg/m 2 of docetaxel).
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         25.      Although the NCCN Prostate Cancer Guidelines 2022 state that docetaxel

  rechallenge/retreatment can be “considered” or “attempted,” for some patients “who have not

  shown definitive evidence of progression on prior docetaxel therapy,” docetaxel retreatment has

  a category 2A recommendation whereas cabazitaxel has a category 1 recommendation. NCCN

  Prostate Cancer Guidelines 2022 at PROS-I 2, MS-61. Category 1 means the recommendation is

  based upon high-level evidence and Category 2A is based on upon lower-level evidence. NCCN

  Prostate Cancer Guidelines 2022 at CAT-1.

         26.     Putting aside patients that may or may not have been sensitive to docetaxel, it was

  surprisingly and unexpectedly shown in the TROPIC study that cabazitaxel increases overall

  survival of “docetaxel-refractory” patients that had progressed during treatment with docetaxel.

  ’777 patent at col. 11, ll. 45-50, col. 12, ll. 49-67 (Table 2), Figure 3. No survival benefit would

  have been expected for docetaxel in such mCRPC patients, and no other drug had been shown to

  improve overall survival in this population by October 2009.

         C.      Responses to Dr. Ratain’s Assertions on Comparison to Mitoxantrone

         27.     I disagree with Dr. Ratain that mitoxantrone and prednisone was a “poor

  alternative” for cabazitaxel in the TROPIC study. Ratain Supp. Report at ¶ 58. Mitoxantrone

  and prednisone had been acknowledged as a de facto community standard for patients with

  mCRPC that had progressed during or after treatment with docetaxel, mitoxantrone therapy had

  been shown to increase PFS, and mitoxantrone had been reported to reduce PSA, pain, and/or

  tumor size in more post-docetaxel mCRPC patients than had been reported for cabazitaxel.

  Rebuttal Report at ¶¶ 60-69, 127. Numerous experimental therapies were reported not to

  significantly improve upon mitoxantrone. Rebuttal Report at ¶¶ 69-70, 128.

         28.     Dr. Ratain relies on selected PFS values for mitoxantrone in retrospective

  assessments of patients who received mitoxantrone after docetaxel or paclitaxel and attempts to
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  compare those median PFS values to the PFS of the single responding docetaxel-refractory

  mCRPC patient in Mita. Ratain Supp. Report at ¶ 67. That single patient had disease

  progression after 8 cycles, ~21 weeks or 5.25 months starting from cycle 1. Mita at 727. This

  comparison is not one a POSA would have attempted to make, and even if a POSA were to

  attempt to compare the Mita patient’s PFS to results for mitoxantrone in other clinical studies,

  that would not have provided a reasonable expectation that cabazitaxel would increase any type

  of PFS or overall survival as compared to mitoxantrone.

         29.      Cross-study comparisons of medians are generally insufficient to form

  comparative inferences because patient populations, inclusion and exclusion criteria, baseline

  characteristics, definitions of response and progression, and frequency of measurements often

  differ from study to study. See, e.g., Markman at 455-56 (noting that patients can differ

  substantially from study to study and that two clinical studies of the same regimen with the same

  entry criteria can commonly produce strikingly different results). This is particularly

  problematic for small, retrospective studies because of selection bias and the well-known

  heterogeneity of mCRPC. Selecting a single patient that received a drug and attempting to

  compare that patient’s PFS to a median of patients who received a different drug is even more

  problematic because it is unknown whether that single patient would have been an outlier in the

  clinical study being used for comparison. For example, there were 4 patients in the TROPIC

  study on the mitoxantrone arm that did not have disease progression at 18 months, and no such

  patients on the cabazitaxel arm. ’777 patent at Fig. 2.

         30.     Berthold 2008 assessed patients in the TAX 327 study of docetaxel who crossed

  over to receive mitoxantrone after receiving docetaxel (and vice versa). Berthold 2008 at 1749.

  Berthold reported a range in PSA-PFS for patients receiving docetaxel once every three weeks



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  before receiving mitoxantrone of 2.2-4.4 months and for patients receiving weekly docetaxel

  before receiving mitoxantrone a range in PSA-PFS of 2.1-9.3 months. Berthold 2008 at 1751,

  Table 3. Dr. Ratain focuses only on the group receiving docetaxel on a 3-weekly schedule

  before receiving mitoxantrone, but elsewhere refers to the asserted claims encompassing patients

  that received experimental regimens of docetaxel, including weekly docetaxel. Ratain Supp.

  Report at ¶¶ 67, 70-72. Furthermore, there is no indication in Mita whether the single docetaxel-

  refractory mCRPC patient with a partial response would have received docetaxel on a weekly or

  3-weekly schedule. The Mita study enrolled patients between 1999 and 2001, prior to the FDA

  approval of docetaxel in mCRPC on a 3-weekly schedule. Mita at 726. Assuming cross-study

  comparisons are appropriate (which they are not) and focusing on Berthold 2008, this patient

  could have had weekly docetaxel, and if he had received mitoxantrone instead, the PSA-PFS

  could have been longer with mitoxantrone (up to 9 months) than with cabazitaxel (5.25 months).

         31.     Oh is also a retrospective study with only 35 patients receiving mitoxantrone after

  receiving taxane therapy. Oh at 1235. The patients, seen between 1998 to 2004 (largely before

  docetaxel’s FDA approval for prostate cancer), could have received paclitaxel or docetaxel on

  either a weekly or 3-weekly schedule, and the taxanes could have been given in combination

  with other drugs including platinum agents, estramustine, “and/or novel therapeutic agents.” Oh

  at 1236. Mitoxantrone therapy was typically given every three weeks and could have included or

  excluded steroids, but other concomitant chemotherapy is not mentioned. Oh at 1236. Oh

  reports a PFS of 6.1 weeks for patients receiving mitoxantrone after taxanes (on whatever

  schedule and in combination with other drugs). Oh at 1238, Table II. This appears to be limited

  to PSA-PFS because the response criteria and definition of progression were limited to PSA. Oh

  at 1236. The authors also note that a weakness of the study was the reliance on PSA “because it



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  remains unclear whether PSA correlates completely with objective progression or survival.” Oh

  at 1240. Oh also notes that the patients receiving taxanes before mitoxantrone were younger at

  diagnosis than the patients who received mitoxantrone before taxanes and also had shorter times

  from diagnosis to chemotherapy and from hormone therapy to chemotherapy. Oh at 1236-37.

  The patients receiving mitoxantrone after taxanes were also younger than the patients assessed in

  Berthold 2008. Oh at 1237, Table 1; Berthold 2008 at 1750, Table 1. This suggests that the

  patients who received mitoxantrone after taxanes in Oh had generally more aggressive and faster

  progressing disease than the patients evaluated in Berthold 2008. Lin at 2866-69 (finding that

  younger men with high grade and stage III and IV disease were more likely to die of prostate

  cancer compared to older men and hypothesizing that young men may have “biologically more

  aggressive disease”); Ribeiro at 605-06 (finding that younger age (60 or less) was associated

  with shorter time to progression and overall survival in men with metastatic prostate cancer

  treated with first line hormonal manipulation).

         32.     In addition, a POSA would have understood that the general PFS medians in

  clinical studies of mitoxantrone may not be appropriate for comparison for a patient with a

  partial response. For example, in Rosenberg, which evaluated patients with mCRPC who had at

  least two cycles of taxane chemotherapy and disease progression during or within 60 days of

  taxane therapy, 8 patients had a confirmed PSA reduction of 50% (often referred to as a PSA

  response). Rosenberg at 557, 560. The median time to that reduction was 7 weeks (ranging

  from 3-19 weeks), and the median duration of PSA response was 5.9 months (ranging from 2.7-

  8.2 months). Rosenberg at 560. This indicates that some patients receiving mitoxantrone after

  taxane therapy had a PSA-PFS more than 8 months, which is longer than the PSA-PFS reported

  for the patient of interest in Mita. Others had noted from the pivotal trials in taxane-naïve



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  patients that mitoxantrone therapy “demonstrated significant pain relief for an average of 8

  months” in approximately one third of patients. Pienta & Smith at 307.

         33.     A POSA would not have been able to form any reasonable expectations about the

  relative PFS for cabazitaxel as compared to mitoxantrone therapy from the limited data in Mita

  (or any other prior art data for cabazitaxel) in view of the available mitoxantrone clinical studies.

  It was therefore unexpected and surprising that cabazitaxel at 25 mg/m 2 with dose reductions to

  20 mg/m2 was shown to improve PFS (in addition to overall survival) as compared to

  mitoxantrone (both in combination with prednisone) in the TROPIC study.

         34.      I disagree with Dr. Ratain (Reply Report at ¶ 17) that the overall survival Kaplan-

  Meier curves crossing in Figure 1 of the asserted patents indicates some patients had their

  survival decreased by cabazitaxel as compared to mitoxantrone. The patients enrolled in the

  TROPIC study were very sick patients who had disease progression despite receiving medical or

  surgical castration and despite receiving docetaxel chemotherapy. Some of those patients were

  unlikely to survive much more than a few months whether they received mitoxantrone,

  cabazitaxel, or any other treatment then-available. TROPIC Listing at CabRef002476 (life

  expectancy required to be > 2 months). Furthermore, to the extent the cabazitaxel deaths were

  due to complications of neutropenia (e.g., infection), mitoxantrone had also been reported to

  cause neutropenia in post-docetaxel patients. Rosenberg at 561 (grade 3 or 4 neutropenia in 63%

  of patients and febrile neutropenia and neutropenic infection in 4 patients). Accordingly, the

  patients receiving cabazitaxel therapy that died prior to the overall survival curves crossing at 3

  months may have died even sooner if they received mitoxantrone instead given the statistically

  significant increase in overall survival observed in TROPIC.




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         D.      Responses to Dr. Ratain’s Assertions on Cabazitaxel Dose Reductions

         35.     Dr. Ratain hypothesizes that a POSA would have been motivated to use lower

  doses of cabazitaxel in combination with other chemotherapies like carboplatin with the intent of

  increasing survival. Ratain Reply Report at ¶ 61. I disagree. Very little was known about

  cabazitaxel as a single agent for the treatment of mCRPC that had progressed during or after

  docetaxel, let alone combinations with other chemotherapies. The TROPIC study was the first

  time cabazitaxel had been studied in combination with anything else (prednisone) for prostate

  cancer. Platinum chemotherapy, like any chemotherapy, has its own toxicity profile that would

  need to be assessed in combination with cabazitaxel. For example, it was reported that cisplatin

  combined with docetaxel and paclitaxel caused increased sensory neuropathy. Hilkens at 417,

  421. Carboplatin was reported to increase the hematologic toxicity of paclitaxel. Zimpfer-

  Rechner at 533, 536. Before combining cabazitaxel with another chemotherapy, a POSA would

  have anticipated a dose-ranging phase I or II study to determine the doses of both drugs that

  could be administered safely. Without comparative clinical data, a POSA would not have been

  motivated to administer any dose of cabazitaxel in combination with another chemotherapy with

  the intent of increasing survival.

  III.   Responses to Dr. Ratain’s Assertions Regarding Premedication

         36.     My Rebuttal Report (¶¶ 188-221) explains why a POSA would not have been

  motivated to administer an H2 antagonist prior to cabazitaxel. Dr. Ratain’s principal argument in

  reply is that because a POSA would be aware of the potential risk of HSRs with taxanes, “H2

  antagonists were included as pretreatment for new taxanes in development, such as larotaxel.”

  Ratain Reply Report ¶ 68. This is not reflected in the literature. For example, another taxane in

  development at the same time as larotaxel and cabazitaxel, milataxel, did not require

  premedication. In the introduction of a phase II clinical study report of milataxel in patients with

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  advanced colorectal cancer, the authors explained that “[u]nlike the paclitaxel and docetaxel,

  milataxel does not require formulation with polysorbate 80 or cremophor, which can result in

  hypersensitivity reactions.” Ramanathan at 454. Indeed, despite the absence of premedication or

  concomitant corticosteroid use, the authors note that “[h]ypersensitivity reactions were not

  observed with milataxel administration.” Ramanathan at 457. Ramanathan also contradicts Dr.

  Ratain’s suggestion (Ratain Reply Report ¶ 71) that a POSA would have expected HSRs from

  taxane chemotherapy independent of exposure to cremophor or large amounts of polysorbate 80.

         37.     Nor were H2 antagonists included as pretreatment in the clinical development of

  docetaxel for CRPC despite awareness of their use as pretreatment with paclitaxel and the

  potential risk for HSRs following docetaxel administration. In the two pivotal phase III clinical

  studies on docetaxel in patients with CRPC, premedication consisted of dexamethasone alone.

  Tannock 2004 at 1504; Petrylak 2004 at 1515. Between these two studies, around 1000 patients

  were treated with docetaxel, yet not a single HSR was reported.

         38.     Dr. Ratain cites to only a single study of docetaxel for prostate cancer in which

  the investigators utilized a three-component premedication regimen that included H 2 antagonists.

  Ratain Reply Report ¶ 73 (citing Takenaka). Takenaka would not have motivated a POSA to

  employ this regimen prior to cabazitaxel administration. Takenaka reports on combination

  chemotherapy with weekly docetaxel and estramustine, a regimen that was being studied as an

  option for Japanese men with CRPC in the early 2000’s (the Takenaka study was started in

  March 2003). Takenaka at 106. However, following U.S. FDA approval of docetaxel for

  mCRPC in 2004 based on the TAX327 study that demonstrated a survival advantage for

  docetaxel in combination with prednisone given every 3 weeks (reported in Tannock 2004),

  investigators in Japan then turned to consider whether this new dosing regimen was “feasible”



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  for Japanese patients. See Shimazui at 603-604; see also Miyoshi at 183 (“In Japan, there are

  few reports about the regimen of docetaxel every 3 week for HRPC. Therefore, we evaluated the

  efficacy and safety of docetaxel every 3 weeks for HRPC in Japanese patients.”).

         39.     As explained in Shimazui, after August 2004, when the treatment protocol was

  changed from weekly docetaxel with estramustine to docetaxel with prednisone every three

  weeks, the three-component premedication, which included H 2 antagonists for docetaxel

  administration was no longer given “because of the daily steroid treatment.” Shimazui at 604;

  see also Miyoshi at 183 (“All patients were premedicated with 8mg dexamethasone IV before

  docetaxel, 4mg dexamethasone given orally in the evening of day 1, and 8mg dexamethasone

  given orally twice daily on day 2.”). Thus, a POSA would have understood as of October 2009

  that the daily administration of prednisone with taxane chemotherapy lessened the need for

  premedication for HSRs.7 Accordingly, a POSA would have focused on prior taxane studies in

  prostate cancer and not in other cancers where treatment does not include concomitant

  corticosteroid use, particularly since it was known that cabazitaxel was being administered in

  combination with prednisone in the TROPIC study.

         40.     This reduced need for docetaxel premedication is reflected in the FDA-approved

  label for Taxotere®: “For hormone-refractory metastatic prostate cancer, given the concurrent use

  of prednisone, the recommended premedication regimen is oral dexamethasone 8 mg, at 12 hour,

  3 hours and 1 hour before the TAXOTERE infusion” as compared to a 3 day (8 mg BID) for

  other cancers. Taxotere® Label at 5. This is another reason why I disagree that a POSA would




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    Prior to its incorporation as combination therapy with docetaxel for use in treating CRPC,
  prednisone was successfully used as a premedication for docetaxel. See, e.g., Ferrero at 282
  (“Premedication with prednisone 50 mg p.o. was given 12 and 1 h prior to docetaxel infusion and
  12 h after docetaxel infusion. No other premedications were routinely used.”).
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  specifically look to the paclitaxel prior art “[i]n determining what pretreatment regimen to use

  [with cabazitaxel]” (Ratain Reply Report ¶ 75), as those paclitaxel studies did not include

  patients with prostate cancer who were also taking prednisone. Moreover, a POSA would have

  understood the need for premedication for docetaxel to be much different than that for paclitaxel

  (due to its formulation with cremophor) by looking at studies directly comparing the two

  (whether as single agents or in combination). In such comparative studies, premedication for

  paclitaxel included antihistamines in addition to dexamethasone whereas premedication for

  docetaxel did not. See, e.g., Jones at 5543; Khoo at 1798; Kubota at 1136; Azzoli at 2694;

  Sparano at Supp. Appx. 2. The fact that each of these investigators chose to utilize different

  premedication regimens in a comparative study—where one wishes to eliminate as many

  variables as possible—is reflective of the point that one does not administer additional

  medications (such as antihistamines) without a demonstrated need.

         41.     Dr. Ratain cites to two other new references in reply that discuss the results of

  docetaxel studies wherein an H2 antagonist premedication was used. Ratain Reply Report ¶ 73

  (citing Trudeau and Kaye). Trudeau and Kaye report on older phase II studies of high dose

  docetaxel (100 mg/m2) outside of prostate cancer. Kaye reports on patients involved in three

  separate phase II studies of docetaxel in patients with advanced ovarian cancer. In Kaye, despite

  the investigators clearly being aware of the potential for HSRs as well as the three-component

  paclitaxel premedication, “[n]o routine premedication was given.” Kaye at S14. Premedication

  was given “generally” to “patients who experience an acute HSR to docetaxel . . . before

  administration of subsequent courses.” Kaye at S14. Despite the lack of premedication and

  concomitant corticosteroids, the authors report that “acute HSRs occurred rarely in all the trials.”




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  Kaye at S16, S14 (“Severe acute hypersensitivity reactions occurred in approximately 5% of

  patients.”).

          42.    In Trudeau, patients were initially given no premedication, but the protocol was

  modified to include H1 antagonists at first and then H2 antagonists. Trudeau at 423. The authors

  report fewer severe HSRs in patients receiving H 2 antagonist premedication; however, the

  patients who did not receive H2 antagonist premedication were administered a 100 mg/m 2 dose

  of docetaxel, whereas most of the patients who received H2 antagonist premedication were

  treated at the lower 75 mg/m2 dose (13 of 18 patients). Trudeau at 423 (“Docetaxel was initially

  given at a dose of 100 mg/m2 to the first 35 patients. The starting dose was subsequently

  reduced to 75 mg/m2 for the remaining patients because of a high rate of febrile neutropenia.”),

  425, Table 3. Thus, a POSA in 2009 would have concluded that the reduced severity of HSRs in

  those patients is most likely due to the significant dose reduction and not the H 2 antagonist,

  especially in light of the later docetaxel study reports in prostate cancer discussed above. In any

  event, neither Kaye nor Trudeau led to the use of H2 antagonist premedication for docetaxel in

  the treatment of prostate cancer and therefore a POSA would not have been motivated to use

  such a regimen when administering cabazitaxel.

          43.    Dr. Ratain overstates my opinions when he asserts that I “acknowledge[d] in [my]

  Rebuttal Report, hypersensitivity reactions were a known risk of chemotherapy treatment,

  especially for taxanes.” Ratain Reply Report ¶ 68. While I agree that it was known that HSRs

  were known to occur in connection with IV administration of certain taxanes, I disagree that a

  POSA would have considered hypersensitivity reactions as a “risk” to a patient receiving

  cabazitaxel for treatment of mCRPC who has progressed during or after docetaxel without

  additional data. The patients in Pivot had breast cancer and were not receiving steroids in any



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  form. Pivot at 1548. The fact that HSRs were observed in Pivot—albeit rarely—does not

  suggest that such reactions will occur in men with mCRPC who are also taking prednisone and

  who had previously tolerated treatment with docetaxel. In fact, a POSA reviewing the prior art

  studies on cabazitaxel, including Pivot, in light of the wealth of clinical data on docetaxel in

  prostate cancer would not have expected severe HSRs to occur with cabazitaxel/prednisone

  administration, especially if oral dexamethasone premedication was utilized.

         44.     At most, a POSA would have chosen to administer the standard docetaxel

  premedication regimen of oral dexamethasone when considering administering cabazitaxel to a

  patient with mCRPC whose cancer has progressed during or after docetaxel treatment. Dr.

  Ratain’s assertion that an H2 antagonist would be included simply because such drugs had been

  included with other taxane regimens (Ratain Reply Report at ¶ 68) assumes that there are no

  costs or risks associated with H2 antagonist premedication, which is certainly not true. Dr.

  Ratain attempts to downplay a reported correlation between the use of H 2 antagonists as a

  premedication for docetaxel and incidence of hand-foot syndrome (“HFS”) as “hypothesis-

  generating.” Ratain Reply Report ¶ 74 (discussing Kawaguchi). I disagree that a POSA would

  have been as dismissive. Dr. Ratain misses the point in noting that there is no plausible

  pharmacological mechanism which would support the notion that the H 2 antagonist was a cause

  of HFS. Ratain Reply Report ¶ 74. H2 antagonists are notorious for their drug-drug interactions.

  See, e.g., Singla at 182 (“Clinically pharmacological intervention [to prevent HSRs] may be less

  desirable than a safer and better-tolerated formulation. Several possible mechanisms exist by

  which the various drugs administered, either to support patients during paclitaxel administration,

  or to treat their cancer or the side effects of chemotherapy could contribute to interactions that

  may affect paclitaxel efficacy or toxicity. . . . [C]ertain H2-receptor antagonist[s] such as



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  cimetidine and ranitidine [are] well known inhibitors of the cytochrome P-450 metabolic

  pathway . . . and the later is thought to be involved in the metabolism of paclitaxel . . . ,

  suggesting the potential for interaction.”). If Dr. Ratain were correct that a POSA would have

  believed the observed HFS in Kawaguchi was associated with the higher docetaxel doses (Ratain

  Reply Report ¶ 74), then a POSA would have to consider the same true for HSRs and

  correspondingly understand that the risk of HSRs with cabazitaxel (at low doses such as 20

  mg/m2) would also be lower. As of October 2009, the effects of H 2 antagonists on the

  pharmacology of cabazitaxel were unknown as they had not yet been administered together.

          45.     Dr. Ratain also attempts to downplay the findings of Kawaguchi et al. by stating

  that he is “not aware of any studies that have tried to confirm these preliminary retrospective

  findings.” Ratain Reply Report ¶ 74. At the same time, though, Dr. Ratain asserts that a POSA

  would have been motivated to use an H2 antagonist as premedication for cabazitaxel to minimize

  risk of HSRs without a single clinical study establishing their effectiveness for that purpose.

  Ratain Reply Report ¶¶ 73, 75. Indeed, in 2009, the role of H 2 antagonists as premedication was

  considered “controversial.” Foti at 415. In Foti, the authors describe a case of a patient who

  developed an HSR to ranitidine used as premedication before general anesthesia and reviews the

  literature on reports of similar occurrences. Foti at 414-15. Foti cites, for example, a 2005

  article by Demirkan et al. also reviewing such reports who concluded that “although the

  incidences of anaphylactic reactions induced by these drugs [H2 antagonists] are low, clinicians

  should be aware of this possibility of life threatening risk.” Demirkan at 208. Although

  Demirkan estimated the frequency of HSRs to H2 antagonists to be between 0.2% and 0.7% of

  all reported adverse events, the authors note that those percentages were from a database of

  reports from all types of physicians. Demirkan at 205. Moreover, Foti notes that “[i]t cannot be



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  ruled out that [HSRs] due to ranitidine may be underestimated and more frequent than expected”

  as an “[HSR] to ranitidine during premedication is likely to be erroneously attributed to other

  drugs either contained in the same premedication protocol or given after the premedication (e.g.,

  anesthetic or chemotherapeutic drugs.)” Foti at 415. The authors conclude that “[t]he protective

  role of H2-receptor antagonists as premedication is still unclear and should be carefully

  reconsidered on the basis of the available controversial evidence and the possible risk of

  hypersensitivity reactions.” Foti at 414.




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  SANOFI-AVENTIS U.S. LLC, et al.,         )
                                           )
               Plaintiffs,                 )
                                           )   C.A. No. 20-804-RGA
        v.                                 )   (Consolidated)
                                           )
  ACTAVIS LLC, et al.,                     )
                                           )
               Defendants.                 )




                 REPLY EXPERT REPORT OF MARK J. RATAIN, M.D.
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  I.     INTRODUCTION

         1.      I, Mark J. Ratain, M.D., provided an expert report on January 29, 2021, regarding

  the issues of obviousness, subject matter eligibility, written description, and enablement of U.S.

  Patent No. 10,583,110 (“the ’110 patent”) and U.S. Patent No. 10,716,777 (“the ’777 patent”)

  (together, the “Asserted Patents” or “Sanofi Patents”) (my “Opening Report” or “ROR”). On

  February 26, 2021, I understand that Peter S. Nelson, M.D., provided a Rebuttal Validity Report

  in which Dr. Nelson offered opinions in response to my Opening Report (the “Nelson Rebuttal

  Report” or “NRR”). At the request of Apotex Corp., Apotex, Inc., Dr. Reddy’s Laboratories,

  Inc., Dr. Reddy’s Laboratories, Ltd., Mylan Laboratories Ltd. and Sandoz, Inc. (collectively,

  “Defendants”), I have been asked to review the Nelson Rebuttal Report and provide my opinions

  in response.

         2.      Exhibit A to my Opening Report is the list of materials I considered in preparing

  that report. Exhibit B to my Opening Report is a copy of my curriculum vitae dated January 14,

  2021. In forming the opinions described in this report, I relied on the materials in my Opening

  Report (including Exhibit A to my Opening Report), as well as materials referenced in Dr.

  Nelson’s Rebuttal Report. In addition, I relied on my knowledge, training, and experience, and

  the documents cited in this report.

         3.      My qualifications have not changed substantively since I provided my Opening

  Report. Since my Opening Report, I have updated my curriculum vitae, which is attached as

  Exhibit C to this report.

  II.    THE PERSON OF ORDINARY SKILL IN THE ART

         4.      Dr. Nelson states that “[a]s stated in my Opening Reports, in my opinion, a

  [person of ordinary skill in the art] POSA was a medical oncologist or medical doctor

  specializing in oncology. He or she would have experience in treating and evaluating treatments
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  for prostate cancer and have access to information regarding pharmacokinetics and mechanisms

  of cancer drug resistance.” Nelson Rebuttal Report (“NRR”), ¶ 9. Compared to the

  understanding of Sanofi’s definition of the POSA reflected in my Opening Report, this definition

  appears to add “access to information regarding pharmacokinetics and mechanisms of cancer

  drug resistance.” Compare id. with ROR, ¶ 86. Regardless, this additional information does not

  substantially change the definition of the POSA and my opinions in this report and in my

  Opening Report would not change if I were to adopt Dr. Nelson’s definition.

  III.   THE PRIORITY DATE

         5.      Dr. Nelson agrees with me that the first provisional application disclosing the

  premedication regimen claimed in the ’110 and ’777 patents is Application Number 61/293,903,

  filed January 11, 2010. NRR, ¶ 40. Dr. Nelson states he understands the filing of this

  application was a “constructive reduction to practice” of the claimed inventions. Id.

         6.      As stated in my opening report, I understand that a party can establish an earlier

  priority date for their patent by claiming priority to an earlier patent application that provides

  written support for the claims. ROR, ¶ 46. I further understand that a party can also establish an

  earlier priority date by showing (1) “conception,” (2) “reasonable diligence,” and (3) “reduction

  to practice.” I understand that conception is the notion of conceiving of the alleged invention, or

  in other words, performing the mental part of the inventive act, with a definite and permanent

  idea of the complete and operative invention as it is supposed to be subsequently applied. I

  understand “reasonable diligence” refers to reasonable efforts to reduce the alleged invention to

  practice. I understand that reduction to practice means, in essence, a working prototype of the

  alleged invention or successfully carrying out the alleged invention (this is “actual reduction to

  practice”) or filing a patent application disclosing the alleged invention (this is “constructive

  reduction to practice”).


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         7.      First, regarding conception, Dr. Nelson states that he “understand[s] from counsel

  that the claimed inventions were conceived by Dr. Sunil Gupta in October 2009.” NRR, ¶ 39.

  Dr. Nelson does not describe any evidence of conception he may have considered; instead, he

  appears to have assumed it at the request of Sanofi’s counsel. I have not seen evidence that

  Dr. Gupta conceived of the alleged inventions in October 2009, as described in my Opening

  Report. ROR, ¶¶ 46-51, 60-62. To the extent Dr. Gupta claims he conceived of the alleged

  invention as of October 2009, I have not seen any evidence corroborating that claim. Thus, it

  remains my opinion that Sanofi is not entitled to a priority date any earlier than January 2010.

         8.      Second, regarding reduction to practice, I did not see any assertion in

  Dr. Nelson’s report that Sanofi or Dr. Gupta achieved an “actual” reduction to practice before

  January 11, 2010, which would require administration of cabazitaxel with the claimed

  premedication regimen with the intention to increase survival. NRR, ¶¶ 39-44. Instead, Dr.

  Nelson relies upon Application No. 61/293,903, filed January 11, 2010, as “constructive

  reduction to practice.” Id., ¶ 40. Dr. Nelson agrees with me that this ’903 application is the first

  application listed in the ’110 and ’777 patents that describes the claimed premedication regimen.

  Id. I therefore understand that unless Sanofi establishes an earlier conception date and

  reasonable diligence, January 11, 2010 is the earliest priority date for the alleged inventions in

  the ’110 and ’777 patents.

         9.      Third, Dr. Nelson stated that he was asked to consider:

                 whether regulatory and patent submissions would corroborate
                 testimony from Dr. Gupta that he was reasonably diligent in
                 seeking FDA approval of cabazitaxel, so that physicians could
                 actually practice the claimed methods, from the time prior to the
                 Sanofi-Aventis Press Release 2009 on December 21, 2009 to
                 January 11, 200 when patent application No. 61/293,903 was filed.

  Id., ¶ 42. There are several flaws and omissions in Dr. Nelson’s analysis.



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         10.     As an initial matter, I do not understand how Dr. Nelson could ascertain whether

  any evidence confirms “testimony from Dr. Gupta that he was reasonably diligent” when Dr.

  Nelson did not cite any such testimony by Dr. Gupta. Next, I understand the inquiry involves

  reasonable diligence in reducing the alleged invention to practice, not in seeking FDA approval.

  Dr. Nelson did not state that he considered any other type of diligence—only diligence in

  seeking FDA approval. In my opinion, FDA approval was not required to reduce the alleged

  invention to practice.

         11.     Moreover, it appears Dr. Nelson considered only one set of related “regulatory

  and patent submissions.” NRR, ¶ 42. First, Dr. Nelson mentions at paragraph 43 of his Rebuttal

  Report the Sanofi-Aventis Press Release 2009, which is neither a regulatory nor patent

  submission. Id., ¶ 43 (citing Sanofi-Aventis Press Release (CabRef0012803-804) (Dec. 21,

  2009)). Second, Dr. Nelson mentions an FDA News Release (SA_JEV_0182854-855). That

  news release is not a regulatory or patent submission, either. Third, Dr. Nelson states that he

  “understand[s] that Sanofi’s actions to obtain regulatory approval were sufficiently diligent for

  Sanofi to be granted patent-term extension,” and he cites three documents relating to patent term

  extension for U.S. Patent No. 5,847,170 (“the ’170 patent”). NRR, ¶ 43 (citing

  SA_JEV_0001122-238, SA_JEV_0001248-250, SA_JEV_0001256-257). Dr. Nelson states he

  “understand[s] from counsel that in order to receive a full patent term extension … , Sanofi must

  have acted with ‘due diligence.’” Id. Dr. Nelson provides no support for his conclusory

  statement, other than what he has been told by Sanofi’s counsel.

         12.     Furthermore, the documents Dr. Nelson cites relate to the ’170 patent, which is

  not asserted in this case. I further understand that the ’170 patent discloses the cabazitaxel

  compound, so it does not seem relevant to the assessment of diligence in seeking to reduce the




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  methods claimed in the ’110 and ’777 patents to practice. And I did not see any analysis by Dr.

  Nelson regarding whether Sanofi or Dr. Gupta was diligent in trying to reduce the inventions

  claimed in the ’110 and ’777 patents to practice from before December 21, 2009 through January

  11, 2010. Thus, it remains my opinion that Sanofi is not entitled to a priority date earlier than

  January 11, 2010 for the claimed inventions, which require administration of cabazitaxel with the

  claimed premedication regimens with an intention to increase survival. However, regardless of

  which priority date I rely on—whether October 2009, or January 11, 2010—my other opinions

  would not change.

  IV.    THE CLAIMS OF THE ’110 AND ’777 PATENTS WOULD HAVE BEEN
         OBVIOUS TO A POSA

         A.      Background On mCRPC That Had Progressed During Or After Treatment
                 With Docetaxel By October 2009

         13.     I have considered Dr. Nelson’s statements regarding the background of metastatic

  castrate-resistant prostate cancer (mCRPC) that had progressed during or after treatment with

  docetaxel. See NRR, ¶¶ 45-75. While I do not disagree with his factual statements, they need to

  be put in the proper context.

         14.     Section VI.A of Dr. Nelson’s Rebuttal Report is entitled “Background on mCRPC

  That Had Progressed During or After Treatment with Docetaxel by October 2009.” I disagree

  that all of the references cited in this section relate to mCRPC that has progressed during or after

  treatment with docetaxel. For example, the SWOG99-16 trial that compared docetaxel plus

  estramustine to mitoxantrone and prednisone excluded patients previously treated with taxanes.

  Petrylak, et al., “Docetaxel and Estramustine Compared with Mitoxantrone and Prednisone for

  Advanced Refractory Prostate Cancer,” N. Eng. J. Med., 351:1513-20 (2004) (“Petrylak 2004”)

  (SA_JEV_1154900-907) at SA_JEV_1154901.




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  castration resistant metastatic prostate cancer that has progressed during or after treatment with

  docetaxel.” See, e.g., ’110 patent at claim 1; see also ’777 patent at claim 1.

         22.     In paragraph 80, Dr. Nelson states that the fact that TROPIC patients received

  three doses of docetaxel “suggests that the TROPIC study was intended to include patients who

  received enough docetaxel to develop taxane resistance.” NRR, ¶ 80. Dr. Nelson did not cite

  any support for his implied claim that three doses of docetaxel can cause resistance.

         23.     A POSA would not understand the claim term “increasing survival” to entail a

  comparison to mitoxantrone. NRR, ¶ 84. The inherent comparator is no treatment. Under the

  Court’s claim construction, the increase in survival occurs “in an individual patient.” Id., ¶¶ 37,

  84. The claim requires the administering physician to have the “intentional purpose” of

  increasing the individual patient’s survival. A POSA would understand this to mean an intent to

  extend the patient’s survival (as construed by the Court) over what the patient would have

  experienced in the absence of treatment. My opinions here are based on the express claim

  language, which does not reference mitoxantrone as a comparator. See, e.g., ’110 patent at claim

  1; see also ’777 patent at claim 1. In addition, although Dr. Nelson references the specification,

  the portions he cites do not show an explicit disclaimer or intent on the part of the inventors to

  require mitoxantrone as the comparison for purposes of “increasing survival.” See NRR, ¶¶ 76-

  78. Dr. Nelson does not appear to cite anything in the prosecution history at all, let alone

  involving an express definition of some term such that the claims would be read by the POSA as

  requiring a comparison to mitoxantrone. I further note that the fact that the POSA might “know

  those docetaxel studies used mitoxantrone plus prednisone as the comparator arm,” Id., ¶ 78, is

  irrelevant. My understanding is that requirements or limitations generally should not be




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  imported into the claim language from the specification, including from studies described in the

  specification.

         24.       Even if the increase in survival were to be compared to an extrinsic comparator to

  practice the claims, mitoxantrone would not be the exclusive extrinsic comparator. While some

  patients within the scope of the claims may have otherwise received mitoxantrone, there was no

  clear standard of care for such patients, particularly those for whom mitoxantrone is

  contraindicated. See, e.g., Berry, W. & M. Eisenberger, “Achieving Treatment Goals for

  Hormone-Refractory Prostate Cancer with Chemotherapy,” The Oncologist, 10(suppl3):30-39

  (2005) at 35 (“Vinorelbine may be particularly well suited for elderly patients and for those with

  contraindications to mitoxantrone or docetaxel.”). To the extent an extrinsic comparator is

  required, the ’110 and ’777 patents do not explicitly identify that comparator as a part of the

  claimed methods, nor explicitly identify the comparator in the specification, suggesting the

  claims may be indefinite.

         25.       The specification also indicates to a POSA that mitoxantrone is not intended to be

  the exclusive extrinsic comparator from which a survival benefit is measured. The specification

  discloses that cabazitaxel did not show statistically significant (p=0.5192) superiority to

  mitoxantrone with respect to pain-PFS. ’777 patent at 12:21-25. Thus, the POSA would

  understand mitoxantrone to be the comparator when the claims include increasing pain-PFS, yet

  the specification demonstrates that cabazitaxel did not increase pain-PFS compared to

  mitoxantrone.




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               2.      Preclinical Indications That Cabazitaxel Would Increase Survival

         29.     Dr. Nelson opines that the prior art did not provide a reasonable expectation of

  success, where success involves administration with intent to increase survival as compared to

  mitoxantrone. NRR, ¶ 86. As noted above, Dr. Nelson’s proposed limitations to mitoxantrone

  as a comparator and to patients with docetaxel-resistant disease improperly narrow the scope of

  the claims, and he does not contest that a POSA would have reasonably expected cabazitaxel to

  increase survival as compared to no treatment. ROR, ¶ 192; NRR, ¶ 166.

         30.     Dr. Nelson agrees that cabazitaxel was known to have reduced affinity for the

  drug efflux pump, P-glycoprotein (P-gp), a known mechanism of docetaxel resistance, but denies

  that a POSA would have “assumed” that this biochemical property was clinically significant.

  NRR, ¶ 87. Dr. Nelson does not address the preclinical data in conjunction with Mita’s Phase 1

  study, which showed a substantial tumor response and PSA response, leading to improved

  tumor- and PSA-PFS, in a docetaxel-refractory patient. ROR, ¶ 184. The preclinical

  demonstration of activity in docetaxel-resistant cell lines would have suggested to a POSA that

  this response in Mita was not a fluke; cabazitaxel was clinically active in docetaxel-resistant

  disease, and it was reasonable to expect that at least some other patients who had progressed

  during or after docetaxel treatment would respond similarly. Id., ¶¶ 184-185.

         31.     Dr. Nelson compares the preclinical data for cabazitaxel to that of larotaxel, and

  proceeds to state that “larotaxel did not increase overall survival or PFS” in Phase 3 studies in

  three different non-prostate cancers. NRR, ¶ 103. But the comparators used for the three

  larotaxel studies were capecitabine, gemcitabine, and 5-fluorouracil, all active controls. Dr.

  Nelson suggests that 5-fluorouracil is comparable to mitoxantrone, citing a study that compared a

  three-drug cocktail containing 5-fluorouracil to mitoxantrone in metastatic breast cancer, but he

  does not assert that mitoxantrone (or 5-fluorouracil) is a “reference treatment” for breast cancer.


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  Nor does he have any basis for asserting that larotaxel did not increase survival over

  mitoxantrone. He notes that separate clinical studies did not prove superiority of larotaxel over

  an active control. But it is not valid to compare these study results and conclude anything about

  the superiority of larotaxel to mitoxantrone in mCRPC, or vice versa.

         32.     Nor does the development history of milataxel show that it was unreasonable to

  expect cabazitaxel to increase survival in “individual patients.” NRR, ¶¶ 106-107. Milataxel

  was originally envisioned as an orally administrable taxane with activity in paclitaxel-resistant

  tumors. See Sampath, et al., “MAC-321, a novel taxane with greater efficacy than paclitaxel and

  docetaxel in vitro and in vivo,” Mol. Cancer Ther., 2:873-884 (2003); see also Lockhart, et al.,

  “Phase I trial of oral MAC-321 in subjects with advanced malignant solid tumors,” Cancer

  Chemother. Pharmacol., 60:203-209 (2007). Dr. Nelson cites a study of milataxel in colorectal

  cancer, but he has not noted the important contextual fact that no taxane had been demonstrated

  to be effective in the treatment of colorectal cancer, in contrast to the well-known success of

  docetaxel in mCRPC. Swanton, et al., “Chromosomal Instability, Colorectal Cancer and Taxane

  Resistance,” Cell Cycle, 5(8):818-823 (April 2006). A POSA would not understand the

  development history of milataxel to cast doubt on the ability of cabazitaxel to increase survival,

  since cabazitaxel would not have been expected to be effective in colorectal cancer.

               3.      Prior Art Clinical Studies Indicating That Cabazitaxel Would Increase
                       Survival

         33.     Dr. Nelson argues that the results reported in Mita would not have provided a

  reasonable expectation that cabazitaxel therapy would increase survival “as compared to

  mitoxantrone.” NRR, ¶ 109, 119. But Mita would have provided such a reasonable expectation

  as compared to no treatment, and Dr. Nelson does not opine otherwise. The responses observed

  in Mita demonstrated that cabazitaxel had the capacity to overcome docetaxel resistance and



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  mCRPC heterogeneity to a sufficient degree to provide a PFS benefit to at least some mCRPC

  patients previously treated with docetaxel.

           34.   Dr. Nelson suggests that the “further context” provided by Fumoleau and

  Lortholary would temper a POSA’s expectations of cabazitaxel. Id., ¶¶ 110-112. But neither

  Fumoleau nor Lortholary reported any negative results in prostate cancer, and a POSA would not

  consider the results of either study to cast doubt on the teachings of Mita. As Dr. Nelson notes,

  Phase 1 studies are not designed or powered to detect population efficacy over a comparator. Id.,

  ¶ 110.

           35.   Dr. Nelson asserts that a POSA would not extrapolate from the two mCRPC

  patients with responses in Mita to predict how other patients within the scope of the claims

  would respond. NRR, ¶¶ 120-121. The claims recite “a patient,” however, not a population of

  patients or a statistically significant, large, randomized clinical trial sufficient for FDA approval.

  Two of the eight prostate cancer patients in Mita experienced an objective response; Mita

  provides evidence that cabazitaxel increases survival, not that all patients will have increased

  survival.

           36.   Dr. Nelson asserts that “reductions in PSA” are “not a validated surrogate for

  clinical benefit” (NRR, ¶ 122), or “a predictor of a survival benefit” (id., ¶¶ 123-125 (referring to

  overall survival)), but he does not define “clinical benefit” or contest that a reduction in PSA

  inherently tends to increase PSA-progression free survival. These PSA reductions were

  “associated with both improved quality or quantity of life.” ROR, ¶ 93.

           37.   I agree with Dr. Nelson that Mita “makes no comparison as to . . . mitoxantrone

  therapy or any other therapy” regarding the two mCRPC responders’ survival. NRR, ¶ 126. But

  both of the responders described in Mita experienced increased PFS and PSA-PFS over what




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  they would have experienced without treatment; in the absence of treatment, tumors grow and

  PSA increases.

         38.       Dr. Nelson cites a study (“Hahn”) of pemetrexed in patients with prior taxane-

  based chemotherapy that concluded that the drug’s activity was comparable to that of

  mitoxantrone. NRR, ¶¶ 128, 158. This study also emphasized the utility of docetaxel re-treatment

  in many patients progressing after prior docetaxel, stating: “Investigators have recently

  demonstrated PSA response rates up to 90% with docetaxel re-treatment in metastatic CRPC

  patients who demonstrated an initial response to first-line docetaxel therapy and were allowed to

  take a treatment break. These reports indicate that patients who enter an elective treatment break

  due to choice or toxicity remain chemosensitive and possess a fundamentally different biology

  than true docetaxel-resistant patients.” SA_JEV_3163315-320 at SA_JEV_3163318.

         39.       Dr. Nelson cites studies of various drugs that did not demonstrate increased

  survival against various comparators in Phase 3 trials despite promising signals in preclinical

  studies and Phase 1 and Phase 2 trials. NRR ,¶¶ 130-141. None of these drugs’ development

  histories would have suggested to a POSA that cabazitaxel would not increase survival in

  mCRPC patients who had previously received docetaxel. Many of the trials were conducted in

  docetaxel-naïve populations. And in many of the trials, the drug under investigation did increase

  survival, as construed by the Court.

         40.       The ASCENT-2 trial comparing calcitriol and docetaxel versus docetaxel alone

  was conducted in docetaxel-naïve patients. I cited the calcitriol studies in my Opening Report to

  show that docetaxel re-treatment increases survival in the claimed population. ROR, ¶ 148. A

  POSA would not draw any conclusions regarding cabazitaxel on the basis of the failure of

  calcitriol to meet its Phase 3 primary endpoint.




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          41.     Dr. Nelson also cites two Phase 1/2 studies of GVAX, which demonstrated that

  multiple patients had an increase in PSA-PFS, as well as a news article (Mulcahy) regarding two

  unpublished Phase 3 studies of GVAX. However, neither of the Phase 3 trials were conducted in

  patients with prior docetaxel (see “GVAX Vaccine for Prostate Cancer vs Docetaxel &

  Prednisone in Patients with Metastatic Hormone-Refractory Prostate Cancer,” available at:

  https://clinicaltrials.gov/ct2/show/NCT00089856 and “Docetaxel in Combination with GVAX®

  Immunotherapy Versus Docetaxel and Prednisone in Prostate Cancer Patients.” These two trials

  compared a) GVAX to docetaxel and prednisone and b) GVAX plus docetaxel to docetaxel and

  prednisone. Thus, I do not see any relevance of these Phase 3 trials to the obviousness analysis

  in this case.

          42.     Dr. Nelson also discusses sipuleucel-T as “an example of a therapy that reduced

  PSA in individual patients in early studies but did not increase PFS in controlled studies.” NRR,

  ¶ 133. He also notes, “Sipuleucel was eventually approved for mCRPC (but not post-docetaxel)

  after a further placebo controlled phase III study that was designed to assess overall survival as

  its primary endpoint showed prolonged overall survival.” Id. Thus, sipuleucel-T is not a failure,

  and is approved as the product Provenge® “for the treatment of asymptomatic or minimally

  symptomatic metastatic castrate-resistant (hormone-refractory) prostate cancer” (see

  PROVENGE® Package Insert (CabRef0013684-685) regardless of prior treatment (e.g.,

  including patients who have progressed after receiving docetaxel).

          43.     Dr. Nelson also suggests that the prior art regarding atrasentan is relevant to a

  POSA’s expectation of success for cabazitaxel. NRR, ¶ 135. Given that cabazitaxel and

  atrasentan have little in common, I do not agree with his argument. Further, I note that in fact

  atrasentan was demonstrated to increase PSA-PFS in a randomized placebo-controlled Phase 2




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  trial (“Carducci”), although it is unclear that any patients in this study had previously received

  docetaxel. Carducci, “Effect of Endothelin-A Receptor Blockade With Atrasentan on Tumor

  Progression in Men With Hormone-Refractory Prostate Cancer: A Randomized, Phase II,

  Placebo-Controlled Trial,” J. Clin. Oncol., 21:679-89 (2003) (SA_JEV_3163296-306). The

  subsequent Phase 3 trial (also discussed by Dr. Nelson) excluded patients with prior

  chemotherapy, but actually did show an increase in PSA-PFS, although the study was too small

  to demonstrate that the magnitude of that increase was statistically significant. Carducci, A

  Phase 3 Randomized Controlled Trial of the Efficacy and Safety of Atrasentan in Men with

  Metastatic Hormone-Refractory Prostate Cancer, ’110(9) Cancer 1959-66 (2007) (“Carducci

  2007”) (SA_JEV_0182794-801).

         44.     Dr. Nelson cites additional examples (NRR, ¶ 136), although he does not explain

  how the cited papers would be considered by a POSA in the context of whether cabazitaxel

  would increase survival (as construed by the Court) for patients with mCRPC previously treated

  with docetaxel. Like those discussed above, many of these studies were conducted in patients

  who had not received docetaxel (e.g., the suramin studies), and the drugs under study have no

  pharmacological relationship to cabazitaxel. I disagree with Dr. Nelson that these studies are

  relevant to a POSA in the context of considering the obviousness of the asserted claims.

         45.     Dr. Nelson also discusses the extensive prior art regarding satraplatin. NRR, ¶

  137. This drug is not a taxane, and whether or not satraplatin was a “failure” is not clearly

  relevant to a POSA’s expectation of success for a taxane. But I do note that satraplatin was

  demonstrated to increase pain-PFS in a randomized clinical trial, where about half of participants

  had received prior docetaxel. Sternberg, et al., “Multinational, Double-Blind, Phase III Study of

  Prednisone and Either Satraplatin or Placebo in Patients With Castrate-Refractory Prostate




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  Cancer Progressing After Prior Chemotherapy: The SPARC Trial,” J. Clin. Oncol., 27:5431-

  5438 (2009) (SA_JEV_0173668-675). Thus, even though satraplatin has never received FDA

  approval, the prior art demonstrates that satraplatin administration achieves the intended use of

  the asserted claims, an increase in survival.

         46.     Dr. Nelson extensively discusses dasatinib (NRR, ¶ 140), although the relevance

  of this discussion to his nonobviousness opinion is not apparent to me. Dasatinib demonstrated

  antitumor activity in mCRPC as a single agent, but when combined with docetaxel did not

  increase survival. Id. This simply reflects a poor drug development strategy, as noted by the

  authors of the cited study, who wrote: “The challenge of combining a molecularly targeted agent

  with docetaxel chemotherapy, despite several phase 3 efforts with various promising agents, has

  not been overcome. This consistent finding across many agents suggests that a fundamental

  conceptual flaw exists in the approach.” Araujo 2013, SA_JEV_3163459-468 at

  SA_JEV_3163467. The notion that the strategy was a failure—as opposed to the drug—is

  supported by another paper by the same author as the paper cited by Dr. Nelson (Araujo, et al.,

  “Long-term use of dasatinib in patients with metastatic castration-resistant prostate cancer after

  receiving the combination of dasatinib and docetaxel,” Cancer Management & Research, 5:25-30

  (2013)), which demonstrated two patients who had prolonged PFS and OS with dasatinib alone

  (after previously being treated with the combination of docetaxel and dasatinib).

         47.     Another agent discussed by Dr. Nelson is bevacizumab, in the context of CALGB

  90401, a study in which I was involved. NRR, ¶ 141. While bevacizumab did not increase

  overall survival, it did increase PFS by 2.4 months (9.9 months versus 7.5 months, p < 0.001). I

  also note that Dr. Nelson cited a disclosure in March 2010 to support his opinion, which I

  understand is not prior art. NRR, ¶ 141; SA_JEV_3142960-962. But he did not cite the full




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  description of the result of TROPIC, that “cabazitaxel therapy at a starting dose of 25 mg/m2

  with dose reductions to 20 mg/m2 in combination with prednisone increased progression-free and

  overall survival as compared to mitoxantrone in combination with prednisone” (NRR, ¶ 173), is

  technically accurate but may be misleading in that the study was not powered or designed to

  detect the effect of the 20 mg/m2 dose on the survival endpoints. The PROSELICA study also

  post-dates the priority date of the patent, and its results are not disclosed in the patents.

  Regardless, given the responses observed in Mita and Pivot at the 15, 20, and 25 mg/m2 doses, it

  would not have been surprising or unexpected that these doses increased survival (as construed

  by the Court) in individual mCRPC patients who had progressed during or after treatment with

  docetaxel.

          D.      Reasonable Expectation At Starting Dose Of 20 Mg/M2 With Reductions To
                  15 mg/m2

          54.     Dr. Nelson states that he disagrees with me that “a POSA would have reasonably

  expected 15-25 mg/m2, 15 mg/m2, 20 mg/m2, or 25 mg/m2 of cabazitaxel to increase survival as

  compared to mitoxantrone.” NRR, ¶ 175. Dr. Nelson has injected his own view of the claims,

  however, when he references a comparison to mitoxantrone. Id.; see also NRR § VI.B. The

  asserted claims do not mention mitoxantrone, nor does the Court’s claim construction. See, e.g.,

  ROR § V.

          55.     Dr. Nelson also recites various dosages described in the prior art. Regarding

  Mita, Dr. Nelson asserts that “Mita did not recommend that dose for further study because of

  febrile and grade 4 neutropenia.” NRR, ¶ 176. It is more accurate to say that Mita teaches that

  the 20 mg/m2 dose was recommended, not that Mita affirmatively recommended against the 25

  mg/m2 dose. Mita (CabRef0002898-905) at CabRef0002901. In the end, Mita still teaches the

  POSA regarding dosages of 10, 15, 20 and 25 mg/m2, with one patient experiencing a confirmed



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  report does not contain a systematic analysis of secondary considerations of nonobviousness

  under a different heading, either. I understand from counsel for the Defendants that secondary

  considerations of nonobviousness can include unexpected results, commercial success, licensing,

  copying, praise by others, and long-felt but unresolved need. I did not see any analysis at all in

  Dr. Nelson’s Rebuttal Report regarding most of the factors. In paragraph 168, Dr. Nelson

  references “known failures of other drugs to prolong life and/or increase PFS in men with

  mCRPC[.]” NRR, ¶ 168. Without more specific analysis, I am not able to fully respond to Dr.

  Nelson. However, I note that the ’170 patent, which is not asserted in this case, describes the

  cabazitaxel compound, and Mita and other prior art describe administration of cabazitaxel for the

  treatment of mCRPC. Dr. Nelson has not described any alleged failures, and I am aware of

  none, where someone attempted to develop a method for administering or treating a patient with

  the known compound cabazitaxel but failed to do so.

         78.     Dr. Nelson also claims that the TROPIC results showing an increase in PFS and

  OS as compared to mitoxantrone were “surprising and unexpected, further supporting the

  nonobviousness of the asserted claims.” NRR, ¶ 173. Similarly, he states that “it was surprising

  and unexpected to a POSA in October 2009 that administering a starting dose of 20 mg/m2 with

  dose reductions to 15 mg/m2 would increase survival as compared to mitoxantrone as

  demonstrated by the PROSELICA study.” Id., ¶ 179. I disagree it was surprising for the reasons

  described in my Opening Report regarding the obviousness of the claims. See, e.g., ROR, §VII.

         79.     Lastly, Dr. Nelson mentions in a footnote that “[o]thers similarly praised

  Jevtana® … .” NRR, ¶171 n.20 (citing “New hope in advanced prostate cancer: Alberta,

  Saskatchewan and Ontario fund coverage for JEVTANA® (Cabazitaxel),” Press Release (Oct. 4,

  2012) (SA_JEV_0182923-24)). This article, however, is a Sanofi press release, so it does not




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  constitute praise “by others.” The quote from Bob Shiell, “Executive Director, Prostate Cancer

  Canada Network (PCCN) Calgary,” is generic and Dr. Nelson has not connected the statement to

  the claimed methods. Thus, it does not support the alleged nonobviousness of the asserted

  claims.

  V.        THE CLAIMS OF THE ’110 AND ’777 PATENTS LACK WRITTEN
            DESCRIPTION

            A.    There Is No Evidence Of Possession Of Methods Of Increasing Survival
                  Without Administration Of Cabazitaxel Combined With A Corticoid

            80.   Dr. Nelson cannot point to anything within the four corners of the patents-in-suit

  describing methods shown to increase survival of men with mCRPC that has progressed during

  or after docetaxel treatment where cabazitaxel is administered without a corticoid. See NRR,

  ¶¶ 230-32. Instead, he cites general statements in the common specification disclosing that

  “[c]abazitaxel may be administered in combination with a corticoid,” and that “[i]n some

  embodiments, the effective amount of cabazitaxel produces at least one therapeutic effect

  selected from the group consisting of an increase in overall survival.” Id., ¶¶ 231, 232 (quoting

  ’110 patent at 3:28-30, 5:41-42; ’777 patent at 3:31-33, 5:44-45). Dr. Nelson thus appears to

  concede that there is nothing in the common specification expressly describing methods shown

  to increase survival of men with mCRPC that has progressed during or after docetaxel treatment

  where cabazitaxel is administered without a corticoid. Even if cabazitaxel treatment without

  combined administration of a corticoid is obvious from these passages, I have been advised that

  showing obviousness is not enough to satisfy the written description requirement; rather, the

  specification must show the inventors were in possession of the full scope of the claimed

  invention. More importantly, these statements do not actually describe methods of administering

  cabazitaxel without a corticoid to increase survival in a patient with mCRPC that has progressed

  during or after docetaxel treatment.


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         81.     As I have outlined in paragraphs 246-254 of my Opening Report, Sanofi has

  argued (and Dr. Gupta has testified) in this case and in the prior New Jersey Litigation that a

  POSA could not have a reasonable expectation that a method of administering cabazitaxel would

  increase survival without clinical data beyond what was present in the prior art. If Sanofi’s and

  Dr. Gupta’s positions and testimony are to be accepted, then it is my opinion that a POSA

  looking over the common specification of the ’110 and ’777 patents would not believe that Dr.

  Gupta had within his possession methods of increasing survival of men with mCRPC that has

  progressed during or after docetaxel treatment where cabazitaxel is administered without a

  corticoid. Simply put, there are no data whatsoever supporting claims directed to methods of

  increasing survival where cabazitaxel is administered without a corticoid.

         82.     I recognize that the claims of the patents-in-suit include within their scope

  methods of increasing survival where cabazitaxel is administered with a corticoid (see NRR ¶

  231), but I have been advised by counsel for Defendants that the full scope of the claims must be

  described and enabled in the common specification and, as I have explained, they are not if

  Sanofi’s positions on reasonable expectation of success are to be accepted by the Court.

         B.      There Is No Evidence Of Possession Of Methods Of Increasing Survival For
                 Doses Other Than 25 mg/m2

         83.     At paragraph 234 of his Rebuttal Report, Dr. Nelson references the following

  portions of the common specification as allegedly describing methods of increasing survival in a

  patient with mCRPC that has progressed during or after docetaxel treatment with cabazitaxel

  doses other than a dose of mg/m2:

                 In some aspects of the invention, cabazitaxel is administered at a
                 dose (defined for each administration) of between 20 and 25
                 mg/m2.

  ’110 patent at 3:15-17 (see also ’777 patent at 3:18-20).



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                 In some aspects of the invention, cabazitaxel may be administered
                 by intravenous infusion at a dose of between 15 and 25 mg/m2, this
                 administration cycle of the antitumour agent being repeated at an
                 interval of 3 weeks between each cabazitaxel administration,
                 which interval may be prolonged by 1 to 2 weeks depending on the
                 tolerance to the preceding cabazitaxel administration.

  ’110 patent at 3:21-27 (see also ’777 patent at 3:24-30).




  ’110 patent at 16:13-37 (see also ’777 patent at 17:28-51). However, none of these portions of

  the common specification actually describe (or even mention) methods of administering

  cabazitaxel at 15-25 mg/m2—or at any other dose—to increase survival of a patient with mCRPC

  that has progressed during or after docetaxel treatment. The first passage just mentions that in

  some aspects of the alleged invention, cabazitaxel is administered between 20-25 mg/m2, while

  the second passage mentions that cabazitaxel may be administered as an infusion between 15-25


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  mg/m2 in cycles. Example 2 simply includes a chart discussing dose reduction to 20 mg/m2 at

  certain toxicities and says nothing about a dose of 15 mg/m2. None of these portions of the

  specification actually describe methods of increasing a patient’s survival with any dosage of

  cabazitaxel beyond 25 mg/m2.

         84.     At paragraph 236 of his report, Dr. Nelson relies on Example 1 as alleged

  evidence that the specification “specifically describes methods shown to increase survival of men

  with mCRPC that has progressed during or after treatment with docetaxel that include the

  administration of 20 mg/m2.” Example 1 discloses that 9.8% of patients in the cabazitaxel arm

  of the study summarized were dose reduced (’110 patent at 15:36-41; ’777 patent at 16:47-52);

  however, it does not mention a reduction to a certain dose, let alone to the 20 mg/m2 dose. Dr.

  Nelson also points to Example 2 as support for increasing survival at doses beyond 25 mg/m2,

  but that disclosure does not explicitly state that those cabazitaxel patients who were dose reduced

  in the Example 1 study summary were in fact dose reduced to 20 mg/m2 dose.

         85.     Furthermore, Example 1 does not break out any survival data for the subset of

  patients who were dose reduced compared to those who were not. Thus, there is simply no

  description in Example 1, or anywhere else in the common specification, of methods of

  increasing survival in a patient with mCRPC that has progressed during or after docetaxel

  treatment with doses of cabazitaxel lower than the 25 mg/m2 dose.

  VI.    The Claims Of The ’110 Patent And ’777 Patent Are Not Enabled

         A.      The Legal Standard For Enablement

         86.     As I explained in my opening report, it is my understanding from counsel for

  Defendants that claims are not enabled when, as of the effective filing date of the patent, one of

  ordinary skill in the art could not practice their full scope without undue experimentation. The

  factors to be considered in determining whether a disclosure would require undue


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  experimentation include (1) the quantity of experimentation necessary, (2) the amount of

  direction or guidance presented, (3) the presence or absence of working examples, (4) the nature

  of the invention, (5) the state of the prior art, (6) the relative skill of those in the art, (7) the

  predictability or unpredictability of the art, and (8) the breadth of the claims. See ROR, ¶ 264.

          87.     Throughout his Rebuttal Report, Dr. Nelson opines that the “claimed inventions

  must be deemed credible to a POSA in light of the specification.” NRR, ¶ 17. Thus, I

  understand that Dr. Nelson is not using the correct legal standard for enablement.

          88.     Dr. Nelson argues that a POSA reading the specification would have “deemed

  credible” the claimed methods: 1) “with or without prednisone”; 2) with “doses of 15-25

  mg/m2”; and 3) with “schedules other than strictly every three weeks.” NRR, ¶¶ 251, 253, 255.

          89.     In my opinion, to the extent claims 1-6 of the ’110 patent and claims 1-6 of the

  ’777 patent are not obvious over the prior art (see Section IV, supra), the claims are invalid for

  lack of enablement because undue experimentation would be required to practice the full scope

  of the claims, as discussed below.

          B.      The Amount of Direction or Guidance Presented

          90.     Dr. Nelson argues that the specification describes how to administer cabazitaxel

  therapy (intravenous infusion), including how to monitor and evaluate therapy, provides

  exemplary formulations, exemplary schedules (for example, every three weeks), exemplary

  doses (15-25 mg/m2), exemplary premedication regimens, and other medications for preventing

  or controlling adverse events. NRR, ¶ 240. As explained in my Opening Report, the

  specification only provides efficacy data for an every 3-week schedule of a 25 mg/m2 dose of

  cabazitaxel in combination with prednisone. ROR, ¶ 270. The specification does not provide

  any information about other doses or dosing schedules that would enable the broader doses or

  dosing schedules set forth in the claims. With regard to premedication regimens,


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  dexchlorpheniramine is not even available parenterally in the United States because it is not an

  FDA-approved product, and there is no evidence that oral dexchlorpheniramine (which is

  available) would be effective. Id., ¶ 50.

         C.      The Breadth Of The Claims

         91.     Dr. Nelson opined that “[i]n view of the nature of the invention and the guidance

  and presence of working examples in the specification, I find the breadth of the claims

  reasonable and not supportive of a finding that undue experimentation would be required to

  practice the claims.” NRR, ¶ 246. I disagree. As explained in my Opening Report, claims 1-6

  of the ’110 patent and 1-6 of the ’777 patent are directed to treatment of patients with mCRPC

  with a pretreatment regimen followed by cabazitaxel. ROR, ¶¶ 266, 292. To practice these

  claims, a physician does not have to use cabazitaxel in combination with a corticoid in treating a

  patient. The specification, however, does not describe any clinical studies or data describing or

  showing the efficacy of the administration of cabazitaxel in the absence of co-administration of

  the corticoid prednisone. Instead, the ’110 and ’777 patents describe clinical data regarding the

  administration of cabazitaxel at a dose of 25 mg/m2 with prednisone (the latter of which is not a

  claim limitation). See, e.g., ’110 patent at claims 1, 4.

         92.     Furthermore, claims 1, 2, 3, 5, and 6 of the ’110 and are directed to a range of

  doses of cabazitaxel. ROR, ¶ 266. As discussed above, the written specification only provides

  efficacy data for a dose of 25 mg/m2 in combination with prednisone. Id., ¶ 256.

         93.     In particular, claims 1 and 2 of the ’110 patent do not expressly limit to any

  particular dose of cabazitaxel. For these claims, any dose of cabazitaxel can be used. ROR,

  ¶ 257. For example, a dose of 1 mg/m2 or 100 mg/m2 could be used. Id., ¶ 269.

         94.     Claim 3 of the ’110 patent recites “wherein the dose of said cabazitaxel, or hydrate

  or solvate thereof, is 15-25 mg/m2.” Although this claim recites a range of cabazitaxel doses, as


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  discussed above, the written specification only provides efficacy data for a dose of 25 mg/m2 in

  combination with prednisone. ROR, ¶ 270.

           95.   Claim 6 of the ’110 patent recites “wherein the dose of said cabazitaxel, or

  hydrate or solvate thereof, is 15 mg/m2.” Although this claim recites a specific dose of

  cabazitaxel, notably, there are no efficacy data provided in the ’110 patent for this dose. ROR,

  ¶ 271.

           96.   With regard to the ’777 patent, claim 2 (which depends from claim 1) and claim 5

  (which depends from claim 4) further recite “where the cabazitaxel, or hydrate or solvate thereof,

  is administered at a dose of 20 mg/m2.” Although these claims recite a specific dose of

  cabazitaxel, notably, there are no efficacy data provided in the ’777 patent for this dose. ROR, ¶

  295.

           97.   Claims 1-6 of the ’777 patent also do not specify any dose schedule (e.g., every

  three weeks), and therefore any dose schedule may be used to practice the claims. ROR, ¶ 292.

  The specification only describes a 3-week dose schedule, which may be prolonged by 1-2 weeks:

                 In one aspect of the invention, cabazitaxel is administered by
                 perfusion to the patient according to an intermittent program with
                 an interval between each administration of 3 weeks, which may be
                 prolonged by 1 to 2 weeks depending on the tolerance to the
                 preceding administration.

   Id., ¶ 296;’777 patent at 5:55-60.

           D.    The Presence Or Absence Of Working Examples

           98.   Dr. Nelson argues that “[t]he specification contains a working example (Example

  1) from the TROPIC study demonstrating that cabazitaxel therapy is life-prolonging compared to

  mitoxantrone therapy in men with mCRPC that has progressed during or after treatment with

  docetaxel.” NRR, ¶ 243. But Example 1 only provides efficacy data for a 3-week dosing

  schedule of a 25 mg/m2 dose of cabazitaxel in combination with prednisone (and prednisone is


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  not required by the asserted claims). No other examples provide any information about a dosing

  schedule that would enable the broader doses or dosing schedules set forth in the claims.

         E.      The Predictability Or Unpredictability Of The Art And The State Of The Art

         99.     Dr. Nelson argues that the specification is enabling because it “describes the

  results of the phase III TROPIC clinical study, the first clinical study of cabazitaxel in prostate

  cancer specifically, and the first controlled study of cabazitaxel (the only way to assess

  comparative endpoints like PFS and overall survival) in any patient type.” NRR, ¶ 249.

  However, the inventor of the patents-in-suit, Dr. Gupta, testified, as Sanofi’s corporate

  representative, that he does not know what would happen if the frequency of administering

  cabazitaxel were changed to a 1-week, 2-week, or 4-week dosage schedule. 12/10/2020 Gupta

  Dep. Tr. at 103-104.

         100.    Dr. Nelson asserts that I have not explained why a POSA would not have found it

  “credible” that cabazitaxel doses of 15-20 mg/m2 or schedules other than every three weeks

  would be effective. NRR, ¶ 256. He also asserts that I have not provided any evidence that such

  dosing schedules are not effective while pointing to the subsequent PROSELICA, ConCab and

  Prosty II Trials. Id. However, the claims are broader than the eligibility criteria and the specific

  treatment regimens utilized in those trials. In general, the method of the claims includes

  administration of one dose of cabazitaxel to a patient that has mCRPC that has progressed during

  or after treatment with docetaxel. Indeed, in the broadest claims, a patient can be administered a

  single dose of 1 mg/m2 or 100 mg/m2 of cabazitaxel alone.

         F.      The Quantity Of Experimentation Necessary And The Level Of Skill In The
                 Art

         101.    Dr. Nelson argues that “[a] POSA would be familiar with clinical study design

  and interpretation. In view of the guidance in the specification and the TROPIC data, a POSA



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  would have been capable of modifying dose schedules, doses, or combinations of cabazitaxel

  therapy according to the characteristics of a particular patient with the intent of increasing the

  survival of that patient.” NRR, ¶ 258. If this were true, a POSA could modify dose schedules,

  doses, or combinations with just the prior art (Mita), including the disclosure of the TROPIC

  study. A POSA would not need the results of the TROPIC study.

         102.      However, Dr. Nelson’s argument is at odds with inventor Dr. Gupta’s deposition

  testimony. As discussed in my Opening Report, Dr. Gupta testified that a Phase 3 clinical trial

  would be required to evaluate additional doses of cabazitaxel alone in the treatment of mCRPC

  in order to practice the full scope of the claims. See ROR, ¶ 272. Dr. Gupta explained that he

  first proposed the TROPIC trial to his senior management in late 2005, and it was not until

  October 2009, roughly four years later, that the results were available. 6/30/2016 Gupta Dep. Tr.

  at 51:21-52:8.

         103.      In addition, during prosecution of the ’110 patent, Sanofi represented to the

  Examiner that “if the claim recited that the cabazitaxel is administered with the intent of

  increasing overall survival, one skilled in the art could not have that intent without having an

  expectation of success and one skilled in the art could not have an expectation of success without

  data from a clinical trial, e.g., the TROPIC Trial, that cabazitaxel increases overall survival.”

  March 2018 Interview Summary. The Court has construed the preamble of the claims as reciting

  a “method of increasing survival with the intentional purpose of increasing such survival in an

  individual patient in need of such a method of increasing survival.” ROR, ¶ 87; ECF No. 215.

  Therefore, while I disagree with Sanofi that a POSA would need data from the TROPIC trial to

  have an expectation of success, if the Court accepts Sanofi’s argument on obviousness, then a

  Phase 3 clinical trial would be required to evaluate whether cabazitaxel could be successfully




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  administered without a corticoid (i.e., prednisone) in treating mCRPC. ROR, ¶ 273. Moreover,

  under Sanofi’s logic, as argued to the Patent Office, additional studies would be needed to

  evaluate different doses (e.g., 10 mg/m2, 15 mg/m2, 20 mg/m2) and a different dosing schedule of

  cabazitaxel. Id.

         104.    Thus, if the Court accepts Sanofi’s arguments on obviousness, then all of the

  asserted claims of the ’110 patent and ’777 patent are invalid for lack of enablement because

  undue experimentation would be required to practice the full scope of the claims.




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  VII.   CONCLUSION

         106.    I declare under the penalty of perjury under the laws of the United States that the

  foregoing statements are true and correct and this expert report was executed by me on this 19th

  day of March, 2021.

                                               _                                   _

                                                        Mark J. Ratain, M.D.




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                          IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE




  SANOFI-AVENTIS U.S. LLC and              )
  SANOFI MATURE IP,                        )
                                           )
                             Plaintiffs,   )
                                           )
               v.                          )
                                           )   C.A. No. 20-804 (RGA)
                                           )   Consolidated
  ACTAVIS LLC, et al.,                     )
                                           )
                             Defendants.   )
                                           )




                    REBUTTAL VALIDITY REPORT OF PETER S. NELSON, M.D.
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  I.     INTRODUCTION

         1.      I am the same Peter S. Nelson, M.D. who previously submitted an Opening

  Infringement Report regarding U.S. Patent Nos. 10,716,777 (“the ’777 patent”) and 10,583,110

  (“the ’110 patent”) (the “asserted patents”) to each of defendants Actavis LLC, Apotex Corp. and

  Apotex Inc., Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd., Mylan

  Laboratories Limited, and Sandoz Inc. on January 29, 2021 (collectively, my “Opening

  Reports”) in connection with the above-captioned patent litigation.

         2.      My Opening Reports set forth my education, knowledge, and experience as it

  relates to the subject matter of this proceeding, and I incorporate my qualifications herein by

  reference. I have not testified or sat for deposition in any cases since my Opening Reports. My

  compensation for this proceeding is also set forth in my Opening Reports and is not dependent

  on the opinions I provide or the outcome of this case.

         3.      I have been asked by counsel for plaintiffs Sanofi-Aventis U.S. LLC and Sanofi

  Mature IP (collectively, “Sanofi”) to respond to the January 29, 2021 Opening Expert Report of

  Mark J. Ratain, M.D. (“Ratain Report”) and to provide my opinions regarding the validity of

  claims 1-6 of the ’777 and ’110 patents (“the asserted claims”). Specifically, I have been asked

  to respond to Dr. Ratain’s assertions that the asserted claims are invalid for obviousness, lack of

  written description, and lack of enablement. The absence of a response to any particular

  paragraph or aspect of the Ratain Report should not be taken as an indication that I agree with it.

  I expect to testify as an expert witness on these issues.




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  II.    SUMMARY OF MY OPINIONS

         4.      For the reasons explained in detail below, I disagree with the opinions of Dr.

  Ratain that the asserted claims of the ’777 and ’110 patents are invalid for obviousness, lack of

  written description, and lack of enablement. It is my opinion that those claims are not obvious,

  meet the standard for written description, and are enabled.

         5.      To the extent any new information is made available to me after I sign this report,

  I will evaluate that information to determine whether it has any impact on the opinions and

  conclusions set forth in my report. If necessary and permitted, I will update my report to take

  that information into consideration. If called to testify, I also expect to provide a tutorial

  explaining the scientific principles underlying my opinions. I intend to prepare demonstratives at

  the appropriate time to help illustrate my testimony at trial.

         6.      I have based my opinions on my general knowledge of clinical and experimental

  therapy for prostate cancer that I have acquired from more than 30 years of medical education,

  training, research, and practice, my study of the asserted patents, the Ratain Report and the

  references cited therein, and the documents I reference herein. A list of the materials I have

  reviewed in connection with reaching the opinions in this report is set forth in Exhibit 1.


  III.   INSTRUCTIONS ON THE LAW

         7.      Counsel for Sanofi has provided me with an understanding of the legal principles

  relevant to the case to help form my opinions.

         8.      I understand that issued patents are entitled to a presumption of validity. I further

  understand that to prove invalidity, the challenger must show by clear and convincing evidence




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  that a patent claim is invalid, including invalidity for obviousness, lack of written description,

  and lack of enablement.

         9.      I also understand from counsel that I should consider the claims and their validity

  through the eyes of a hypothetical person of ordinary skill in the art (“POSA”) to which the

  patent pertains. As stated in my Opening Reports, in my opinion, a POSA was a medical

  oncologist or medical doctor specializing in oncology. He or she would have experience in

  treating and evaluating treatments for prostate cancer and have access to information regarding

  pharmacokinetics and mechanisms of cancer drug resistance.

         10.     I understand that Dr. Ratain has opined that a POSA would be “an individual (or

  team) with a high level of education, such as a medical degree (M.D.), or comparable degree and

  several years of experience treating patients with cancer, including prostate cancer. The person

  (or team) of ordinary skill in the art would have a working knowledge of clinical study design

  and interpretation.” Ratain Report at ¶ 85. As acknowledged by Dr. Ratain, his definition of a

  POSA is similar to mine, and the opinions set forth herein would not change if his definition of a

  POSA were used instead.


         A.      Obviousness

         11.     I understand that an invention is invalid for obviousness if the differences

  between the invention and the prior art are such that the subject matter of the claims as a whole

  would have been obvious at the time the invention was made to a POSA.

         12.     I understand from counsel that a party asserting obviousness must prove that a

  POSA had a motivation to select and combine the teachings of the prior art references to arrive at

  the claimed invention with a reasonable expectation of success.


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          13.     I understand from counsel that obviousness of patent claims is examined at the

  time of the invention based on the prior art but without the benefit of the patent application. That

  is, the specification of the ’777 and ’110 patents is not available as prior art.


          B.      Written Description

          14.     I understand from counsel that the specification of the patent must reasonably

  convey to a POSA that the inventor was in possession of the claimed subject matter as of the

  filing date. Put another way, the specification must demonstrate that the inventor had invented

  the claimed subject matter as of the filing date.

          15.     I understand from counsel that “possession” of the claimed invention can be

  shown by description of the claimed invention with all of its limitations using such descriptive

  means as words, structures, figures, diagrams, and formulas that fully set forth the claimed

  invention.

          16.     I understand from counsel that, contrary to obviousness, analysis of written

  description is performed by looking at the patent specification.


          C.      Enablement

          17.     I understand from counsel that the assertions of utility of the claimed inventions

  must be deemed credible to a POSA in light of the specification.

          18.     I understand from counsel that the specification must also provide sufficient

  information to allow a POSA to practice the claimed subject matter without undue

  experimentation as of the filing date.

          19.     I understand that whether experimentation is considered undue depends on an

  analysis of certain factors such as the quantity of experimentation necessary, the amount of

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  direction or guidance presented, the presence or absence of working examples, the nature of the

  invention, the state of the prior art, the level of skill in the art, the unpredictability of the art, and

  the breadth of the claims.

          20.     I further understand from counsel that, contrary to obviousness, enablement

  considers the patent specification.

          21.     I also understand from counsel that it is permissible to rely upon post-filing

  evidence to demonstrate enablement.


  IV.     ASSERTED CLAIMS AND CLAIM CONSTRUCTION

          22.     I understand that Sanofi is asserting claims 1-6 of both the ’777 and ’110 patents.

  These asserted claims are set forth below.

          23.     Claim 1 of the ’777 patent: A method of increasing survival comprising

  administering to a patient in need thereof a dose of 20 to 25 mg/m 2 of cabazitaxel, or a hydrate of

  solvate thereof, in combination with an H2 antagonist, wherein the H2 antagonist is administered

  to the patient prior to administering the dose of cabazitaxel, and wherein said patient has

  castration resistant metastatic prostate cancer that has progressed during or after treatment with

  docetaxel.

          24.     Claim 2 of the ’777 patent: The method of claim 1, where the cabazitaxel, or

  hydrate of solvate thereof, is administered at a dose of 20 mg/m 2.

          25.     Claim 3 of the ’777 patent: The method of claim 1, where the cabazitaxel, or

  hydrate of solvate thereof, is administered at a dose of 25 mg/m 2.

          26.     Claim 4 of the ’777 patent: The method of claim 1, where the H 2 antagonist is

  administered at least 30 minutes prior to administering the dose of cabazitaxel.


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         27.     Claim 5 of the ’777 patent: The method of claim 4, where the cabazitaxel, or

  hydrate or solvate thereof, is administered at a dose of 20 mg/m 2.

         28.     Claim 6 of the ’777 patent: The method of claim 4, where the cabazitaxel, or

  hydrate or solvate thereof, is administered at a dose of 25 mg/m 2.

         29.     Claim 1 of the ’110 patent: A method of increasing survival comprising

  administering to a patient in need thereof (1) cabazitaxel, or a hydrate of solvate thereof, as a

  new cycle every three weeks and (2) dexchlorpheniramine administered at a dose of 5 mg,

  dexamethasone administered at a dose of 8 mg, and an H 2 antagonist, each administered prior to

  the administration of said cabazitaxel, or hydrate of solvate thereof, wherein said patient has

  castration resistant metastatic prostate cancer that has progressed during or after treatment with

  docetaxel.

         30.     Claim 2 of the ’110 patent: The method according to claim 1, wherein the

  dexchlorpheniramine, dexamethasone, and H2 antagonist are administered 30 minutes prior to

  administration of said cabazitaxel, or hydrate of solvate thereof.

         31.     Claim 3 of the ’110 patent: The method according to claim 2, wherein the dose of

  said cabazitaxel, or hydrate or solvate thereof is 15-25 mg/m 2.

         32.     Claim 4 of the ’110 patent: The method according to claim 3, wherein the dose of

  said cabazitaxel, or hydrate or solvate thereof, is 25 mg/m 2.

         33.     Claim 5 of the ’110 patent: The method according to claim 3, wherein the dose of

  said cabazitaxel, or hydrate or solvate thereof, is 20 mg/m 2.

         34.     Claim 6 of the ’110 patent: The method according to claim 3, wherein the dose of

  said cabazitaxel, or hydrate or solvate thereof, is 15 mg/m 2.



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         35.     I understand that the Court has issued a claim construction order construing

  certain terms of the asserted patents, attached as Exhibit 2. I have applied these constructions in

  reaching the opinions contained herein.

         36.     I understand that the parties agreed that “castration resistant metastatic prostate

  cancer that has progressed during or after treatment with docetaxel” means “castration resistant

  metastatic prostate cancer that has worsened during or after treatment with docetaxel.”

         37.     I understand that the parties agreed that “a method of increasing survival . . . to a

  patient in need thereof” means “a method of increasing survival with the intentional purpose of

  increasing such survival in an individual patient in need of such a method of increasing

  survival.”

         38.     I understand that the Court has construed “increasing survival” as “increasing any

  of overall survival, tumor progression-free survival, pain progression-free survival, or prostate

  specific antigen (PSA) progression-free survival.” 1


  V.     INVENTION DATE

         39.     I understand from counsel that the claimed inventions were conceived by Dr.

  Sunil Gupta in October 2009.




  1
    Prior art publications frequently refer to “survival benefit,” “survival advantage,” or “survival”
  when they are referring to overall survival. See, e.g., Ramiah, Clinical Endpoints for Drug
  Development in Prostate Cancer, 18 Curr. Opin. Urol. 303-08 (2008) (SA_JEV_0183150-55)
  (“Ramiah”) at 304 (“survival advantage”); Pienta & Smith, Advances in Prostate Cancer
  Chemotherapy: A New Era Begins, 55 CA Cancer J. Clin. 300-318 (2005) (SA_JEV_0183117-
  35) (“Pienta & Smith”) at 300 (“survival advantage”), 303 (“survival”), 304 (“survival benefit”).
  Because the Court has construed “increasing survival” to include progression-free survival, I
  specify overall survival where needed herein for clarity.
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         40.     I understand that the asserted patents claim priority from seven applications listed

  on the face of each patent, the earliest of which was filed on October 29, 2009. Dr. Ratain

  asserts that the first patent application to describe the claimed inventions was application No.

  61/293,903 filed on January 11, 2010. Ratain Report at ¶¶ 47-48. I agree. I further understand

  from counsel that the filing of patent application No. 61/293,903 constitutes what is referred to

  as “constructive reduction to practice” of the claimed inventions.

         41.     Dr. Ratain relies upon a press release from Sanofi issued on December 21, 2009

  announcing that the FDA had accepted Sanofi’s request for fast track designation to allow “a

  rolling submission of a New Drug Application (“NDA”) for cabazitaxel in second-line prostate

  cancer.” Ratain Report at ¶ 121, citing CabRef0012803-04 (“Sanofi-Aventis Press Release

  2009”). In particular, Dr. Ratain relies on the statement in the Sanofi-Aventis Press Release

  2009 that the “primary endpoint of the Phase III TROPIC study, which was overall survival, met

  statistical significance.” Sanofi-Aventis Press Release 2009 at CabRef0012804. Dr. Ratain cites

  further news articles that merely repeat information from the Sanofi-Aventis Press Release 2009.

  Ratain Report at ¶¶ 122-125.

         42.     I was asked by counsel to consider whether regulatory and patent submissions

  would corroborate testimony from Dr. Gupta that he was reasonably diligent in seeking FDA

  approval of cabazitaxel, so that physicians could actually practice the claimed methods, from the

  time prior to the Sanofi-Aventis Press Release 2009 on December 21, 2009 to January 11, 2010

  when patent application No. 61/293,903 was filed.

         43.     As noted in the Sanofi-Aventis Press Release 2009, Sanofi had requested and was

  granted fast track designation from the FDA. Sanofi-Aventis Press Release 2009 at

  CabRef0012804. By that time, Sanofi had already begun rolling NDA submissions for
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  cabazitaxel. Id. This ultimately led to the approval of Jevtana® (cabazitaxel) in June 2010,

  months ahead of the FDA’s September 2010 goal date. FDA News Release, FDA Approves New

  Treatment for Advanced Prostate Cancer (June 17, 2010) (SA_JEV_0182854-55). I also

  understand that Sanofi’s actions to obtain regulatory approval were sufficiently diligent for

  Sanofi to be granted patent-term extension for U.S. Patent No. 5,847,170, which covers the

  cabazitaxel molecule. Application for Patent Term Extension Under 35 U.S.C. § 156 (Aug. 10,

  2010) (SA_JEV_0001122-238); Notice of Final Determination and Requirement for Election

  (Oct. 30, 2013) (SA_JEV_0001248-50); Patent Term Extension Certificate for U.S. Patent No.

  5,847,170 (Feb. 4, 2014) (SA_JEV_0001256-57). I understand from counsel that in order to

  receive a full patent term extension during the period of regulatory review, Sanofi must have

  acted with “due diligence.”

         44.     The remainder of my report below assumes an invention date by the end of

  October 2009. This means I assumed that the Sanofi-Aventis Press Release 2009 and the other

  articles identified by Dr. Ratain that repeated information in that press release were not prior art.


  VI.    NONOBVIOUSNESS

         A.      Background on mCRPC That Had Progressed During or After Treatment
                 with Docetaxel by October 2009

         45.     In 2009, prostate cancer was the most common non-skin cancer in men in the

  United States and the second leading cause of cancer deaths. American Cancer Society, Cancer




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  Facts & Figures 2009 (SA_JEV_3142963-3034) at 10, 19. The prognosis and treatment

  depends largely on the cancer stage.2

         46.     Most patients present with disease confined to the prostate gland, also referred to

  as localized disease. Localized disease is frequently treated with curative intent by removing the

  prostate gland (prostatectomy) or by radiation. Androgen ablation, which is also known as

  androgen suppression or androgen deprivation, to lower levels of male hormones that promote

  prostate cancer growth may also be prescribed, but generally chemotherapy is not given to

  patients with localized disease.

         47.     Some patients will present with metastases, which is cancer detected outside of

  the prostate gland, on initial diagnosis. Additionally, some patients that had localized disease

  initially will develop metastases over time, even if previously treated with prostatectomy or

  radiation.

         48.     Patients with recurrent disease despite primary surgical or radiation therapy and

  patients with metastatic disease upon diagnosis are typically treated with systemic therapies. The

  first such therapy is typically androgen ablation by surgical or medical castration to drastically

  lower levels of testosterone, which results in a reduction of tumor volume and symptom

  improvements, but unfortunately, is not curative.

         49.     Prostate cancer that has worsened despite castration levels of testosterone is

  referred to as castration-resistant prostate cancer. This has also been referred to historically in

  the literature as hormone-refractory or androgen-independent prostate cancer, but today



  2
   I incorporate as if set forth herein the sections titled “General Background on Prostate Cancer,”
  “Background on the Clinical Development of Cabazitaxel,” and “Sanofi’s Jevtana ® Product” in
  my Opening Reports.
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  established as a surrogate for patient benefit. Ramiah at 303-06; Novantrone ® Label 2008

  (SA_JEV_3142738-78) (“Novantrone® Label”) at 11 (“[T]he clinical significance of a fall in

  prostate-specific antigen (PSA) concentrations after chemotherapy is unclear.”). PSA changes

  had not been a basis for drug approval for prostate cancer. See D’Amico, US Food and Drug

  Administration Approval of Drugs for the Treatment of Prostate Cancer: A New Era Has Begun,

  32(4) J. Clin. Oncol. 362-64 (2014) (SA_JEV_0182827-29) at 363, Table 1.

         53.     Another metric for mCRPC is a patient’s cancer-related pain if the patient has

  such pain. Pain response can be measured by having patients fill out a questionnaire or by

  tracking how much pain medication a patient was taking. An increase or reduction in cancer-

  related pain may be another factor that physicians consider when evaluating whether the prostate

  cancer has worsened or is improving. However, this is necessarily limited to patients reporting

  cancer-related pain when a treatment is started, which excludes many mCRPC patients who do

  not report such pain. Ramiah at 305. It is also important to distinguish between pain related to

  the cancer and pain associated with drug toxicities. Quality of life surveys are considered

  “problematic given their subjectivity, lack of standardization, inherent biases in comparison with

  control arms, and the need to balance quantity of life improvements with quality of life

  improvements.” Id.

         54.     Progression-free survival (“PFS”) is a composite clinical study endpoint

  measuring the time until the patient’s cancer progresses (time to progression) or the patient dies.

  For example, in Example 1 of the asserted patents, PFS is defined as the time from inclusion in

  the study to the time of progression or death, when the progression is either an increase in PSA,

  tumor size, or pain. ’110 patent at col. 11, ll. 32-35; ’777 patent col. 11, ll. 32-35. The focus of

  PFS is the period of time before the cancer worsens. Time until death is included because it is
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  Cancer Network (Dec. 1, 1996) (SA_JEV_2178186-87), available at

  https://www.cancernetwork.com/view/novantrone-gets-fda-nod-use-advanced-prostate-cancer.

  Due to its relatively low toxicity and data suggesting potential palliative benefit in patients with

  mCRPC, mitoxantrone was investigated in two randomized, controlled studies in patients with

  mCRPC. Tannock, Chemotherapy with Mitoxantrone Plus Prednisone or Prednisone Alone for

  Symptomatic Hormone-Resistant Prostate Cancer: A Canadian Randomized Trial with Palliative

  End Points, 14 J. Clin. Oncol. 1756-1764 (1996) (CabRef0013313-21) (“Tannock 1996”) at

  1756; Kantoff, Hydrocortisone With or Without Mitoxantrone in Men with Hormone-Refractory

  Prostate Cancer: Results of the Cancer and Leukemia Group B 9182 Study, 17 J. Clin. Oncol.

  2506–13 (1999) (“Kantoff 1999”) at 2506.

         60.     The first study, CCI-NOV22, evaluated the use of mitoxantrone plus prednisone

  in comparison to prednisone alone in mCRPC patients. Tannock 1996 at 1756-57. The primary

  endpoint of this study was palliation, which was defined as “a 2-point reduction in the 6-point

  present pain intensity scale of the McGill-Melzack Pain Questionnaire.” Id. at 1757. Secondary

  endpoints included duration of palliative response (as defined by the primary endpoint of a

  reduction in pain) and “survival” (referring to overall survival). Id. Secondary endpoints also

  included a 50% reduction in analgesic score without an increase in pain. Id. at 1757. A higher

  percentage of patients receiving mitoxantrone plus prednisone (29%) achieved palliation

  compared to those receiving prednisone alone (12%). Id. at 1759. The duration of palliative

  response was significantly increased in patients receiving mitoxantrone compared to those

  receiving prednisone alone (43 weeks and 18 weeks, respectively). Id. Additional patients met

  the secondary criteria of palliative response by experiencing at least a 50% reduction in

  analgesics. Id. If both metrics of pain reduction were included, 38% of patients receiving
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   mitoxantrone experienced palliative benefit as compared to 21% of patients receiving

   prednisone. Id. It was also reported that 33% of patients receiving mitoxantrone experienced a

   PSA response (≥ 50% decrease in PSA) compared to 22% of patients receiving prednisone alone,

   which was not considered to be significantly different. Id. Despite the palliative effects

   reported, “[t]here was no significant difference in overall survival” in patients who received

   mitoxantrone plus prednisone compared to those receiving prednisone alone. Id. at 1760; see

   also Tannock, Docetaxel plus Prednisone or Mitoxantrone plus Prednisone for Advanced

   Prostate Cancer, 351 N. Eng. J. Med. 1502-12 (2004) (CabRef0003438-48) (“Tannock 2004”) at

   1502 (“Mitoxantrone plus prednisone reduces pain and improves the quality of life in men with

   advanced, hormone-refractory prostate cancer, but it does not improve survival.”). Tannock

   1996 concluded that there was “a higher probability of palliation for patients with symptomatic

   hormone-resistant prostate cancer” when treated with mitoxantrone plus prednisone versus

   prednisone alone. Tannock 1996 at 1762.

          61.     The second study, CALGB9182, evaluated mitoxantrone plus hydrocortisone

   versus hydrocortisone alone in men with mCRPC. Kantoff 1999 at 2506. The primary endpoint

   of this study was overall survival; the hope was that the reductions in pain and PSA previously

   reported would lead to a prolongation of life. Time to disease progression (as defined by

   worsening of performance status, the appearance of two or more new lesions on the bone scan, or

   an increase in PSA ≥100% above pretreatment levels), time to treatment failure (progression,

   unacceptable toxicity, or refusal to continue), best response to treatment, quality of life, and

   decrease in PSA were also evaluated. Id. at 2508. Mitoxantrone did not increase overall

   survival despite a “small but statistically significant increase” in both time to disease progression

   and time to treatment failure between the mitoxantrone plus hydrocortisone arm (3.7 months)
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   and the hydrocortisone alone arm (2.3 months). Id. at 2506, 2508. A higher percentage of

   patients receiving mitoxantrone achieved a PSA response compared to those who received

   hydrocortisone alone (38% versus 22%). Id. at 2509. Although “mitoxantrone lack[ed]

   sufficient activity in HRPC to translate into a survival benefit,” the higher frequency of PSA

   declines and increased time to disease progression “support[ed] the use of [mitoxantrone and

   hydrocortisone] as a palliative combination in HRPC.” Id. at 2510-11. The authors noted that

   while further therapeutic options were needed, the mitoxantrone combination could be used as a

   control arm in phase III trials. Id. at 2512.

          62.     As a result of these studies showing that mitoxantrone plus a corticoid relieves

   pain, prolongs time to progression, and improves quality of life as compared to a corticoid alone,

   the FDA approved the use of mitoxantrone for mCRPC. Novantrone ® Label at 9-12.

   Mitoxantrone therapy was therefore the comparator therapy for the pivotal phase III clinical

   studies of docetaxel that led to its approval (brand name Taxotere®) in 2004 as the first life-

   prolonging treatment for mCRPC. Pienta & Smith at 304-307; see also FDA News Release,

   FDA Approves New Indication for Taxotere-- Prostate Cancer (May 19, 2004)

   (SA_JEV_0184064-65); ’777 patent at col. 1l, 64-66; ’110 patent at col. 1, ll. 63-65 (“[T]he

   combination of mitoxantrone with corticoids was recognized as the reference treatment for

   hormone-resistant prostate cancer.”).

          63.     The SWOG9916 trial compared docetaxel in combination with estramustine to

   mitoxantrone in combination with prednisone in men with mCRPC. Pienta & Smith at 304-05;

   Petrylak, Docetaxel and Estramustine Compared with Mitoxantrone and Prednisone for

   Advanced Refractory Prostate Cancer, 351 N. Eng. J. Med. 1513-20 (SA_JEV_1154900-907)

   (2004) (“Petrylak 2004”) at 1513. The primary endpoint was overall survival, and secondary
                                                        17
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   endpoints included PFS, objective response rate, and PSA response rate. Petrylak 2004 at 1513,

   1515. The PSA response rates were 50% for docetaxel arm and 27% for the mitoxantrone arm,

   and the objective response rate in patients with measurable disease were 17% for the docetaxel

   arm and 11% for the mitoxantrone arm. Id. at 1513. The docetaxel and estramustine

   combination significantly increased overall and progression-free survival. Id. at 1513, 1518.

          64.     In the TAX327 study, docetaxel in combination with prednisone (every three

   weeks and a weekly schedule) was compared to mitoxantrone in combination with prednisone.

   Pienta & Smith at 305; Tannock 2004 at 1503 (noting that mitoxantrone plus a corticosteroid

   was “established” as the “treatment of reference for hormone-refractory prostate cancer”). The

   PSA response rates were 45% for docetaxel every three weeks and 32% for mitoxantrone, and

   the objective response rate in patients with measurable disease was 12% for docetaxel every

   three weeks and 7% for mitoxantrone. Tannock 2004 at 1508. The docetaxel every three week

   schedule, but not the weekly schedule significantly increased overall survival as compared to

   mitoxantrone. Id. at 1507-08.

          65.     Because it was the first therapy shown to prolong life in mCRPC, docetaxel

   became the first-line standard of care, but it is not curative. The cancer becomes resistant to

   docetaxel over time, which limits the extent and duration of its effectiveness causing nearly all

   patients to have disease progression either during or after treatment. Rosenberg, Activity of

   Second-Line Chemotherapy in Docetaxel-Refractory Hormone-Refractory Prostate Cancer

   Patients, Randomized Phase 2 Study of Ixabepilone or Mitoxantrone and Prednisone, 110(3)

   Cancer 556-63 (2007) (SA_JEV_1000926-33) (“Rosenberg”) at 557.




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          66.     Because of its established palliative benefits, mitoxantrone then became a de facto

   community standard for patients that had progressed during or after treatment with docetaxel and

   became the reference treatment for further studies in such patients. Rosenberg at 557. 3

          67.     For example, in a randomized phase II study comparing ixabepilone and

   mitoxantrone in patients with mCRPC whose disease progressed during or within 60 days of

   completing at least two cycles of taxane-based chemotherapy, 20% of patients receiving

   mitoxantrone achieved a PSA response, and 2 out of 21 patients with measurable disease had a

   partial response (reduction in tumor size). Rosenberg at 560. Preliminary results of a

   randomized phase II study comparing (1) irofulven plus prednisone or (2) irofulven plus

   capecitabine and prednisone to (3) mitoxantrone plus prednisone in mCRPC patients who

   progressed during or within three months of docetaxel treatment reported no PSA responses in

   the mitoxantrone group, but the RECIST (measurable tumor size reduction) response rate was

   13% for mitoxantrone. Berger, Results of a Randomized Phase II Study of Irofulven in

   Hormone-Refractory Prostate Cancer Patients that Have Failed Firstline Docetaxel Treatment,

   25 (18 Suppl.) J. Clin. Oncol. Abstr. 5068 (2007).

          68.     In addition, the investigators of the TAX327 study analyzed patients who received

   docetaxel, progressed, and then crossed over to mitoxantrone. Berthold, Survival and PSA

   Response of Patients in the TAX 327 Study Who Crossed Over to Receive Docetaxel After

   Mitoxantrone or Vice Versa, 19 Annals of Oncol. 1749-53 (2008) (“Berthold 2008”) at 1749.

   The authors noted that mitoxantrone was “often given after progression on docetaxel.” Id. at



   3
     I have significant experience using mitoxantrone in such patients and have had patients who
   responded very well to mitoxantrone following progression during or after treatment with
   docetaxel with disease progression prolonged by as much as 9 months.
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   1750. 9.8% of patients previously receiving docetaxel every three weeks and 22.2% of patients

   previously receiving docetaxel on a weekly schedule had a PSA decline of at least 50% on

   second-line mitoxantrone. Id. at 1751. The authors noted some uncertainty about the choice of

   control arm in second-line chemotherapy studies, but noted that prednisone alone or

   mitoxantrone plus prednisone could be reasonable control arms. Id. at 1752.

          69.       Consistent with its recognition as a reference treatment used after docetaxel

   therapy, other clinical studies in patients previously treated with docetaxel used mitoxantrone in

   combination with prednisone as a control arm, not docetaxel retreatment. See, e.g.,:

                x   Cetuximab in combination with mitoxantrone and prednisone v. mitoxantrone in
                    combination with prednisone in men with mCRPC and one prior docetaxel-
                    containing regimen, NCT00661492 first posted on clinicaltrials.gov 4 as of April
                    18, 2008,
                    https://web.archive.org/web/20090912181252/https://clinicaltrials.gov/ct2/show/
                    NCT00661492

                x   Rilotumumab (AMG 102 ) in combination with mitoxantrone and prednisone v.
                    mitoxantrone in combination with prednisone in men with mCRPC and previous
                    taxane-based therapy, NCT00770848 first posted on clincialtrials.gov as of
                    October 2008,
                    https://web.archive.org/web/20090912181252/https://clinicaltrials.gov/ct2/show/
                    NCT00661492

                x   Siltuximab (CNTO 328) in combination with mitoxantrone and prednisone v.
                    mitoxantrone in combination with prednisone in men with mCRPC with disease
                    progressing or within 6 months of stopping docetaxel based therapy,
                    NCT00385827 first posted on clinicaltrials.gov as of October 2006,
                    https://web.archive.org/web/20090512183647/http://clinicaltrials.gov/ct2/show/re
                    cord/NCT00385827

          70.       None of these drugs were reported to improve upon mitoxantrone therapy.

   Neither overall or progression-free survival was improved by the addition of rilotumumab to



   4
    Clinicaltrials.gov is a National Institutes of Health National Library of Medicine website
   containing clinical study information.
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   mitoxantrone and prednisone. Ryan, Targeted MET Inhibition in Castration-Resistant Prostate

   Cancer: a Randomized Phase II Study and Biomarker Analysis with Rilotumumab Plus

   Mitoxantrone and Prednisone, 19(1) Clin. Cancer Res. 215-24 (2012) at 215, 217-218. There

   was also no improvement in PSA or objective response rate. Id. at 218. Similarly, the time to

   progression and overall survival were not improved by the addition of cetuximab to

   mitoxantrone. Fleming, Associate of Rash with Outcomes in a Randomized Phase II Trial

   Evaluating Cetuximab in Combination with Mitoxantrone Plus Prednisone After Docetaxel for

   Metastatic Castration-Resistant Prostate Cancer, 10(1) Clinical Genitourinary Cancer 6-14

   (2012) at 6. Objective response rates (2 v. 4%), PSA response rates (7.7 v. 17.6%), and PFS (4.2

   v. 5.5 months) all favored the mitoxantrone control arm suggesting that outcomes with

   cetuximab were worse. Id. at 8. The siltuximab study was prematurely stopped by the data

   monitoring committee for an imbalance in patient characteristics favoring the mitoxantrone

   control arm that made it “very unlikely” that the study could achieve its primary endpoint of

   improving PFS. Fizazi, Randomised Phase II Study of Siltuximab (CNT 328), an Anti-IL-6

   Monoclonal Antibody, in Combination with Mitoxantrone/Prednisone Versus

   Mitoxantrone/Prednisone Alone in Metastatic Castration-Resistant Prostate Cancer, 48 Eur. J.

   Cancer 85-93 (2012) at 87. The median PFS was 228 days for the mitoxantrone plus prednisone

   control arm and only 97 days for the siltuximab plus mitoxantrone and prednisone arm, and the

   time to clinical deterioration and overall survival were numerically greater for the control arm.

   Id. The PSA response rate was also higher in the control arm (26.1 v. 15.6%). Id. The PFS

   definition did not consider rising PSA as evidence of progression, but when the more

   conventional definition of PFS incorporating rising PSA was applied, there was still no

   improvement for the siltuximab combination. Id. at 87, 90-91. While the authors considered the
                                                       21
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   intermittent chemotherapy where treatment was suspended until the PSA level rose by 50% and

   was ≥ 2 ng/mL or there was other evidence of progression, at which time treatment resumed.

   Beer 2008 at 327-28. This protocol therefore allowed for an early suspension of docetaxel in

   patients with a substantial response before patients developed resistance. Out of 250 patients

   randomized to the original study comparing weekly docetaxel plus DN-101 to weekly docetaxel

   alone, 45 patients (18%) received this intermittent chemotherapy, and 38 completed the first

   treatment holiday. Beer 2008 at 328. 45.5% of patients evaluable for a PSA response to

   treatment resumption had a subsequent PSA response, and 45.5% had stable PSA for at least 12

   weeks. Beer 2008 at 329. The authors state that their strategy is a “practical method . . . in a

   subset of [CRPC] patients whose disease is very sensitive to docetaxel.” Beer 2008 at 330. Beer

   2008 acknowledges that that the role of intermittent chemotherapy “remains to be fully defined,”

   and that the impact on “duration of survival and quality of life remains to be fully defined.” Beer

   2008 at 330.

          75.     However, the studies supporting docetaxel retreatment in certain patients who

   respond well initially to docetaxel do not establish it as a standard of care for unselected patients

   who progressed during or after docetaxel treatment. Docetaxel retreatment was in particular not

   accepted as an appropriate therapeutic option for patients who had progressed during or shortly

   after their initial course of docetaxel, which indicates development of resistance to docetaxel, or

   patients with poor tolerability to the drug. None of the docetaxel retreatment publications cited

   by Dr. Ratain supports the use of docetaxel as a comparator in a clinical study evaluating a new

   second line treatment in patients whose cancer had progressed during or after treatment with

   docetaxel. In view of the limited options for these patients, the need for a life-prolonging option



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   for mCRPC patients that had progressed despite receiving docetaxel was “urgent.” Beardsley at

   161.


            B.     The Asserted Patents Are Directed to Increasing Survival as Compared to
                   Mitoxantrone for Men with mCRPC That Had Progressed During or After
                   Treatment with Docetaxel

            76.    The asserted patents are directed to an “unmet medical need” for patients with

   mCRPC, “especially for patients who are not catered for by a taxane-based treatment.” ’777

   patent at col. 1, ll. 22-28, col. 2, ll. 24-30; ’110 patent at col. 1, ll. 21-28, col. 2, ll. 22-28. The

   specification of the asserted patents 5 describes “patients who are not catered for by a taxane-

   based treatment” as “patients who have been previously treated with a docetaxel-based regimen.”

   ’777 patent at col. 3, ll. 1-5; ’110 patent at col. 2, l. 65-col. 3, l. 2. The specification further

   specifies that the patients can have prostate cancer that progressed during or after treatment with

   docetaxel. ’777 patent at col. 6, ll. 4-5; ’110 patent at col. 6, ll. 1-2. The specification also

   explains that the cancer may become resistant to taxanes and describes taxane resistance

   mechanisms proposed in the literature. ’777 patent at col. 2, ll. 16-23; ’110 patent at col. 2, ll.

   15-21.

            77.    Dr. Ratain states that the asserted claims “do not require that the patient be known

   to be resistant or refractory to docetaxel,” but does not define either of those terms. Ratain

   Report at ¶ 17. While the claims are not limited to patients that have cancer progression during

   docetaxel treatment or who never responded to docetaxel at all, a POSA understands from the

   specification that the claims to increasing survival of a patient with mCRPC that has progressed




   5
    I understand that the specifications of the ’777 and ’110 patents are substantively identical to
   each other. I refer to the “specification” of the asserted patents throughout as singular.
                                                         25
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   during or after treatment with docetaxel are directed to increasing survival of patients for whom

   docetaxel is no longer considered a good option because further benefit is not expected, i.e.,

   “patients who are not catered for by a taxane-based treatment.”

           78.       The specification also notes that the combination of mitoxantrone with

   corticosteroids had been “recognized as the reference treatment” for mCRPC, and that docetaxel

   clinical trials “made it possible to treat” such mCRPC patients after it had been shown to

   improve “survival” (referring to increased overall survival, since mitoxantrone had already been

   shown to improve PFS). ’777 patent at col. 1, l. 61-col. 2, l. 5; ’110 patent at col. 1, l. 63-col. 2,

   l. 4. As noted above, a POSA would know those docetaxel studies used mitoxantrone plus

   prednisone as the comparator arm.

           79.       The specification includes the design and results of the phase III TROPIC clinical

   study comparing cabazitaxel at a starting dose of 25 mg/m 2 (with dose reductions to 20 mg/m2)

   administered every three weeks in combination with 10 mg/day of prednisone to mitoxantrone

   12 mg/m2 administered every three weeks also in combination with 10 mg/day of prednisone in

   men with mCRPC that had progressive disease during or after receiving at least 225 mg/m 2 of

   prior docetaxel treatment. ’777 patent at col. 10, l. 45-col. 17, l. 49; ’110 patent at col. 10, l. 45-

   col. 16, l. 35.

           80.       Because docetaxel was indicated at a dose of 75 mg/m 2 every three weeks for

   prostate cancer, this means that patients had to have previously received at least three cycles of

   docetaxel. Taxotere® Label Sept. 2007 (CabRef0003460-516) (“Taxotere ® Label”) at 4. The

   requirement of TROPIC that patients receive at least three cycles of docetaxel suggests that the

   TROPIC study was intended to include patients who received enough docetaxel to develop

   taxane resistance. In fact, the median cumulative dose of docetaxel treatment for the cabazitaxel
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   arm of the study was 576 mg/m2, indicating that, on average, the patients receiving cabazitaxel

   had received more than 7 cycles of docetaxel. ’777 patent at col. 11, ll. 10-12; ’110 patent at col.

   11, ll. 10-12.

           81.      30% of the patients on the cabazitaxel arm had progressed during docetaxel, 42%

   progressed less than three months after the last docetaxel dose, and 27% of patients had

   progressed more than 3 months after the last docetaxel dose. ’777 patent at col. 12, ll. 53-65;

   ’110 patent at col. 12, l. 56-col. 13, l. 15. A POSA would have understood that the three-month

   period may reflect the interval between clinical evaluation and restaging with medical imaging to

   monitor the disease, suggesting that the patients stopped receiving docetaxel, and when they

   went for full re-evaluation again (around three month intervals) there was disease progression.

   See, e.g., Scher, Design and End Points of Clinical Trials for Patients with Progressive Prostate

   Cancer and Castrate Levels of Testosterone: Recommendations of the Prostate Cancer Clinical

   Trials Working Group, 26(7) J. Clin. Oncol. 1148-1159 (2008) (CabRef0013284-312) (“Scher

   2008”) at CabRef0013294, CabRef0013310 (recommending 12-week intervals); Tannock 2004

   at 1504 (patients scanned every six to nine weeks with repetition after four weeks to confirm a

   response); Petrylak 2004 at 1515 (imaging repeated every six cycles, and “if positive,” every

   three cycles; PSA progression required confirmation at least four weeks later). Those patients

   may very well have had disease progression much sooner than three months if they had been

   monitored more frequently. For example, Beer et al. described patients with progression within

   60 days of docetaxel cessation as “refractory.” Beer, Phase II Study of KOS-862 in Patients with

   Metastatic Androgen Independent Prostate Cancer Previously Treated with Docetaxel, 25

   Invest. New Drugs 565-70 (2007) (SA_JEV_3142905-10) (“Beer 2007”) at 566; see also

   Rosenberg at 556-57 (describing patients as “taxane-refractory” when they progressed “during or
                                                       27
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   within 60 days of cessation of taxane chemotherapy”); Berger (describing patients as having

   “failed treatment with docetaxel based regimens” when patients had progression “during or

   within 3 months of prior docetaxel”).

           82.     The patients enrolled in the TROPIC study were not limited to those who

   responded to docetaxel treatment, let alone the very specific type of patient that might be

   considered as a candidate for docetaxel retreatment. Instead, a POSA would have understood

   that it was highly unlikely that candidates for docetaxel retreatment would have been enrolled.

   Patients retreated with docetaxel were typically those who stopped docetaxel not because of

   progression or an unacceptable side effect, but because they were doing so well on docetaxel that

   the patient could take a drug holiday and be administered docetaxel again. Such a patient would

   not have been randomized to receive mitoxantrone, a drug not shown to increase overall survival,

   or cabazitaxel, an experimental drug for which not even a phase II study in prostate cancer had

   been conducted (see below Section VI.C.4). If a patient was a candidate for docetaxel

   retreatment because docetaxel was expected to provide further benefit, it would not have been in

   the patient’s best interest to be enrolled on the TROPIC study.

           83.     In the TROPIC study, cabazitaxel therapy was shown to prolong life (a difference

   in overall survival between the two arms) and to increase PFS as compared to mitoxantrone

   therapy. ’777 patent at col. 11, l. 38-col. 12, l. 34; ’110 patent at col. 11, l. 39- col. 12, l. 34.

           84.     The Court’s claim construction for “increasing survival” includes the comparative

   clinical study endpoints of overall survival and PFS. These endpoints require a comparator —

   i.e., with the intent of increasing overall survival or PFS of a patient receiving cabazitaxel as

   compared to something else. In view of the TROPIC study, the description of mitoxantrone as a

   recognized “reference treatment,” the description of the “technical problem” to be solved as
                                                           28
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   providing a therapeutic option for patients “who are not catered for by a taxane-based treatment,”

   and the fact that no other comparator is identified in the specification, a POSA would understand

   “increasing survival” in the asserted claims to refer to increasing survival as compared to

   mitoxantrone plus prednisone. This is also consistent with the use of mitoxantrone plus

   prednisone as a standard of care after docetaxel failure in patients that had progression during or

   after treatment with docetaxel, like the patients enrolled in the TROPIC study. See, e.g.,

   Rosenberg at 557.

           85.     Docetaxel retreatment is not described in the specification at all. Docetaxel also

   would not have been considered an appropriate comparator for patients enrolled in the TROPIC

   study, at least because the study included patients that progressed during docetaxel. Physicians

   would not have randomized those patients to receive docetaxel again as continued treatment in

   that setting would be futile and not in the best interest of the patient.


           C.      The Prior Art Did Not Disclose Administration of Cabazitaxel with the
                   Intent of Increasing Survival or Provide a Reasonable Expectation of
                   Increasing Survival

           86.     Dr. Ratain identifies various pieces of information in the prior art for cabazitaxel,

   including its preclinical activity in models of taxane resistance, its clinical activity in phase I

   clinical studies, its clinical activity in a phase II clinical study of taxane-resistant metastatic

   breast cancer, and the existence of the phase III TROPIC clinical study. None of this

   information considered either alone or all together in view of the entirety of the prior art taught

   or suggested to a POSA to administer cabazitaxel to an individual mCRPC patient who had

   progressed during or after treatment with docetaxel with the intent of increasing overall or




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   existence of many other taxanes that failed clinically, including taxanes designed to overcome

   taxane resistance.

             89.    Mita describes XRP6258, cabazitaxel, as a member of the taxane class of

   compounds. Mita at 723. The mechanism of action of cabazitaxel, like other taxanes, is the

   stabilization of microtubules that ultimately interferes with cell division (also called mitosis). Id.

   at 723. When the cells cannot divide properly, they will die. The hope for cytotoxic

   chemotherapy is to kill more of the rapidly dividing cancer cells than normal cells.

             90.    Mita reports that cabazitaxel was “more potent than docetaxel” in cancer cell lines

   that were resistant to docetaxel because of p-gp overexpression, but I note that these are not

   prostate cancer cells lines. Id. at 723. P388 and HL60 are leukemia cells, Calc18 are breast

   cancer cells, and KB cells were reported to be human epidermoid carcinoma cells. 6 Mita further

   reports that cabazitaxel retained activity against p-gp expressing B16/TXT melanoma xenograft

   models, but not against Calc18/TXT and P388/VCR models that “express higher levels of

   ABCB1 mRNA,” that is, higher levels of the mRNA that codes for p-gp. Id. at 724. Attard

   notes that cabazitaxel was selected for its “minimal affinity for p-gp” and activity in multidrug

   resistance cells. Attard at 75. Pivot similarly reports that cabazitaxel was selected for its “low

   affinity” to p-gp and activity in cell lines with acquired resistance to drugs (including docetaxel)

   and in vivo antitumor activity in resistant models such as B16/TXT melanoma. Pivot at 1547-

   48. None of these references reports preclinical activity for cabazitaxel in taxane-resistant

   prostate cancer models or suggest it will have activity against drug resistance mechanisms

   unrelated to p-gp.



   6
       KB cells were later reported to be a misidentified subline of HeLa cervical cancer cells.
                                                          31
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          91.     It was well understood by October 2009 that taxane resistance is a “very complex

   phenomenon involving different molecular mechanisms,” including overexpression of efflux

   pumps such as p-gp, alterations in tubulin (the target of taxanes), alterations in various signaling

   pathways, alterations in the cell cycle, and alterations in the control of programmed cell death.

   Galletti, Paclitaxel and Docetaxel Resistance: Molecular Mechanisms and Development of New

   Generation Taxanes, 2 Chem. Med. Chem. 920-42 (2007) (SA_JEV_0182856-78) (“Galletti”) at

   939. While the “contribution of the distinct resistance phenotypes as well as their role in clinical

   oncology have yet to be fully evaluated,” it was known that “resistance can often be mediated by

   more than one mechanism in a single cell at the same time.” Id.; see also Vrignaud, Preclinical

   Antitumor Activity of Cabazitaxel, a Semisynthetic Taxane Active in Taxane-Resistant Tumors,

   19 Clin. Cancer Res. 2973-83 (2013) (SA_JEV_0183308-26) (“Vrignaud”) at 2980

   (“[m]echanisms of resistance to taxanes in patients have not been fully elucidated, and resistance

   appears not to be mediated by a single mechanism.”).

          92.     This is illustrated in Takeda, where two paclitaxel-resistant hormone refractory

   prostate cancer cell lines were reported, and results showed different mechanisms of resistance in

   each, with overexpression of p-gp not playing an important factor in one of the cell lines.

   Takeda, The Establishment of Two Paclitaxel-Resistant Prostate Cancer Cell Lines and the

   Mechanisms of Paclitaxel Resistance with Two Cell Lines, 67 The Prostate 955-67 (2007)

   (SA_JEV_0183262-74) (“Takeda”) at 960. Takeda also reported that gene expression changes

   in paclitaxel-resistant hormone refractory prostate cancer cell lines were different than those that

   were altered in resistant breast cancer cells, “suggesting that different mechanisms are involved

   in becoming paclitaxel-resistance in different cancers.” Id. at 965. Others reported that

   docetaxel resistance in prostate cancer was not dependent on overexpression of p-gp and
                                                        32
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   identified mechanisms of resistance relating to overexpression of genes relating to cell

   proliferation and apoptosis. Patterson, Novel Role of Stat1 in the Development of Docetaxel

   Resistance in Prostate Tumor Cells, 25 Oncogene 6113-22 (2006) at 6113, 6119. Thus, a POSA

   would have understood that there could be multiple mechanisms of resistance to docetaxel or

   paclitaxel within the same cancer cell and certainly multiple mechanisms in different cells within

   the same patient that may not all be addressed by a drug that only addresses p-gp overexpression.

   A POSA also would have understood that resistance mechanisms can differ from one cancer to

   another such that activity in taxane-resistant leukemia or breast cells may not translate to activity

   in taxane-resistant CRPC cells.

          93.     Additionally, taxane resistance mechanisms such as p-gp had largely been studied

   in cell cultures, and its clinical relevance to mCRPC had not been established in patients.

   Galletti at 923, 939; Attard at 73. Cabral et al. performed experiments seeking to develop

   paclitaxel resistance through a process that the authors considered more “clinically relevant” than

   the processes that tended to result in overexpression of p-gp. Cabral, Factors Determining

   Cellular Mechanisms of Resistance to Antimitotic Drugs, 4 Drug Resistance Updates 3-8 (2001)

   (SA_JEV_0182788-93) (“Cabral”) at 3-4. Cabral found that most of the resulting cell lines had

   alterations in microtubules, not overexpression of p-gp. Cabral at 3-4, 6.

          94.     Even if a POSA were focused on the p-gp mechanism of resistance to docetaxel,

   cabazitaxel was a known substrate for this efflux pump even if it had a lower affinity than

   docetaxel. Mita at 723. Cabazitaxel did not retain activity against the docetaxel-resistant models

   Calc18/TXT and P388/VCR that had expressed higher levels of RNA coding for PGP (ABCB1

   mRNA). Id. at 723-24. Thus, even focusing on p-gp, cabazitaxel’s preclinical activity in some



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   models of resistance did not indicate that cabazitaxel would overcome p-gp mediated docetaxel

   resistance in human prostate cancer patients.

          95.     Furthermore, while there were two FDA-approved taxanes in 2009 (docetaxel and

   paclitaxel)7 it was known that many companies had unsuccessfully attempted to develop other

   taxanes, including for taxane-resistant cancers, which had activity in preclinical models of

   resistance. Vrignaud at 2974; Kingston, Tubulin-Interactive Natural Products as Anticancer

   Agents, 72 J. Nat. Prod. 507-15 (2009) (SA_JEV_0182900-08) at 507, 511 (reporting that Bristol

   Myers Squibb, Bayer, Wyeth, and Daiichi Sankyo were working with new taxane compounds,

   yet none of these other new taxanes were clinically successful). For example, Galletti identifies

   nine taxanes as having entered clinical development (while discussing more than 60 molecules),

   but only cabazitaxel was ultimately successful. Galletti at 930, Table 1. Thus, a POSA would

   have been informed by the number of failed taxane compounds and understood that clinical

   success of a specific taxane in any particular cancer type could not be expected based on the drug

   being a member of the taxane drug class, let alone in a cancer type that had already failed

   another taxane.

          96.     For example, it took Sanofi years of research and development effort, having

   synthesized and screened around 450 compounds, to select larotaxel and cabazitaxel for clinical

   development. Vrignaud at 2974. Larotaxel had similar preclinical activity as cabazitaxel. Both

   compounds had activity in resistant cell lines and xenograft (in vivo) models. Attard at 75;

   Sessa, Phase I and Pharmacokinetic Studies of the Taxoid Derivative RPR 109881A




   7
     Docetaxel is sold under the brand name Taxotere®, and paclitaxel is available in two different
   formulations, Taxol® and Abraxane®.
                                                     34
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   Administered as a 1-Hour or 3-Hour Infusion in Patients with Advanced Solid Tumors, 13

   Annals of Oncol. 1140-50 (2002) (SA_JEV_0183217-27) (“Sessa”) at 1140; Diéras, Phase II

   Multicenter Study of Larotaxel (XRP9881), a Novel Taxoid, in Patients with Metastatic Breast

   Cancer Who Previously Received Taxane-Based Therapy, 19 Annals of Oncol. 1255-60 (2008)

   (CabRef0002522-27) (“Diéras”) at 1255; Pivot at 1547-48.

          97.     Larotaxel was the subject of more extensive clinical testing than cabazitaxel.

   Uncontrolled phase I trials of larotaxel had reported that “[o]bjective responses were observed in

   several tumor types.” Zatloukal, Randomized Multicenter Phase II Study of Larotaxel

   (XRP9881) in Combination with Cisplatin or Gemcitabine as First-Line Chemotherapy in

   Nonirradiable Stage IIIB or Stage IV Non-Small Cell Lung Cancer, 3(8) J. Thorac. Oncol. 894-

   901 (2008) (SA_JEV_0183409-16) (“Zatloukal”) at 895.

          98.     In a phase II trial evaluating 50 mg/m 2 of larotaxel in combination with cisplatin

   (Arm A) and larotaxel with gemcitabine (Arm B) as a first-line therapy in non-small cell lung

   cancer, response rates were higher for patients receiving the combination with cisplatin, 26.7%

   versus the combination with gemcitabine, 18.2%. Zatloukal at 894-95, 897. There was no

   control arm without larotaxel. The authors reported that both combinations of larotaxel “were

   effective and manageable.” Id. at 894, 900.

          99.     In another uncontrolled phase II study of larotaxel at 90 mg/m 2, patients with

   metastatic breast cancer previously treated with a taxane were divided by their response to prior

   taxane therapy. Diéras at 1256. Patients were considered “nonresistant” if they had only one

   taxane previously and had a complete or partial response without progression during that

   treatment. Id. The overall response rate, the primary endpoint, was 42% in the nonresistant

   group and 19% in the resistant group. Id. at 1257. The median time to progression in the treated
                                                       35
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   population was 5.4 months for the nonresistant patients and 1.6 months in the resistant patients.

   Id. at 1258. Three patients died within 30 days of receiving larotaxel. Id. One such patient

   experienced neutropenic infection after a history of chemotherapy-induced neutropenia. Id.

          100.    Also published in 2008 was the interim analysis of an uncontrolled phase II study

   of larotaxel in combination with trastuzumab in patients with HER2 positive metastatic breast

   cancer. Diéras, Larotaxel (L) in Combination with Trastuzumab in Patients with HER2+

   Metastatic Breast Cancer (MBC): Interim Analysis of an Open Phase II Label Study, 26(15S) J.

   Clin. Oncol. (Meeting Abstracts) Suppl. 1070 (May 2008) (SA_JEV_0004471). Eleven of 26

   evaluable patients had a confirmed partial response, and thirteen of those 26 patients had

   previously received a taxane. Id.

          101.    Larotaxel went on to three large randomized, controlled clinical studies, all of

   which failed to show an increase in overall or progression-free survival.

              x   Larotaxel vs. capecitabine in patients with metastatic breast cancer progressing
                  after taxanes and anthracycline therapy
                  (https://clinicaltrials.gov/ct2/show/NCT00081796?term=larotaxel&rank=7)
                  (SA_JEV_3142911-15)

              x   Larotaxel vs. 5-FU in patients with pancreatic cancer previously treated with
                  gemcitabine
                  (https://clinicaltrials.gov/ct2/show/NCT00417209?term=larotaxel&rank=2)
                  (SA_JEV_3142794-801)

              x   Larotaxel plus cisplatin vs. gemcitabine plus cisplatin in first line treatment of
                  patients with locally advanced/metastatic bladder cancer
                  (https://clinicaltrials.gov/ct2/show/NCT00625664?term=larotaxel&rank=4)
                  (SA_JEV_3142779-784).

          102.    In the study of larotaxel compared to capecitabine in patients with metastatic

   breast cancer progressing after taxanes and anthracycline therapy, larotaxel “did not reach

   superiority versus capecitabine,” which resulted in early termination. Sanofi-Aventis SEC Form

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   20-F (Dec. 31, 2006) at 39, available at

   http://www.sec.gov/Archives/edgar/data/1121404/000119312507072848/d20f.htm.

   (CabRef0002999-3001); A Randomized, Open-Label, Phase 3 Study of Larotaxel IV Every 3

   Weeks Versus Capecitabine (Xeloda®) Tablets Twice Daily for 2 Weeks in 3-Week Cycles in

   Patients with Metastatic Breast Cancer (MBC) Progressing After Taxanes and Anthracycline

   Therapy (EFC6089), available at https://www.sanofi.com/en/science-and-innovation/clinical-

   trials-and-results/our-disclosure-commitments/pharma/-/media/Project/One-Sanofi-

   Web/Websites/Global/Sanofi-COM/Home/common/docs/clinical-study-

   results/EFC6089_summary.pdf (SA_JEV_3142874-78) (“Larotaxel Phase III Breast Results”).

   The capecitabine control group had longer PFS than larotaxel, the primary endpoint. Larotaxel

   Phase III Breast Results at 3. Furthermore, due to adverse events, there were more permanent

   withdrawals as patients treated with larotaxel experienced a higher incidence of neutropenia and

   diarrhea. Larotaxel Phase III Breast Results at 4.

          103.    The study comparing larotaxel with 5-FU (fluorouracil) in patients with advanced

   pancreatic cancer once again showed that larotaxel did not increase overall survival or PFS. Van

   Cutsem, A Phase III Study Comparing Larotaxel to 5-FU (Continuous Intravenous 5-FU or

   Capecitabine) in Patients with Advanced Pancreatic Cancer (APC) Previously Treated with a

   Gemcitabine Containing Regimen, 21(6S) Annals of Oncol. Oral Presentations vi12-vi13 Abstr.

   O-0007 (July 2010) (SA_JEV_0183297-98). During the study the dose of larotaxel had to be

   lowered from 90 mg/m2 to 75 mg/m2 because of toxicities, and there were higher levels of

   toxicities reported for larotaxel than 5-FU, including neutropenia, complicated neutropenia,

   myalgia, sensory neuropathy, and diarrhea. Id.



                                                        37
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          104.    The last study comparing larotaxel administered with cisplatin versus gemcitabine

   with cisplatin in patients with locally advanced/metastatic bladder cancer was also prematurely

   discontinued. Sternberg, Larotaxel with Cisplatin in the First-Line Treatment of Locally

   Advanced/Metastatic Urothelial Tract or Bladder Cancer: A Randomized, Active-Controlled,

   Phase III Trial (CILAB), 85 Oncology 208-15 (2013) (SA_JEV_0183251-58) at 208. The

   recommended dose of larotaxel and cisplatin was reduced by the data monitoring committee due

   to noted toxicity, predominantly infections. Id. at 210-11. Due to the reduction in dose that was

   necessary and the lack of efficacy of larotaxel when compared with comparators in the

   pancreatic and breast cancer phase III trials, “it was deemed unlikely that the [bladder cancer]

   trial would meet is primary efficacy endpoint.” Id. The data collected in the study indicated

   worse progression free survival with larotaxel than compared with the comparator, and with no

   difference in overall survival. Id. at 213. Sanofi stopped clinical development of larotaxel based

   on this evidence. Id. at 210-11.8

          105.    Perhaps foreshadowing larotaxel’s ultimate failure, Attard was not impressed by

   the available data for larotaxel by 2006, stating that with respect to both larotaxel and

   cabazitaxel, “the fundamental mechanism of the anticancer activity of these new taxanes remains

   unchanged and they are unlikely to make a dramatic impact on patient outcome.” Attard at 76.




   8
    While the larotaxel studies were not versus mitoxantrone, mitoxantrone as a single agent was
   compared to a combination of 5-fluorouracil, epirubicin, and cyclophosphamide in metastatic
   breast cancer and found to have no significant differences in terms of response, time to
   progression, or survival. Heidemann, Is First-Line Single-Agent Mitoxantrone in the Treatment
   of High-Risk Metastatic Breast Cancer Patients as Effective as Combination Chemotherapy? No
   Difference in Survival, but Higher Quality of Life Were Found in a Multicenter Randomized
   Trial, 13 Annals of Oncol. 1717-29 (2002) (“Heidemann”) at 17.
                                                       38
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   Attard also cautioned that larotaxel (and cabazitaxel) was “limited by myelosuppression 9 and this

   may restrict the extent of tumour cell kill that can be achieved.” Id. at 75.

          106.    Milataxel is another taxane that was reported to overcome p-gp based resistance

   to paclitaxel and docetaxel in a variety of preclinical models. Ramanthan, A Phase II Study of

   Milataxel: A Novel Taxane Analogue in Previously Treated Patients with Advanced Colorectal

   Cancer, 51 Cancer Chemother. Pharmacol. 453-58 (2008) (SA_JEV_0183144-49) at 454. In

   phase I studies there had been two responses in breast cancer patients, and in a phase II study in

   non-small cell lung cancer the response rate was 13%. Id. at 457. Milataxel was evaluated in a

   phase II study of chemotherapy treated metastatic colorectal cancer where it was revealed to

   have life threatening side effects (neutropenic sepsis developed in six patients, resulting in two

   deaths), and produced no objective responses in any patient. Id. at 453-54, 457. The authors

   stated that the specific mechanism causing taxane resistance remained elusive and suggested that

   xenograft and preclinical models “are poor predictors of clinical activity in colon cancer.” Id. at

   457. Milataxel was never approved for any indication.

          107.    These examples illustrate that taxanes can show activity in models of resistance

   and even anecdotal responses in individual patients yet fail clinically in controlled (or

   uncontrolled) studies because they lack sufficient activity and/or are too toxic. As noted by

   Attard, “[o]ne may question the value of developing novel tubulin-binding drugs since major

   improvements on currently approved drugs are unlikely.” Attard at 81.




   9
    Myelosuppression is a reduction in bone marrow activity leading to lower levels of red blood
   cells, white blood cells, and platelets. Low levels of white blood cells called neutrophils that
   help fight infection is referred to as neutropenia.
                                                        39
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          108.       Thus, a POSA would not have reasonably expected cabazitaxel to increase overall

   or progression-free survival as compared to mitoxantrone in men with mCRPC that had

   progressed during or after docetaxel in view of the available preclinical data or cabazitaxel’s

   status as an “active taxane.” Furthermore, if all “active taxanes” were expected to act similarly,

   then cabazitaxel would not have been reasonably expected to increase survival in patients

   resistant to docetaxel.


                     2.      The Phase I Clinical Data for Cabazitaxel Would Not Have Provided
                             a Reasonable Expectation of Increasing Survival

          109.       Dr. Ratain focuses much of his obviousness argument on the Mita study. I

   disagree with Dr. Ratain that Mita discloses that cabazitaxel “results in increased survival” or

   would have motivated a POSA to administer cabazitaxel to an individual mCRPC patient that

   had progressed during or after docetaxel with a reasonable expectation that the patient would

   have an increase in survival. Ratain Report at ¶¶ 160, 184-85. As explained below, the

   uncontrolled phase I data provided in Mita and discussed in other references such as Attard

   would not have provided a reasonable expectation that cabazitaxel therapy would increase

   survival as compared to mitoxantrone therapy in an individual patient with mCRPC that had

   progressed during or after treatment with docetaxel when considered in the context of the prior

   art as a whole.

          110.       Mita reports the results of one of three phase I studies of cabazitaxel from which

   data had been published by October 2009. The two other phase I studies provide further context

   to cabazitaxel’s activity and safety profile. A POSA understood that phase I studies in oncology,

   like those for cabazitaxel, are designed to investigate the side effects of the drug,

   pharmacokinetics, the doses (if any) that can be administered relatively safely to humans, and to

                                                         40
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   determine doses for further phase II efficacy studies should the drug not prove overly toxic.

   Mokbel, Concise Notes in Oncology for MRCP and MRCS (3d ed. 2005) (CabRef0002906-09)

   (“Mokbel”) at 7. While preliminary indications of antitumor activity will be reported, phase I

   studies enroll a variety of highly pretreated cancer patients, and the goal of phase I studies is not

   to evaluate efficacy, nor are they powered to do so.

          111.    Fumoleau was a phase I and pharmacokinetic study evaluating increasing doses of

   cabazitaxel on days 1, 8, 15, and 22 every five weeks in twenty-five patients with a variety of

   advanced solid tumors. Fumoleau, Phase I and Pharmacokinetics (PK) Study of RPR116258A

   Given as a Weekly 1-Hour Infusion at Day 1, Day 8, Day 15, Day 22 Every 5 Weeks in Patients

   (pts) with Advanced Solid Tumors, 7(11) Clin. Cancer Res. 3710s (abstr. 282) (2001)

   (SA_JEV_3142871-73) (“Fumoleau”). Fifteen of the patients had breast cancer, and six of the

   patients were men. Id. The maximum tolerated dose was 12 mg/m 2, at which two out of six

   patients had dose limiting grade 3 diarrhea. Id. Neutropenia was the main hematologic toxicity

   and reached grade 3 at 8.4 mg/m2. Id. There were “[t]wo confirmed partial responses in breast

   cancer patients after taxoid failure.” Id. Fumoleau does not indicate whether patients with

   prostate cancer were included; if they were there, such patients did not respond.

          112.    Lortholary was a phase I and pharmacokinetic study evaluating increasing doses

   of cabazitaxel administered every three weeks in sixteen patients with a variety of advanced solid

   tumors. Lortholary, Phase I and Pharmacokinetics (PK) Study of RPR 116258A Given as a 1-

   Hour Infusion in Patients (Pts) with Advanced Solid Tumors, 6 (Suppl) Clin. Cancer Res. 4579s-

   80s (abstr. 569) (Nov. 2000) (CabRef0002519-21) (“Lortholary”). Ten of the patients were men.

   Id. The doses administered ranged from 10 mg/m 2 to 30 mg/m2, and 30 mg/m2 was determined

   to be the maximum tolerated dose because three patients receiving that dose experienced dose
                                                          41
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   limiting toxicities, all neutropenia. Id. One patient died from septic shock with neutropenia

   despite prophylactic G-CSF10 after receiving 30 mg/m2. Id. There were no confirmed partial

   responses, only a “minor response” (that is, not meeting criteria for a partial response) in a

   patient with non-small cell lung cancer. Id. Lortholary does not indicate whether patients with

   prostate cancer were included; if they were, no such patient responded.

          113.    Goetz is an abstract reporting initial results of the phase I study that is reported in

   Mita. Goetz, Phase I and Pharmacokinetic Study of RPR116258A, a Novel Taxane Derivative,

   Administered Intravenously over 1 Hour Every 3 Weeks, 20 Clin. Pharmacol. Proceedings of

   ASCO Abstr. 419 (2001) (CabRef0002849-50). Goetz is a phase I and pharmacokinetic study

   evaluating increasing doses of cabazitaxel administered every three weeks. Id. At publication

   only fourteen patients (of Mita’s 25) had been enrolled, nine of which were male. Id. Grade 4

   neutropenia occurred in a patient who received 25 mg/m 2 and grade 3 diarrhea in patients at 15

   mg/m2 and 25 mg/m2. Id. There was one unconfirmed partial response in a patient with bladder

   cancer and “minor responses” in one patient with prostate cancer and one with osteosarcoma. Id.

   No confirmed partial responses are reported.

          114.    Mita reports the results of a phase I and pharmacokinetic study of increasing

   doses of cabazitaxel administered every three weeks to 25 patients with a variety of advanced

   solid tumors. Mita at 724. Eight of the patients were female, and eight patients had previously

   received taxane-based therapy. Id. at 725. Eight of the patients had prostate cancer (details on

   prior treatment not provided), eight had colon or rectal cancer, two patients had an unknown




   10
    G-CSF is granulocyte colony stimulating factor, which is used to promote the production of
   white blood cells.
                                                    42
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   primary tumor, one patient had head and neck cancer, one had melanoma, one had non-small cell

   lung cancer, one had osteosarcoma, one had pancreatic cancer, one had renal cancer, and one had

   urothelial cancer. Id. The doses administered ranged from 10 to 25 mg/m 2, with the rate of

   toxicity exceeding the predefined limits of tolerability at 25 mg/m 2. Id. at 725-26. Specifically,

   one patient experienced febrile neutropenia (indicating infection), and two patients experienced

   protracted grade 4 neutropenia lasting for more than 5 days. Id. at 726.

          115.    Mita states that “[e]vidence of anticancer activity due to XRP6258 was noted in

   two patients.” Id. at 727. Both of these patients had mCRPC, but only one of them had

   previously received docetaxel. Id. Mita states that one patient with bladder cancer had an

   unconfirmed partial response, and that one patient with osteosarcoma and one with prostate

   cancer had “minor responses,” but does not state whether any of these patients had previously

   received a taxane. Id. A POSA would not have given much, if any weight to these unconfirmed

   and minor responses as they do not constitute evidence of anticancer activity. For example, the

   therapeutic antibody pertuzumab was reported in a phase I study to have an unconfirmed partial

   response in a man with CRPC, but in a phase II study of 68 men with CRPC, no PSA declines of

   more than 50% were observed. De Bono, Open-Label Phase II Study Evaluating the Efficacy

   and Safety of Two Doses of Pertuzumab in Castrate Chemotherapy-Naïve Patients with

   Hormone-Refractory Prostate Cancer, 25 J. Clin. Oncol. 257-62 (SA_JEV_2177960-66) at 257-

   58.

          116.    One patient with a partial response in Mita was an 80-year old man with

   measurable disease that experienced a reduction in his target lesion, a reduction in PSA from 62

   to 21 ng/mL, and decreased bone-pain after four courses of 15 mg/m 2 of cabazitaxel. Mita at

   727. He had not previously received docetaxel and therefore falls outside the asserted claims.
                                                       43
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   is a review published before Mita.12 A POSA interested in cabazitaxel would have gone to the

   primary publications of Mita, Lortholary, and Fumoleau to learn more about cabazitaxel’s

   activity and tolerability in humans. Attard notes the two CRPC patients in Mita with objective

   responses, including the one docetaxel-refractory patient. Attard at 75. Attard notes that

   antitumor activity was “reported in tumours classically resistant to taxanes, such as

   osteosarcoma, and in tumours with acquired resistance following prior treatment with taxanes,”

   and states that cabazitaxel “may overcome some forms of paclitaxel tumour resistance.” Id.

   However, as with larotaxel, Attard also notes that the maximum tolerated dose of cabazitaxel is

   limited by myelosuppression, meaning there may not be a dose that has sufficient anticancer

   activity that does not dangerously lower blood cell counts. Id. Attard further states that because

   “the fundamental mechanism of the anticancer activity” of new taxanes like cabazitaxel remains

   unchanged, “they are unlikely to make a dramatic impact on patient outcome.” Id. at 75-76.

   Contrary to Dr. Ratain’s assertions, Attard does not suggest that cabazitaxel therapy will be

   useful to treat men with mCRPC. Ratain Report at ¶ 134.

          120.    It would have been nearly impossible to predict how other mCRPC patients who

   had progressed during or after treatment with docetaxel would respond to cabazitaxel based on

   the one anecdotal partial response in Mita because mCRPC was known to be a heterogeneous

   condition. Mackinnon, Molecular Biology Underlying the Clinical Heterogeneity of Prostate

   Cancer, An Update, 133 Arch. Pathol. Lab. Med. 1033-40 (2009) (SA_JEV_0182925-32)

   (“Mackinnon”) at 1033-35. It was understood that there were a variety of different types of




   12
     It appears that the authors of Attard reviewed information from the Mita study before it was
   published. Attard at 82 (citing reference 23).
                                                       46
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                  3.      A POSA Would Not Have Extrapolated from Pivot’s Breast Cancer
                          Data to mCRPC That Had Progressed During or After Treatment
                          with Docetaxel

          143.     Pivot was a single arm, uncontrolled study in 71 patients with taxane-resistant

   metastatic breast cancer, wherein the patients had a 14% objective response rate to cabazitaxel

   treatment.16 Pivot at 1547. The authors do not make any conclusions or predictions about

   whether the breast cancer patients on the study experienced prolonged times until progression or

   death.17 The authors state that the results justify further clinical testing, but do not mention

   prostate cancer or any other tumor types. Pivot at 1551.

          144.    To the extent that a POSA would have viewed the results of Pivot as “positive” or

   “effective,” by whatever measure Dr. Ratain is using (e.g., in ¶ 176 of his report), a POSA would

   not have extrapolated such results to patients having mCRPC that had progressed during or after

   treatment with docetaxel.

          145.    It is a well understood principle of clinical medicine that a phase II study

   evaluates efficacy of a therapy for a particular indication. Mokbel at 7; EMA, ICH Topic E8

   General Considerations for Clinical Trials (1998) (SA_JEV_3143035-48) at 9. While drugs may

   ultimately prove effective in multiple indications, activity cannot be generalized because “each

   independently arising tumor is a unique biological entity with its own pattern of




   16
      Tumor response rates in single arm phase II studies “ha[ve] repeatedly been shown to be a
   poor surrogate” for time-to-event endpoints like overall survival or PFS. Ratain & Sargent,
   Optimising the Design of Phase II Oncology Trials: the Importance of Randomization, 45 Eur. J.
   Cancer 275-80 (2009) at 275, 278.
   17
      Mitoxantrone had also been shown to induce partial responses in metastatic breast cancer
   patients. Heidemann at 1717, 1719, 1723 (mitoxantrone induced complete and partial remissions
   in 30 women (25%) with measurable metastatic breast cancer who had not previously received
   chemotherapy for their metastatic disease).
                                                       61
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   chemosensitivity.” Bissery, Experimental Antitumor Activity of Taxotere (RP 56976, NSC

   628503), a Taxol Analogue, 51 Cancer Res. 4845-4852 (1991) (CabRef0000159-67) at 4851. A

   clinical study in a particular tumor type is needed to determine whether a drug is effective for

   that tumor. A POSA would therefore not have generalized from Pivot’s reports in metastatic

   breast cancer patients to men with mCRPC.

           146.   Breast and prostate cancer were known to differ significantly. The National

   Comprehensive Cancer Network (“NCCN”) practice guidelines in oncology for each cancer are

   instructive on the different breakdown of breast and prostate cancer patients and their respective

   treatment.

           147.   Breast cancer stratification was well ahead of prostate cancer, with patients

   broken down into subtypes including ductal, lobular, mixed, metaplastic, tubular, or colloid.

   NCCN Guidelines Breast Cancer V.1.2009 (SA_JEV_0182951-3072) (“NCCN Breast”) at

   SA_JEV_0182963. Breast cancer patients were further distinguished based on molecular

   signature⸺specifically estrogen or progesterone receptor and HER2 status. Id. This

   classification system for breast cancer has allowed for more specific matching of treatments to

   patients.

           148.   There were no such “robust subtypes of prostate cancer with different prognoses,”

   like there were for breast cancer. Taylor, Integrative Genomic Profiling of Human Prostate

   Cancer, 18(1) Cancer Cell 11-22 (2010) (SA_JEV_0183277-88) at 11-12. Unfortunately,

   despite the heterogeneous mCRPC population, there were no accepted subtypes by October 2009

   that permitted physicians to make more tailored treatment decisions.

           149.   The recommended treatments for breast and prostate cancer differed significantly.

   Systemic chemotherapy was only recommended in metastatic, castration-resistant prostate
                                                       62
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   cancer. NCCN Guidelines Prostate Cancer V.2.2009 (CabRef0002910-55) (“NCCN Prostate”)

   at CabRef0002915-20, CabRef0002925, CabRef0002945-46. But in breast cancer, systemic

   chemotherapy was recommended in a variety of settings—even for patients that were not

   metastatic—such as adjuvant prior to surgery, and chemotherapy was offered before endocrine

   therapy in some circumstances. NCCN Breast at SA_JEV_0182964-68, SA_JEV_0182970-73,

   SA_JEV_0182976-78.

          150.    Different chemotherapies were recommended for breast and prostate cancer. The

   recommended chemotherapies for prostate cancer in 2009 included docetaxel in combination

   with prednisone or estramustine; mitoxantrone in combination with prednisone; or cisplatin or

   carboplatin in combination with etoposide. NCCN Prostate at CabRef0002920, CabRef0002927.

   For breast cancer, the NCCN Guidelines recommended a variety of chemotherapy regimens in

   the adjuvant setting and for metastatic disease, including docetaxel alone or in combination with

   doxorubicin and cyclophosphamide, and a number of agents not recommended for prostate

   cancer: doxorubicin, epirubicin, capecitabine, gemcitabine, cyclophosphamide, vinblastine,

   fluorouracil, ixabepilone, vinorelbine, and combinations thereof. NCCN Breast 2009 at

   SA_JEV_0182989-92, SA_JEV_0182996-99.

          151.    There were also a number of therapies approved and used to treat metastatic

   breast cancer that had disappointing CRPC clinical studies, further demonstrating that a POSA

   could not look at anticancer activity in an uncontrolled phase II breast cancer study like Pivot

   and form reasonable expectations about the drug’s activity in mCRPC.

          152.    Ixabepilone is an epothilone which, like cabazitaxel, interferes with cell division

   by binding microtubules. Ixabepilone was approved for metastatic breast cancer under the brand

   name Ixempra®. Ixempra® Label 2007 (SA_JEV_3142837-70) at 2; NCCN Breast at
                                                       63
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   SA_JEV_0182996-99. Beardsley describes the drug as having “significant toxicity and a low

   level of activity” in men with mCRPC. Beardsley at 163. A study comparing ixabepilone to

   mitoxantrone in men with mCRPC and disease progression during or within 60 days of

   completing taxane chemotherapy reported more patients on the mitoxantrone arm with PSA and

   objective responses and overall “similar” activity. Rosenberg at 556-57, 560.

          153.   Trastuzumab was approved in breast cancer, including as a single agent, under the

   brand name Herceptin®. Herceptin® Label Jan. 2008 (SA_JEV_2177022-32) at 2. A phase II

   study in CRPC reported “little efficacy,” where two patients experienced a PSA reduction by less

   than 50%. Ziada, The Use of Trastuzumab in the Treatment of Hormone Refractory Prostate

   Cancer; Phase II Trial, 60 The Prostate 332-37 (2004) (SA_JEV_2176926-31) at 332.

          154.   Capecitabine was also approved as a single agent in metastatic breast cancer

   resistant to both paclitaxel and an anthracycline-containing regimen under the brand name

   Xeloda®. Xeloda® Label Feb. 2003 (SA_JEV_2177055-93) at 14. Capecitabine was reported to

   have “limited” activity in a phase II mCRPC study where three patients had a PSA response, but

   there were also three deaths during treatment. Morant, Capecitabine in Hormone Resistant

   Metastatic Prostatic Carcinoma – a Phase II Trial, 90 Brit. J. Cancer 1312- 17 (2004)

   (SA_JEV_2176987-992) at 1312, 1316. Further study of capecitabine as a single agent in

   mCRPC was not recommended. Id. at 1316

          155.   Gemcitabine was approved in combination with paclitaxel for metastatic breast

   cancer after failure of anthracyclines under the brand name Gemzar®. Gemzar® Label April

   2006 (SA_JEV_2177895-917) at 9. A phase II study evaluating gemcitabine in combination

   with docetaxel in mCRPC reported that the combination had similar activity to docetaxel alone

   and added toxicity, and thus did not recommend further study of the regimen. Garcia,
                                                     64
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   Gemcitabine and Docetaxel in Metastatic, Castrate- Resistant Prostate Cancer, 117(4) Cancer

   752-57 (2011) (SA_JEV_2176975-80) at 752, 756-57.

          156.    The inability to extrapolate a chemotherapy’s activity from one cancer to another

   is further demonstrated by examples of drugs that were approved in other cancers but had

   disappointing prostate cancer results.

          157.    Irinotecan was approved for metastatic colorectal cancer both in combination with

   5-fluorouracil and leucovorin and as a single agent following fluorouracil therapy under the

   brand name Camptosar®. Camptosar® Label July 2006 (SA_JEV_2176937-74) at 16. A phase II

   mCRPC study of irinotecan reported no “significant activity” and no PSA or objective responses.

   Reese, A Phase II Trial of Irinotecan in Hormone-Refractory Prostate Cancer, 16 Investig. New

   Drugs 353-59 (1999) (SA_JEV_2177047-54) at 353, 356.

          158.    Pemetrexed was approved as a single agent for locally advanced or metastatic

   nonsquamous non-small cell lung cancer following chemotherapy under the brand name

   Alimta®. Alimta® Label Sept. 2008 (SA_JEV_2177940-59) at 2. A clinical study of pemetrexed

   in mCRPC with progression after one taxane-based chemotherapy regimen reported four patients

   with PSA reductions and two patients with a confirmed partial response, but concluded that

   activity was modest and that it was “unlikely to add significant clinical benefit over that seen

   with traditional second-line chemotherapy agents such as mitoxantrone.” Hahn at 1791, 1793.

   Another phase II study in mCRPC with progression after first-line treatment with docetaxel

   reported the activity as “discouraging,” with poor tolerability and two out of 19 patients having a

   PSA response. Caffo, Pemetrexed as Second-Line Chemotherapy For Castration-Resistant

   Prostate Cancer After Docetaxel Failure: Results from a Phase II Study, 31 Urol. Oncol. 180-86



                                                       65
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   (2013) (SA_JEV_2176915-21) at 180, 182-84. These results led to the conclusion that “no

   further studies of this drug should be performed in CRPC patients.” Id. at 180.

          159.    Gefitinib was approved for treating non-small cell lung cancer after failure of

   platinum based and docetaxel chemotherapy under the brand name Iressa ®. Iressa® Label April

   2004 at 7. Two phase II studies reported that the drug was not active in CRPC. Canil,

   Randomized Phase II Study of Two Doses of Gefitnib in Hormone-Refractory Prostate Cancer: A

   Trial of the National Cancer Institute of Canada–Clinical Trials Group, 23(3) J. Clin. Oncol.

   455-60 (2005) at 455, 459 (no PSA or objective responses); Small, A Phase II Trial of Gefitinib

   in Patients with Non-Metastatic Hormone-Refractory Prostate Cancer, 100 BJU Int’l 765-69

   (2007) at 765 (no PSA responses).

          160.    Topotecan was approved for metastatic ovarian cancer after failure of initial

   chemotherapy, non-small cell lung cancer after failure of firs- line chemotherapy, and in

   combination with cisplatin for certain types of cervical cancer under the brand name Hycamtin ®.

   Hycamtin® Label June 2006 (SA_JEV_2177967-89) at 8. A phase II study in mCRPC reported

   the drug to be “ineffective,” because there were no confirmed tumor responses. Klein., SWOG-

   9510: Evaluation of Topotecan in Hormone Refractory Prostate Cancer: A Southwest Oncology

   Group Study, 52(4) The Prostate 264-68 (2002) (SA_JEV_2177924-28) at 264, 267.

          161.    The fact that the breast cancer patients in Pivot were taxane-resistant does not

   lead to a reasonable expectation that cabazitaxel would be active in taxane-resistant mCRPC

   patients. As discussed above, taxane resistance in mCRPC was heterogenous and complex, with

   multiple potential mechanisms occurring within a cell, and within a single patient. Supra Section

   VI.C.1. Takeda also reported that resistant breast and prostate cancer cell lines had different

   gene expression patterns, indicating that the mechanisms for taxane resistance were not
                                                       66
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   consistent between breast and prostate cancer patients. Takeda at 965. Furthermore, a breast

   cancer patient and a prostate cancer patient who have each experienced disease progression after

   receiving docetaxel will likely have received different medications in the course of their

   treatments. The breast cancer patient may or may not have received a hormone-based treatment

   prior to docetaxel and also may have received an anthracycline or capecitabine. A patient’s

   tolerance and response to subsequent treatments can be affected by those they have taken

   previously.

          162.    Dr. Ratain also points to Beardsley as bridging the gap between the Pivot study in

   breast cancer and the TROPIC study. Ratain Report at ¶¶ 135-37. Beardsley is a review article

   by two physicians at the British Columbia Cancer Agency in Vancouver on a variety of different

   approaches under investigation for mCRPC patients that progressed during or after receiving

   first-line docetaxel. Beardsley at 161. Beardsley discusses multiple types of chemotherapy and

   a wide variety of targeted agents, but does not single out cabazitaxel as being more promising

   than any other therapy. See id. at 163. Beardsley does not provide any further data on

   cabazitaxel. Beardsley notes that Sanofi had skipped a phase II study in prostate cancer. Id.

   Beardsley states that “given its activity” in the Pivot study, “this agent is currently being

   investigated” in the TROPIC study, and that the “projected completion date” is in May 2010. Id.

   The Beardsley authors are not affiliated with Sanofi. A POSA would have understood that any

   statement about why Sanofi skipped a phase II study in prostate cancer after Pivot was

   conjecture. Beardsley does not state or suggest that cabazitaxel is expected to increase survival

   in the TROPIC study.




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                  4.      The Existence of the TROPIC Study Would Not Have Provided a
                          Reasonable Expectation of Increasing Survival

          163.    Dr. Ratain relies on various references disclosing the existence of the TROPIC

   study in support of obviousness, including Rodrigues, Open Clinical Uro-oncology Trials in

   Canada, 14(6) Canadian J. Urology 3779-3786 (2007) (CabRef0002991-98) (2007)

   (“Rodrigues”); Winquist, Open Clinical Uro-oncology Trials in Canada, 15(1) Canadian J.

   Urology 3942-3949 (2008) (CabRef0005051-60) (“Winquist”); The Gujarat Cancer & Research

   Institute, Annual Report (2007-2008) (CabRef0002709-2848) (“GCRI Report”);

   National Horizon Scanning Centre, Cabazitaxel (XRP-6258) for Hormone Refractory, Metastatic

   Prostate Cancer – Second Line After Docetaxel, Univ. Birmingham, 1-6 (Apr. 2009)

   (CabRef0002956-60) (“NHSC”); XRP6258 Plus Prednisone Compared to Mitoxantrone Plus

   Prednisone in Hormone Refractory Metastatic Prostate Cancer (TROPIC), available at

   http://clinicaltrials.gov/archive/NCT00417079/2006_12_28 (CabRef0002472-73)

   (“Clinicaltrials.gov 2006”); XRP6258 Plus Prednisone Compared to Mitoxantrone Plus

   Prednisone in Hormone Refractory Metastatic Prostate Cancer, available at

   https://clinicaltrials.gov/archive/NCT00417079/2008_08_31 (CabRef0002474-76)

   (“Clinicaltrials.gov 2008”).18

          164.    These various descriptions of the TROPIC study do not provide any data for

   cabazitaxel and therefore provide no further basis to form a reasonable expectation about the

   ability of cabazitaxel to increase survival compared to mitoxantrone. I therefore disagree that




   18
      The two Clinicaltrials.gov listings contain essentially the same information about the TROPIC
   study. The fact that the TROPIC study was ongoing through 2008 does not indicate that the
   study would have positive results, just that it had not been prematurely terminated for adverse
   effects or futility.
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   these clinical study descriptions “teach a method of treating” patients with mCRPC that had

   progressed during or after treatment with docetaxel, or that the existence of this study would

   have motivated a POSA to administer cabazitaxel to the patients of the asserted claims with the

   intent to increase survival. Ratain Report at ¶¶ 120, 167.

          165.    A POSA would have known that cabazitaxel was being evaluated at a dose of 25

   mg/m2 every three weeks in combination with prednisone as compared to mitoxantrone in

   combination with prednisone in men with mCRPC previously treated with docetaxel and disease

   progression. Clinicaltrials.gov 2008; Winquist at 3948. The primary endpoint of the study was

   known to be overall survival, which means the hypothesis being evaluated in the TROPIC study

   is whether cabazitaxel therapy will turn out to prolong life as compared to mitoxantrone therapy.

   The study was happening because the result was unknown. The existence of the study and its

   primary endpoint does not mean that a positive result is reasonably expected or that patients were

   enrolled with a reasonable expectation of increasing their survival.

          166.    I disagree with Dr. Ratain’s argument that because mitoxantrone had been shown

   to increase at least pain PFS, cabazitaxel must have been at least reasonably expected to increase

   some subset of PFS in some patients. Ratain Report at ¶ 192. That argument is referring to an

   expectation as compared to no treatment, not to mitoxantrone. A POSA would not have

   reasonably expected that cabazitaxel would increase PFS as compared to mitoxantrone therapy.

   The TROPIC study was being conducted because it was unknown whether cabazitaxel would be

   better, worse, or the same as mitoxantrone with respect to any metric. There was an “urgent”

   unmet need for a life-prolonging treatment for mCRPC patients that had already progressed

   despite docetaxel treatment. Beardsley at 161. The mere possibility of benefit from cabazitaxel

   in these terminally ill patients who had few treatment options was sufficient to ethically conduct
                                                       69
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   the study with careful oversight such as an independent data monitoring committee, but it does

   not mean an increase in any aspect of PFS or overall survival was reasonably expected for

   cabazitaxel as compared to mitoxantrone.

          167.    Furthermore, the TROPIC study was unusual in that it was supported by such

   little data. There had only been a single man with mCRPC that had progressed during or after

   treatment with docetaxel with a partial response to cabazitaxel of unknown duration. Sanofi took

   a risk by skipping a phase I or II study limited to men with prostate cancer, let alone the specific

   patient population enrolled in TROPIC. More than 70% of oncology drugs fail in the phase II

   trial stage. Kola & Landis, Can the Pharmaceutical Industry Reduce Attrition Rates?, 3 Nature

   Reviews Drug Discovery 711-15 (2004) (CabRef0002889-93) at 712; see also Booth, From the

   Analyst’s Couch: Oncology’s Trials, 2 Nature Reviews Drug Discovery 609-10 (2003)

   (SA_JEV_0004444-45) (“Booth”) at 610 (reporting that from the top fifteen pharmaceutical

   companies, less than 40% of oncology drugs make it past phase II studies). But even considering

   the Pivot phase II study (or assuming Sanofi had performed a phase II study in prostate cancer), a

   POSA would have known phase II trials in oncology were notoriously not predictive of phase III

   outcomes with survival-based endpoints. Booth at 610; Ratain, Phase II Oncology Trials: Let’s

   Be Positive, 11(16) Clin. Cancer Res. 5661-62 (2005) (CabRef0005135-36) (“Ratain 2005”).

   The unpredictability was known to be particularly high for advanced prostate cancer where drug

   after drug failed to increase overall survival in phase III studies despite showing anticancer

   activity in phase I and/or II studies in populations of men with prostate cancer.

          168.    Thus, while the hope was that the TROPIC study would ultimately be positive, in

   view of the very minimal data available for cabazitaxel and the known failures of other drugs to



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   prolong life and/or increase PFS in men with mCRPC, the expectation at that time was that the

   study would more likely be yet another failure.

          169.    Indeed, Dr. Ratain studied the positive predictive value of phase II oncology

   studies, that is, the likelihood of regulatory approval (usually based on survival outcomes) for a

   disease given a threshold response rate in phase II studies, and found that for a breast cancer

   study with an objective response rate greater than 10% but lower than 20%, like Pivot, the

   positive predictive value for approval in breast cancer was only 25%. 19 Ratain 2005 at 5661-62.

   The chances of success would have been understood to be significantly lower if moving from a

   phase II study in breast cancer with a response rate of 14% to a survival-based outcome in a

   different tumor type, even more so considering the difficult nature of treating mCRPC.

          170.    A review discussing various failed phase III clinical studies in men with mCRPC

   (all combinations with docetaxel) where overall survival was not improved stated that “accurate

   prediction of a positive phase III study is an impossible endeavor.” Antonarakis & Eisenberger,

   Phase III Trials with Docetaxel-Based Combinations for Metastatic Castration-Resistant

   Prostate Cancer: Time to Learn from Past Experiences, 31(14) J. Clin. Oncol. 1709-12 (2013)

   (SA_JEV_0183984-87) at 1711. The authors conclude that phase III trials should not be

   conducted without “at least one phase II study that has met a prespecified rationally selected

   primary end point and its predefined metric for success.” Id.




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      As an example, larotaxel had a higher response rate than Pivot of 19% in taxane-resistant
   patients, but it was known by October 2009 that larotaxel did not prolong overall or progression-
   free survival as compared to capecitabine when it advanced to a controlled study. Supra Section
   VI.C.1.
                                                       71
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          171.    Fortunately for patients with advanced cancers, pharmaceutical companies such as

   Sanofi are willing to invest the considerable amount of money and resources to conduct phase III

   clinical studies despite the high likelihood of failure where, like here, there exists an urgent need

   for new treatment options with the hope of a breakthrough. See, e.g., Matrisian & Berlin, The

   Past, Present, and Future of Pancreatic Cancer Clinical Trials, ASCO Education Book e205-15

   (2016) (discussing the conduct of 39 phase III studies in advanced-stage pancreatic cancer

   despite a “dismal 11%” success rate). I was shocked when I heard of the positive overall

   survival results for cabazitaxel from the TROPIC study. This was a very important clinical result

   with clear implications for patients⸺it was practice-changing. I also recall that my oncology

   and urology colleagues were similarly surprised that cabazitaxel was shown to prolong life in

   men with mCRPC that had progressed during or after treatment with docetaxel, meeting the

   urgent unmet need that had existed since at least the approval of docetaxel in mCRPC in 2004.

   See Malhotra, Cabazitaxel: A Novel Drug for Hormone-Refractory Prostate Cancer, 13(2) Mini

   Rev. Med. Chem. 1-6 (2013) (SA_JEV_0182933-39) at 1 (reporting cabazitaxel to be a “major

   success in second line chemotherapy”).20

          172.    The FDA expedited approval of Jevtana® (cabazitaxel) in just eleven weeks,

   granting a fast-track designation and priority review. June 17, 2010 FDA News Release



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     Others similarly praised Jevtana® for “provid[ing] patients with a better chance of survival
   when dealing with such a difficult illness.” New Hope in Advanced Prostate Cancer: Alberta,
   Saskatchewan and Ontario Fund Coverage for Jevtana® [Cabazitaxel], CNW Press Release
   (Oct. 4, 2012), http://www.newswire.ca/news-releases/new-hope-in-advanced-prostate-
   canceralberta-saskatchewan-and-ontario-fund-coverage-for-jevtana-cabazitaxel-510872201.html
   (SA_JEV_0182923-24) at 1 (quoting Bob Shiell, Executive Director, Prostate Cancer Canada
   Network (PCCN) Calgary).


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   (SA_JEV_0182854-55) at 1; July 19, 2010 Sanofi-aventis Press Release (SA_JEV_0182892-95)

   at 2.

           173.    In view of the minimal data available for cabazitaxel by October 2009, the

   demonstration in TROPIC that cabazitaxel therapy at a starting dose of 25 mg/m 2 with dose

   reductions to 20 mg/m2 in combination with prednisone increased progression-free and overall

   survival as compared to mitoxantrone in combination with prednisone was surprising and

   unexpected, further supporting the nonobviousness of the asserted claims. ’777 patent at Figures

   1-3, col. 11, ll. 38-50, col. 12, ll. 30-35, col. 16, ll. 45-52, col. 17, ll. 1-24, col. 17, ll. 35-49; ’110

   patent at Figures 1-3, col. 11, ll. 40-53, col. 12, ll. 29-34, col. 15, ll. 36-41, col. 15, l. 45-col. 16,

   l. 10, col. 16, ll. 20-34; de Bono, Prednisone Plus Cabazitaxel or Mitoxantrone for Metastatic

   Castration-Resistant Prostate Cancer Progressing After Docetaxel Treatment: A Randomised

   Open-Label Trial, 376 Lancet 1147-54 (2010) (SA_JEV_0279887-94) at 1147-50, 1152.

           174.    In addition, the PROSELICA study results demonstrating non-inferior overall

   survival for patients receiving a starting dose of 20 mg/m 2 of cabazitaxel with dose reductions to

   15 mg/m2 as compared to a starting dose of 25 mg/m2 with reductions to 20 mg/m2 were also

   unexpected by October 2009. Eisenberger, Phase III Study Comparing a Reduced Dose of

   Cabazitaxel (20 mg/m2) and the Currently Approved Dose (25 mg/m 2) in Postdocetaxel Patients

   With Metastatic Castration-Resistant Prostate Cancer—PROSELICA, J. Clin. Oncol. 3198-3206

   (2017) (“Eisenberger”). The PROSELICA results demonstrate that doses of 15-20 mg/m 2 of

   cabazitaxel also increase survival as compared to mitoxantrone, which a POSA could not have

   reasonably expected in view of the prior art in which it was not clear whether any patient had a

   response to 20 mg/m2 of cabazitaxel.



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   FDA-approved docetaxel that the patient had already done well on. Docetaxel retreatment would

   have been in the patient’s best interest.

          187.    Furthermore, a patient expected to respond to docetaxel retreatment would also

   have been expected to respond to mitoxantrone. The minimal prior art data for cabazitaxel in at

   most two men with mCRPC—only one previously treated with docetaxel—would not have

   provided a reasonable expectation that cabazitaxel would increase survival as compared to

   mitoxantrone in such a “sensitive” patient.


          F.      A POSA Would Not Have Been Motivated to Administer an H 2 Antagonist
                  Prior to Cabazitaxel as Required by the Asserted Claims

          188.    H2 antagonists inhibit histamine-stimulated gastric acid secretion. Physician’s

   Desk Reference Medical Dictionary 2000 (SA_JEV_3143049-52) at 3. Typically, H 2

   antagonists are used in the treatment of acid-related duodenal and gastric ulcerations and reflux

   oesophagitis. See id. However, the phase I and II studies of cabazitaxel did not report adverse

   events relating to gastric acidity, for example, ulcers, perforation, or dyspepsia; therefore, a

   POSA would not have seen a need for premedication with an H 2 antagonist for cabazitaxel.

   Pivot at 1550; Mita at 727; Lortholary; Fumoleau.

          189.    If a POSA was concerned about nausea and vomiting potentially associated with

   cabazitaxel administration, they would have administered the well-known and more effective 5-

   HT3 antagonists such as ondansetron and/or medicines like prochlorperazine, metoclopramide,

   and lorazepam as reflected by the NCCN Guidelines on Antiemesis. See NCCN Guidelines

   Antiemesis V.3.2008 (CabRef0013398-428) at CabRef0013403-05, CabRef0013415. Thus, a

   POSA would not have been motivated to use an H 2 antagonist prior to cabazitaxel for stomach

   acid related conditions.

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   evaluated in men with mCRPC who had previously received docetaxel, a POSA would have

   considered what premedications were used with the prior docetaxel regimen. Mita at 724, 729;

   Taxotere® Label at 35; Winquist at 3948. A POSA would have looked to the FDA-approved

   regimen described in the Taxotere® Label, which the FDA had determined to be safe.

          202.    The FDA-approved premedication for Taxotere® (docetaxel) was only oral

   dexamethasone (not an antihistamine or H2 antagonist), even for doses of docetaxel as high as

   100 mg/m2. Taxotere® Label at 1, 3-5. The premedication regimen for mCRPC was

   dexamethasone 8 mg given at 12, 3, and 1 hours before docetaxel. Id. at 1, 5.

          203.    The Taxotere® Label reported that this premedication was given to prevent HSRs

   and fluid retention. Id. at 5, 13. Despite a multiple day premedication with corticosteroids, the

   label reported that fluid retention occurred in 64% of breast cancer patients, with 6.5% of

   patients suffering from severe fluid retention. Id.at 15. Without premedication, fluid retention

   was observed in 59.7% of patients, while 8.9% patients of those were severe. Id. This is more

   fluid retention than was reported for cabazitaxel.

          204.    In addition, the Taxotere® Label reported that regardless of premedication

   (including no premedication), 21% of patients (all tumor types, n=2045) with normal liver

   function tests had HSRs. Id. at 15. The label also reported that with a 3-day premedication,

   15.2% of breast cancer patients reported hypersensitivity reactions. Id. Lastly, without

   premedication, 17.6% of breast cancer patients experienced hypersensitivity reactions.

   Taxotere® Label at 15. A POSA would recognize that these are all higher levels of HSRs than

   the 6% HSR rate reported for cabazitaxel in the breast cancer patients in Pivot premedicated with

   only an antihistamine. Pivot at 1550. Despite the higher levels of HSRs, the FDA approved

   using only oral dexamethasone as the premedication for docetaxel. Pivot at 1550.
                                                        82
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          208.    Thus, a POSA considering administering cabazitaxel to a patient with mCRPC

   that had progressed during or after docetaxel would not have been motivated to add an H 2

   antagonist to the FDA-approved regimen of dexamethasone (or to swap an H 2 antagonist for

   dexamethasone).

          209.    Instead of the FDA-approved regimen, Dr. Ratain looks to a small study of

   docetaxel in unapproved combinations and doses. Fernandez, Prospective Randomized Phase II

   Study of Gemcitabine and Vinorelbine Versus Gemcitabine and Docetaxel Combination in

   Patients with Previously Untreated Advanced Non-Small Cell Lung Cancer, 24 (18 Suppl) J.

   Clin. Oncol. 17052 (2006) (CabRef0012796) (“Fernandez 2006”).

          210.    Fernandez 2006 is a phase II study comparing regimens of gemcitabine (with

   vinorelbine v. with docetaxel) in patients with advanced lung cancer. Id. Patients were given a

   premedication of ranitidine 50 mg, diphenhydramine 25 mg, and dexamethasone 8 mg. Id.

   Fernandez 2006 states that the gemcitabine/docetaxel combination “does not have a favourable

   safety profile, particularly in terms of pulmonary toxicity” and that the study was terminated. Id.

   Accordingly, this docetaxel combination with gemcitabine was not approved by the FDA. See,

   e.g., Taxotere® Label. The authors provide no reasoning as to why they chose a three-drug

   regimen nor the basis for any potential safety concerns that they may have had, but it certainly

   did not alter how physicians gave docetaxel to their mCRPC patients. Therefore, Fernandez

   2006 would not have motivated a POSA to administer an H 2 antagonist prior to cabazitaxel.

          211.    I note that other researchers looking at this type of docetaxel combination with

   gemcitabine for lung cancer at higher doses of docetaxel than those studied by Fernandez 2006

   (35 mg/m2 v. 100 mg/m2) used “standard dexamethasone premedication (8 mg orally before and

   after docetaxel administration).” Georgoulias, Vinorelbine Plus Cisplatin Versus Docetaxel Plus
                                                       84
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   Gemcitabine in Advanced Non-Small-Cell Lung Cancer: a Phase III Randomized Trial, 23(13) J.

   Clin. Oncol. 2937-45 (2005) at 2938. All patients were also given the antiemetic ondansetron.

   Id. The authors did not report that further premedication was needed for HSRs; the toxicity

   profile was more favorable for the docetaxel/gemcitabine combination than the

   vinorelbine/cisplatin combination. Id. at 2940-41, 2943.


                 3.      A POSA Would Not Have Been Motivated to Combine the Paclitaxel
                         or Larotaxel Literature Selected by Dr. Ratain with Cabazitaxel
                         Literature to Select an H2 Antagonist Premedication

          212.   Dr. Ratain relies on multiple clinical studies of paclitaxel to support selection of

   an H2 antagonist premedication with cabazitaxel. See Kenji, Phase II Trial of Adjuvant

   Chemotherapy with Bi-Weekly Carboplatin Plus Paclitaxel in Patients with Completely Resected

   Non-Small Cell Lung Cancer, 2 (8 Suppl. 4) J. Thoracic Oncol. S695-96 (2007)

   (CabRef0012755-756) (“Kenji 2007”); Juan, Low-Dose Weekly Paclitaxel as Second-line

   Treatment for Advanced Non-small Cell Lung Cancer: a Phase II Study, 32(11) Jpn J. Clin.

   Oncol. 449-54 (2002) (CabRef0012790-795) (“Juan 2002”); Harada, Evaluation of Short-Time

   Premedication with d- Chlorpheniramine Maleate Injection for Paclitaxel-Induced

   Hypersensitivity Reaction, 35(8) Jpn. J. Cancer Chemotherapy 1347-51 (CabRef0012785-789)

   (“Harada 2008”); and Kosmas & Tsavaris, A Simplified Premedication Protocol for One-Hour

   Paclitaxel Infusion in Various Combinations, 12(11) Med. Sci. Monit. C462-66 (2006)

   (CabRef0012742-747) (“Kosmas 2006”).

          213.   A POSA would have understood that Taxol ® (paclitaxel) was indicated with a 3-

   component premedication comprising an antihistamine, a corticosteroid, and an H 2 antagonist

   because of the high levels of HSRs caused by the surfactant cremophor needed to dissolve the


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   drug. Taxol® Label at 1, 22, 24; Straub, Intravenous Hydrophobic Drug Delivery: A Porous

   Particle Formulation of Paclitaxel (AI-850), 22(3) Pharm. Res. 347-55 (2005)

   (SA_JEV_3142785-93) at 347.

          214.    The Taxol® Label disclosed that 41% of patients receiving single agent Taxol ®

   experienced HSRs despite receiving premedication. Taxol® Label at 35. That percentage is

   significantly higher than the levels of HSRs reported for cabazitaxel, which did not require

   cremophor. In fact, Mita notes that because cabazitaxel could be formulated in polysorbate 80

   without cremophor there was a “reduced incidence of hypersensitivity reaction[s].” Mita at 729.

   Thus, a POSA would not have been motivated to use with cabazitaxel the premedications

   described in the paclitaxel clinical studies identified by Dr. Ratain.

          215.    Although allergic reactions to taxanes formulated without cremophor had been

   reported, which ten Tije hypothesized “suggest[s] that some functionality of the taxane

   molecule contributes, in part to the observed effect,” a POSA also knew that a cremophor-free

   paclitaxel formulation was approved by the FDA with no premedication at all. ten Tije,

   Pharmacological Effects of Formulation Vehicles, Implications for Cancer Chemotherapy,

   42(7) Clin. Pharmacokinetics 665-85 (2003) (CabRef0012764-784) at 668, 680 (emphasis

   added); Abraxane® Label May 2007 (SA_JEV_2177000-019) at 17-18. Thus, contrary to Dr.

   Ratain’s opinion, the mere fact that cabazitaxel was a taxane would not have motivated a POSA

   to premedicate patients administered cabazitaxel with an H2 antagonist, especially considering

   Mita’s conclusion that a premedication was not required at all. See Mita at 729.

          216.    Dr. Ratain also cites Yamamoto 2009, a phase I larotaxel study in Japanese

   patients, as another example of a study that used an H2 antagonist premedication. See

   Yamamoto, Phase I Study of Larotaxel Administered as a 1-h Intravenous Infusion Every 3
                                                        86
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          G.      A POSA Would Not Have Been Motivated to Select 5 mg
                  Dexchlorpheniramine and 8 mg Dexamethasone to Add to an H 2 Antagonist
                  Prior to Cabazitaxel as Required by the ’110 Patent

          222.    I am not aware of any literature disclosing the use of a three-component

   premedication of an antihistamine, a corticoid, and an H2 antagonist for cabazitaxel, let alone

   with 5 mg dexchlorpheniramine and 8 mg of dexamethasone specifically.

          223.    Because cabazitaxel exposed patients to less polysorbate 80 than docetaxel and

   was known to be associated with lower levels of HSRs than docetaxel, a POSA would not have

   been motivated to administer three drugs as a premedication with cabazitaxel to a patient that

   had been able to tolerate administration of docetaxel with less premedication (dexamethasone).

   Supra Sections VI.F.1-2.

          224.    Also as discussed above, a POSA would not have looked to Yamamoto 2009,

   Fernandez 2006, or the paclitaxel literature selected by Dr. Ratain for a cabazitaxel

   premedication. Supra Sections VI.F.2-3.

          225.    Even if a POSA were to administer an H2 antagonist, an antihistamine, and a

   corticosteroid, Dr. Ratain does not explain why 5 mg dexchlorpheniramine and 8 mg of

   dexamethasone specifically would be selected to combine with an H 2 antagonist.

          226.    Kenji 2007 reported that a premedication of “8 mg of dexamethasone, 5 mg of d-

   chlorpheniramine maleate and 50 mg of ranitidine were administered intravenously 30 minutes,

   before the patients receive paclitaxel.” See Kenji 2007 at CabRef0012756. Juan 2002 discloses

   a premedication composed of “[d]examethasone (8 mg), dexchlorpheniramine (5 mg) and

   ranitidine (50 mg) were prescribed 30 min before paclitaxel infusion.” Juan 2002 at 450.

   Yamamoto 2009 stated that the antihistamine could be dexchlorpheniramine 5 mg,



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   diphenhydramine 25 mg, or “other antihistamines,” and that the steroid could be dexamethasone

   8 mg “or an equivalent steroid.” Yamamoto 2009 at 131.

          227.    However, the other publications identified by Dr. Ratain disclose different doses

   of dexamethasone and different antihistamines. For example, the FDA-approved regimen for

   docetaxel required a total of 24 mg of dexamethasone administered in 8 mg doses at 12, 3, and 1

   hours before docetaxel. Taxotere® Label at 1. Kosmas 2006 utilized IV doses of 20 mg of

   dexamethasone and referred to other studies using even more dexamethasone, including

   additional doses of 12 mg at 12 and 6 hours prior to paclitaxel administration. Kosmas 2006 at

   CR465. Harada 2008 and Fernandez 2006 used diphenhydramine, and Kosmas 2006 reported

   that the antihistamine dimethindene maleate was preferable. Kosmas 2006 at CR465; Harada

   2008 at 1347; Fernandez 2006 at CabRef0012796.

          228.    Dr. Ratain has not explained why, without knowledge of the claims of the ’110

   patent, a POSA would have been motivated to select the precise premedication of 5 mg

   dexchlorpheniramine, 8 mg dexamethasone, and an H2 antagonist.


   VII.   THE ASSERTED CLAIMS HAVE WRITTEN DESCRIPTION SUPPORT IN THE
          SPECIFICATION

          229.    Dr. Ratain asserts (1) that all asserted claims lack written description support

   because they do not require administration with prednisone and (2) that claims 1-3 and 5-6 of the

   ’110 patent and claims 1, 2, 4, and 5 of the ’777 patent lack written description support because

   they are not limited to a 25 mg/m2 dose of cabazitaxel. Ratain Report at ¶¶ 243-63. For the

   reasons explained below, I disagree.




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            A.     With or Without Prednisone

            230.   Dr. Ratain’s lack of written description argument is mainly directed to the

   asserted claims permitting but not requiring combination with prednisone. Ratain Report at

   ¶ 247.

            231.   The specification states that prednisone may optionally be combined with

   cabazitaxel. For example, cabazitaxel “is preferably administered in combination with a

   corticoid chosen especially from prednisone and prednisolone.” ’777 patent at col. 3, ll. 9-11;

   ’110 patent at col. 3, ll. 6-9. “Cabazitaxel may be administered in combination with a corticoid,

   such as prednisone or prednisolone.” ’777 patent at col. 5, ll. 44-45; ’110 patent at col. 5, ll. 41-

   42.

            232.   The specification also refers to cabazitaxel providing an increase in survival

   without specifying combination with prednisone. “In some embodiments, the effective amount

   of cabazitaxel produces at least one therapeutic effect selected from the group consisting of

   increase in overall survival . . . .” ’777 patent at col. 3, ll. 31-33; ’110 patent at col. 3, ll. 28-30.


            B.     Doses of Cabazitaxel Beyond 25 mg/m2

            233.   Dr. Ratain also asserts that because the TROPIC study described in Example 1 of

   the specification utilized a starting dose of 25 mg/m2 of cabazitaxel, there is no evidence in the

   specification that the inventor was in possession of claims encompassing other doses. Ratain

   Report at ¶ 256. I disagree.

            234.   The specification describes doses of cabazitaxel including 15-25 mg/m 2. ’777

   patent at col. 3, ll. 18-20, col. 3, ll. 24-30, col. 17, ll. 30-51; ’110 patent at col. 3, ll.15-17, col. 3,

   ll. 21-27, col. 16, ll. 15-37.


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           235.    The specification also refers to “effective” and “therapeutically effective”

   amounts of cabazitaxel without specifying the dose. For example, “the effective amount of

   cabazitaxel produces at least one therapeutic effect selected from the group consisting of increase

   in overall survival.” ’777 patent at col. 3, ll. 28-32; ’110 patent at col. 3, ll. 28-33.

           236.    Example 1 of the specification demonstrates that cabazitaxel therapy increases

   survival as compared to mitoxantrone in men with mCRPC that has progressed during or after

   treatment with docetaxel that includes patients with a dose reduction from 25 mg/m 2 of

   cabazitaxel to 20 mg/m2 of cabazitaxel. ’777 patent at col. 10, l. 45-col. 12, l. 67, col. 16, ll. 43-

   49, col. 17, ll. 22-23, col. 17, ll. 30-49; ’110 patent at col. 10, l. 45-col. 13, l. 15, col. 15, ll. 34-

   36, col. 16, ll. 1-10, col. 16, ll. 15-35. The specification therefore specifically describes methods

   shown to increase survival of men with mCRPC that has progressed during or after treatment

   with docetaxel that include the administration of 20 mg/m 2 of cabazitaxel.

           237.    Example 2 of the specification provides dose modifications for adverse reactions

   for patients receiving cabazitaxel, including instructions to administer 20 mg/m 2. ’777 patent at

   col. 17, ll. 30-49; ’110 patent at col. 16, ll. 15-35.


   VIII. THE ASSERTED CLAIMS ARE ENABLED BY THE SPECIFICATION

           238.    Dr. Ratain asserts (1) that all asserted claims are not enabled because they do not

   require administration with prednisone, (2) that claims 1-3 and 5-6 of the ’110 patent and claims

   1, 2, 4, and 5 of the ’777 patent are not enabled because they are not limited to a 25 mg/m 2 dose

   of cabazitaxel, and (3) that claims 1-6 of the ’777 patent are not enabled because they do not

   require a dose schedule of every three weeks. Ratain Report at ¶¶ 266, 292. For the reasons

   explained below, I disagree.


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           A.       Nature of the Invention

           239.     The asserted claims are directed to methods of increasing survival of men with

   mCRPC that has progressed during or after treatment with docetaxel by administering

   cabazitaxel after a premedication regimen that contains at least an H2 antagonist.


           B.       Direction or Guidance Presented

           240.     The direction and guidance on how to use the claimed inventions in the

   specification is substantial. The specification describes how to administer cabazitaxel therapy

   (intravenous infusion), including how to monitor and evaluate therapy, provides exemplary

   formulations (for example, those containing polysorbate 80), exemplary schedules (for example,

   every three weeks), exemplary doses (15-25 mg/m 2), exemplary premedication regimens (for

   example, an H2 antagonist), and other medications for preventing or controlling adverse events

   (for example, antiemetics such as ondansetron and G-CSF). ’777 patent at col. 3, ll. 24-30, col.

   5, ll. 27-43, col. 5, ll. 52-67, col. 6, ll. 48-53, col. 7, ll. 1-9, col. 7, ll. 34-36, col. 7, ll. 58-64, col.

   17, ll. 30-49; ’110 patent at col 3, ll. 21-27, col. 5, ll. 24-40, col 5, ll. 49-64, col. 6, ll. 45-50, col.

   6, l. 67-col. 7, l. 6, col. 7, ll. 33-36, col. 7, ll. 58-64, col. 16, ll. 15-35.

           241.     The specification provides an exemplary schedule for cabazitaxel of every three

   weeks, and further states that the schedule “may be prolonged by 1 to 2 weeks depending on the

   tolerance to the preceding cabazitaxel administration.” ’777 patent at col. 3, ll. 24-30, col. 5, ll.

   52-60; ’110 patent at col. 3, ll. 21-27, col. 5, ll. 49-57.

           242.     Example 2 of the specification also provides dose modifications for adverse

   reactions for patients receiving cabazitaxel, including instructions to delay treatment (i.e., not




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   administer the next cabazitaxel cycle after three weeks) and to reduce the dose, for example from

   25 mg/m2 to 20 mg/m2. ’777 patent at col. 17, ll. 30-49; ’110 patent at col. 16, ll. 15-35.


           C.       Presence or Absence of Working Examples

           243.     The specification contains a working example (Example 1) from the TROPIC

   study demonstrating that cabazitaxel therapy is life-prolonging compared to mitoxantrone

   therapy in men with mCRPC that has progressed during or after treatment with docetaxel. ’777

   patent at col. 10, l. 45-col. 12, l. 67; ’110 patent at col. 10, l. 45-col. 13, l. 15.

           244.     Furthermore, this example includes data from patients who received a dose

   reduction from 25 mg/m2 of cabazitaxel to 20 mg/m2 of cabazitaxel. ’777 patent at col. 16, ll.

   43-49, col. 17, ll. 22-23, col. 17, ll. 30-49; ’110 patent at col. 15, ll. 30-36, col. 16, ll. 1-10, col.

   16, ll. 15-35.

           245.     This data also includes patients who had doses delayed beyond the normal once

   every three week schedule, including some dose delays more than nine days. ’777 patent at col.

   16, ll. 43-53, col. 17, ll. 18-23, col. 17, ll. 30-49; ’110 patent at col. 15, ll. 32-41, col. 15, l. 64-

   col. 16, l. 10, col. 16, ll. 15-35.


           D.       Breadth of the Claims

           246.     In view of the nature of the invention and the guidance and presence of working

   examples in the specification, I find the breadth of the claims reasonable and not supportive of a

   finding that undue experimentation would be required to practice the claims.




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          E.      Unpredictability and State of the Art

          247.    As explained above in my obviousness analysis, the unpredictability as to whether

   cabazitaxel would increase survival as compared to mitoxantrone prior to the results of TROPIC

   was substantial.

          248.    However, I disagree with Dr. Ratain’s statement that the written description of the

   asserted patents “does not significantly add to the state of the art to enable the asserted claims.”

   Ratain Report at ¶ 289.

          249.    The specification of the asserted patents contains significant data and information

   about cabazitaxel therapy that is not in the prior art and therefore would not have been available

   to assess obviousness. In particular, the specification describes the results of the phase III

   TROPIC clinical study, the first clinical study of cabazitaxel in prostate cancer specifically, and

   the first controlled study of cabazitaxel (the only way to assess comparative endpoints like PFS

   and overall survival) in any patient type. While prior to the patent filing, it was only known that

   a single patient with mCRPC that had progressed during or after treatment with docetaxel had a

   partial response after being administered 25 mg/m2 cabazitaxel without prednisone, the TROPIC

   data in the specification provides the results of cabazitaxel therapy in hundreds of patients,

   including assessments of tumor progression, pain progression, PSA progression, PFS, and

   overall survival, as well as data on side effects and dose delays and reductions (to 20 mg/m 2).

   This data demonstrated for the first time that cabazitaxel was life-prolonging as compared to

   mitoxantrone in mCRPC patients that had cancer progression during or after treatment with

   docetaxel, and for the first time gave a POSA a reasonable expectation that individual patients

   would live longer from receiving cabazitaxel therapy than they would have had they received



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   mitoxantrone therapy. This data also showed for the first time that cabazitaxel therapy increased

   survival (both overall survival and PFS) as compared to mitoxantrone.

           250.    Prednisone had never been shown to prolong life on its own or in combination

   with mitoxantrone. Furthermore, both arms in the TROPIC study received combination therapy

   with prednisone, indicating to a POSA that the increase in survival shown for patients on the

   cabazitaxel arm was not a result of prednisone treatment.

           251.    In view of at least this survival data provided in the specification, a POSA would

   have found the asserted utility of the claimed methods with or without prednisone credible.

           252.    Example 1 includes data from patients who received a dose reduction from 25

   mg/m2 of cabazitaxel to 20 mg/m2 of cabazitaxel. ’777 patent at col. 16, ll. 43-49, col. 17, ll. 22-

   23, col. 17, ll. 30-49; ’110 patent at col. 15, ll. 30-36, col. 16, ll. 1-10, col. 16, ll. 15-35. The

   specification therefore specifically describes methods shown to increase survival of men with

   mCRPC that has progressed during or after treatment with docetaxel that include administering

   20 mg/m2 of cabazitaxel.

           253.    In view of the guidance in the specification and the TROPIC data, the assertions

   in the patents that doses of 15-25 mg/m2 increase survival would have been deemed credible to a

   POSA.

           254.    Furthermore, Example 1 includes data from patients who had doses delayed,

   including some dose delays more than nine days. ’777 patent at col. 16, ll. 43-53, col. 17, ll. 18-

   23, col. 17, ll. 30-49; ’110 patent at col. 15, ll. 32-41, col. 15, l. 64-col. 16, l. 10, col. 16, ll. 15-

   35. The specification therefore specifically describes methods shown to increase survival of men

   with mCRPC that has progressed during or after treatment with docetaxel by administering 20-

   25 mg/m2 of cabazitaxel on a schedule other than precisely every three weeks.
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          255.    In view of the guidance in the specification and the TROPIC data, the assertions

   in the patents that schedules other than strictly every three weeks increase survival would have

   been deemed credible to a POSA.

          256.    Dr. Ratain has not explained why a POSA would not have found credible that

   cabazitaxel doses of 15-20 mg/m2 or schedules other than every three weeks would be effective.

   Nor has Dr. Ratain provided any evidence that such dosing schedules are not effective. In fact,

   in the subsequent PROSELICA clinical study of cabazitaxel, it was demonstrated that a starting

   dose of 20 mg/m2 with dose reductions to 15 mg/m2 was non-inferior to a starting dose of 25

   mg/m2 with dose reductions to 20 mg/m2. Eisenberger at 3298, 3205; Jevtana® Label Dec. 2020

   (SA_JEV_3163191-224) at 12-13. Yachnin et al. further reported from a randomized phase II

   study that 25 mg/m2 of cabazitaxel every three weeks and 10 mg/m2 of cabazitaxel given weekly

   for five of six weeks did not have significantly different PFS and overall survival in men with

   mCRPC that had progressed during or after treatment with docetaxel. Yachnin, Weekly Versus

   3-Weekly Cabazitaxel for the Treatment of Castration-Resistant Prostate Cancer: A Randomised

   Phase II Trial (ConCab), 97 European J. of Cancer 33-40 (2018) (“Yachnin”) at 33-36; see also

   Kellokumpu-Lehtinen, Biweekly Cabazitaxel as a Safe Treatment Option for Metastatic

   Castration Resistant Prostate Cancer (mCRPC) Patients Post-Docetaxel: Final Analysis of

   Prosty II Trial, 34 (15 Suppl.) J. Clin. Oncol. Abstr. e16523 (2016) (“Kellokumpu-Lehtinen”)

   (cabazitaxel 16 mg/m2 every two weeks is “a manageable treatment option”).


          F.      Quantity of Experimentation Necessary and Level of Skill in the Art

          257.    The specification states that cabazitaxel is “administered repeatedly according to a

   protocol that depends on the patient to be treated (age, weight, treatment history, etc.), which can


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   be determined by a skilled physician.” ’777 patent at col. 5, ll. 52-55; ’110 patent at col. 5, ll.

   49-52. It would not have taken undue experimentation to practice the claimed inventions by

   administering cabazitaxel without prednisone, doses of cabazitaxel other than 25 mg/m 2, or on

   schedules other than every three weeks with the intent of increasing survival as compared to

   mitoxantrone of an individual mCRPC patient who had progressed during or after treatment with

   docetaxel in light of the guidance and clinical data in the specification.

           258.     A POSA would be familiar with clinical study design and interpretation. In view

   of the guidance in the specification and the TROPIC data, a POSA would have been capable of

   modifying dose schedules, doses, or combinations of cabazitaxel therapy according to the

   characteristics of a particular patient with the intent of increasing the survival of that patient.

           259.    As noted above, subsequent phase II clinical studies have evaluated different

   doses and/or dose schedules. For example, Yachnin reported no significant differences in overall

   or progression-free survival between 25 mg/m2 of cabazitaxel every three weeks and 10 mg/m2

   of cabazitaxel given weekly for five of six weeks. Yachnin at 33-36. Kellokumpu-Lehtinen

   reported that cabazitaxel 16 mg/m2 administered every two weeks was also “a manageable

   treatment option.”

           260.    In my opinion, such clinical practice is within the skill of a POSA and does not

   constitute undue experimentation.




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED and                        )
   SHURE ACQUISITION HOLDINGS,                   )
   INC.,                                         )
                                                 )
                  Plaintiffs,                    )
                                                 )
          v.                                     )       Civil Action No. 19-1343-RGA-CJB
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                  Defendant.                     )

                                      MEMORANDUM ORDER

          Presently pending in this patent infringement case is Defendant ClearOne, Inc.’s

   (“Defendant” or “ClearOne”) letter motion to strike (the “Motion”) certain material submitted by

   Plaintiffs Shure Incorporated and Shure Acquisition Holdings, Inc. (“Plaintiffs” or “Shure”) that

   purportedly introduces new infringement and market theories. (D.I. 484) 1 Specifically,

   ClearOne seeks to strike, pursuant to Federal Rules of Civil Procedure 26 and 37: (1) the

   Supplemental Report of Paul Hatch (“Hatch Supplemental Report”); (2) the Supplemental

   Report of Ira Weinstein (“Weinstein Supplemental Report”); (3) paragraphs 15-16 of the

   Supplemental Report of Thomas Vander Veen (“Vander Veen Supplemental Report”); and (4)

   relevant material on pages 4-5 of Shure’s Answering Brief in Opposition to ClearOne’s Motion


          1
                  Our Court has treated motions to strike as non-dispositive motions, which may be
   resolved by the Court pursuant to 28 U.S.C. § 636(b)(1)(A) and D. Del. LR 72.1(a)(2). See, e.g.,
   Novartis Pharms. Corp. v. Actavis, Inc., Civil Action No. 12-366-RGA-CJB, 2013 WL 7045056,
   at *1 n.1 (D. Del. Dec. 23, 2013); Withrow v. Spears, 967 F. Supp. 2d 982, 987 n.1 (D. Del.
   2013) (citing cases). This is in line with decisions of other courts in this Circuit, which have also
   treated such motions as non-dispositive, at least where the ultimate decision was not
   determinative of a party’s claims (just as the decision is not here). See, e.g., Hawkins v.
   Waynesburg Coll., Civil Action No. 07-5, 2007 WL 2119223, at *1 n.1 (W.D. Pa. July 20,
   2007); Reedy v. CSX Transp., Inc., Civil Action No. 06-758, 2007 WL 1469047, at *1 n.1 (W.D.
   Pa. May 18, 2007).
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   for Summary Judgment of Non-Infringement (“Non-Infringement Opposition”). (D.I. 485 at 1)

   For the reasons set forth below, the Court GRANTS ClearOne’s Motion.

   I.      BACKGROUND

           Shure filed this case on July 18, 2019. (D.I. 1) Fact discovery closed in November 2020.

   (D.I. 62 at ¶ 3(a)) Shure’s final infringement contentions, served in November 2020, accuse

   various products that make up ClearOne’s BMA CT line of array microphones (the “BMA CT”)

   of infringing United States Patent No. D865,723 (the “'723 patent”). (D.I. 485, ex. E)

           That same month, ClearOne began to market a new audio equipment bundle for the

   remote working professional, which included the Aura Xceed BMA (the “Xceed BMA”). (Id.,

   ex. C at ¶ 12) The external design as well as the internal microphone geometry of the Xceed

   BMA are identical to that of the BMA CT, though the Xceed BMA has different firmware. (Id.

   at ¶ 13; see also D.I. 485 at 1; Tr. at 69-70) In March 2021 (after all expert reports had been

   submitted in the case), Shure requested discovery from ClearOne regarding the Xceed BMA.

   (D.I. 485, ex. F; ClearOne’s Hearing Presentation, Slide 107) The parties thereafter met and

   conferred with respect to Shure’s request. (See D.I. 498 at 1)

           On April 12, 2021, the parties filed a Stipulation regarding the Xceed BMA (the

   “Stipulation”). (D.I. 431) Pursuant to the Stipulation, the parties agreed that the Xceed BMA is

   externally identical to the BMA CT, and that its internal microphone geometry is identical to the

   BMA CT. (Id. at ¶ 5(a)-(b)) Further, the parties agreed that Shure could supplement its

   infringement contentions to identify the Xceed BMA as an additional accused product, and that,

   inter alia:

                  Shure may supplement its expert reports to address the [] Xceed
                  BMA by May 7, 2021, only to identify the [] Xceed BMA as an
                  additional accused product, and present corresponding
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                  infringement, market, and damages opinions, but Shure: (1) cannot
                  introduce new infringement, market, or damages theories; nor (2)
                  supplement its infringement, market, and damages opinions for any
                  ClearOne product other than the [] Xceed BMA[.]

   (Id. at ¶ 5(c) (emphasis added)) 2 The Court so ordered the Stipulation on the same date.

          A few days later, on April 16, 2021, the parties filed various summary judgment and

   Daubert motions. (D.I. 62 at ¶ 11)

          On or about May 7, 2021, Shure served the Hatch Supplemental Report, the Weinstein

   Supplemental Report and the Vander Veen Supplemental Report, which each address the Xceed

   BMA. (D.I. 485, exs. A-C; see also D.I. 498 at 2) On May 14, 2021, Shure filed its answering

   brief in opposition to ClearOne’s motion for summary judgment of non-infringement. (D.I. 473)

          ClearOne filed the instant Motion on May 24, 2021, (D.I. 484), and briefing was

   complete on June 4, 2021, (D.I. 509). The Court heard oral argument on the motion (as well as

   on certain of the parties’ summary judgment and Daubert motions) during a videoconference on

   June 9, 2021. (D.I. 527 (hereinafter, “Tr.”)) A 5-day trial is set to begin on November 1, 2021.

   (D.I. 62 at ¶ 16)

   II.    STANDARD OF REVIEW

          Federal Rule of Civil Procedure 37(c)(1) provides that “[i]f a party fails to provide

   information . . . as required by Rule 26[ ](e), the party is not allowed to use that information . . .

   to supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

   justified or is harmless.” Fed. R. Civ. P. 37(c)(1). In considering whether to exclude evidence




          2
                  ClearOne explains that it entered into the Stipulation to “avoid the need for
   additional discovery, a delayed trial, and/or a new case[,]” (D.I. 485 at 1; see also Tr. at 72),
   while Shure notes that it entered into the Stipulation “[i]n a good faith effort to resolve” any
   disputes regarding the Xceed BMA, (D.I. 498 at 1; see also Tr. at 88).
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   relating to an untimely or otherwise improper disclosure, the United States Court of Appeals for

   the Third Circuit has directed district courts to weigh certain factors, known as “the Pennypack

   factors”: (1) the surprise or prejudice to the moving party; (2) the ability of the moving party to

   cure any such prejudice; (3) the extent to which allowing the testimony would disrupt the order

   and efficiency of trial; (4) bad faith or willfulness in failing to comply; and (5) the importance of

   the testimony sought to be excluded. See Meyers v. Pennypack Woods Home Ownership Ass’n,

   559 F.2d 894, 904-05 (3d Cir. 1977), overruled on other grounds, Goodman v. Lukens Steel Co.,

   777 F.2d 113 (3d Cir. 1985); see also Konstantopoulos v. Westvaco Corp., 112 F.3d 710, 719 (3d

   Cir. 1997). Because “[t]he exclusion of critical evidence is an extreme sanction,” the Third

   Circuit has explained that it should be reserved for circumstances amounting to “willful

   deception or flagrant disregard of a court order by the proponent of the evidence.” In re Paoli

   R.R. Yard PCB Litig., 35 F.3d 717, 791-92 (3d Cir. 1994) (internal quotation marks and citations

   omitted).

          Additionally, pursuant to Federal Rule of Civil Procedure 16(f), the Court may impose

   sanctions (such as the exclusion of expert testimony) if, inter alia, a party “fails to obey a

   scheduling or other pretrial order.” Fed. R. Civ. P. 16(f)(1)(C); see also Integra Lifesciences

   Corp. v. HyperBranch Med. Tech., Inc., Civil Action No. 15-819-LPS-CJB, 2017 WL 11558096,

   at *4 (D. Del. Dec. 11, 2017); INVISTA N. Am. S.a.r.l. v. M & G USA Corp., Civ. No. 11-1007-

   SLR-CJB, 2013 WL 3216109, at *2 (D. Del. June 25, 2013).

   III.   DISCUSSION

          ClearOne argues that the Hatch Supplemental Report and Weinstein Supplemental Report

   introduce new infringement and market theories regarding the Xceed BMA, and that paragraphs

   15-16 of the Vander Veen Supplemental Report and certain portions of pages 4-5 of Shure’s
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          The Court agrees with ClearOne that the Hatch Supplemental Report introduces a new

   infringement theory regarding the home-office user. (D.I. 485 at 1-2; Tr. at 74-76) Indeed,

   during oral argument, Shure’s counsel seemed to acknowledge that the report includes new

   theories and opinions regarding the Xceed BMA. (Tr. at 91 (“Shure just became aware of the

   new end-purchaser in this case”); id. at 92 (“[The Xceed BMA] is intended for home office

   professionals [and] that person is not the corporate entity that . . . ClearOne markets the BMA

   CT to”); id. at 96 (“the definition of the ordinary observer here changed because of the type of

   product being sold”) (emphasis added)) 6 Therefore, the Hatch Supplemental Report violates the

   Stipulation’s agreement that Shure’s supplemental expert reports addressing the Xceed BMA

   “cannot introduce new infringement . . . theories[.]” (D.I. 431 at ¶ 5(c))

          The Court next considers the Weinstein Supplemental Report. In that report, Shure’s

   market expert, Mr. Weinstein, similarly opines that the “typical purchaser” of the Xceed BMA

   would be, inter alia, “an end-user seeking to equip a home office.” (D.I. 485, ex. B at ¶ 11) Mr.

   Weinstein also expanded his definition of the market to include “a wide variety of manufacturers




          6
                    Despite this, Shure makes a strained argument that this new theory somehow is
   not in violation of the parties’ Stipulation. To that end, Shure: (1) points to the wording in the
   Stipulation that says that Shure may supplement its expert reports with regard to the Xceed BMA
   by, inter alia, presenting “corresponding infringement, market, and damages opinions” and then
   (2) argues that because its experts are here presenting opinions that “correspond[]” to the Xceed
   BMA, then these opinions “fall[] squarely within the scope of the parties’ stipulation.” (D.I. 498
   at 4 (emphasis added); Tr. at 88-89) However, this argument obviously ignores the very next
   term of the Stipulation, which forbids Shure from “introduc[ing] new infringement, market, or
   damages theories[.]” (D.I. 431 at ¶ 5(c))

           In its answering letter brief, Shure also briefly suggests that it should be excused for
   introducing new theories regarding the Xceed BMA because ClearOne failed to timely
   supplement its discovery responses regarding that product. (D.I. 498 at 1, 4) However, Shure
   did not develop this argument in its briefing (e.g., by specifically explaining how ClearOne
   failed in that regard). (Tr. at 71) Therefore, the Court does not find this argument persuasive.
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   offering AV devices intended for home office use, including USB microphones, USB

   speakerphones, USB webcams, personal USB videobars, and even USB headsets.” (Id. at ¶ 15

   & Tables 1-4) The Weinstein Supplemental Report thus also introduces a new market theory in

   direct violation of the Stipulation’s agreement that this is not permitted. (D.I. 431 at ¶ 5(c); see

   also D.I. 485 at 2; Tr. at 78) Again, during oral argument, Shure’s counsel seemed to

   acknowledge the same. (Tr. at 94-95 (“Unlike the BMA CT and BMA 360, which are products

   marketed for commercial buildings, the Xceed BMA is marketed for home office spaces, and

   therefore, the purchasers of these products . . . are different.”) (emphasis added)) 7

          Both parties appear to agree that because this disputed issue is one that was “expressly

   [addressed by the parties’ S]tipulation, . . . the question of discovery timeliness does not arise”

   and thus the “Court need not consider the Pennypack factors at all[.]” (D.I. 498 at 4 (Shure’s

   answering letter brief noting this); see also D.I. 509 at 2 (ClearOne arguing that if Shure were

   “held to the Stipulation” then the Pennypack factors would not apply at all here); Tr. at 82, 96)

   The Court agrees, since here, Shure did not violate Rule 26(e); instead, Shure violated a joint

   stipulation, which the Court ordered into effect on April 12, 2021. (See April 12, 2021 Docket

   Entry) The parties and the Court rely on such stipulations in cases like this, and those

   stipulations need to be enforced. See In re Gorsoan Ltd., No. 17-cv-5912 (RJS), 2020 WL

   6891520, at *3 (S.D.N.Y. Nov. 23, 2020) (noting that “parties are encouraged to enter into

   voluntary stipulations to help streamline the [discovery] process” and that “such stipulations are




          7
                  As for paragraphs 15 and 16 of the Vander Veen Supplemental Report, (D.I. 485,
   ex. C at ¶¶ 15-16), as well as the relevant portions of pages 4-5 of Shure’s Non-Infringement
   Opposition, (D.I. 473 at 4-5), there is no dispute that they rely on the new theories and opinions
   in the Hatch Supplemental Report and Weinstein Supplemental Report.
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   regularly enforced”); In re Sando, 30 B.R. 474, 476 (E.D. Pa. 1983) (“Stipulations voluntarily

   entered into by parties to litigation will be enforced by a court unless the stipulation violates

   public policy or other extenuating circumstances exist.”). Therefore, pursuant to Rule 16(f),

   because the Hatch Supplemental Report, the Weinstein Supplemental Report, 8 paragraphs 15 and

   16 of the Vander Veen Supplemental Report and the relevant portions of pages 4-5 of Shure’s

   Non-Infringement Opposition all violate the Stipulation and the Court’s order relating thereto,

   they will be stricken (without need to resort to a Pennypack analysis). 9



          8
                  Shure did not argue that if ClearOne’s Motion was granted, the Hatch
   Supplemental Report and the Weinstein Supplemental Report should only be partially stricken.
   Therefore, the Court strikes these reports in their entirety. Accordingly, the Court need not
   address a separate issue that ClearOne had raised with the Hatch Supplemental Report (i.e., that
   it improperly introduced new images of the Xceed BMA next to an unaccused square surface
   mounting kit). (D.I. 485 at 2)
          9
                    That said, even if the Court were to consider the Pennypack factors here, they too
   weigh in favor of exclusion of the material at issue. The “surprise” and “prejudice” factor goes
   ClearOne’s way. As to “surprise,” the introduction of the new theories in Shure’s supplemental
   expert reports surely did surprise ClearOne, since the Stipulation prohibited this. (D.I. 485 at 3)
   Moreover, allowing the new theories at this late juncture would “prejudice” ClearOne. ClearOne
   entered into the Stipulation to avoid the need for additional discovery regarding the Xceed BMA,
   and introduction of Shure’s new theories would require just such discovery. (D.I. 509 at 2) For
   example, ClearOne would need to investigate how many sales of the accused products and
   Shure’s commercial embodiments have now been made to home-office users, and the parties
   would need to take additional depositions of experts, party witnesses and third-party home office
   users to develop evidence regarding the level of attention those users give to purchases of the
   products. (Id.; Tr. at 83-84) ClearOne’s expert would also need to gather evidence regarding the
   many home office products that Mr. Weinstein newly identifies as competing in the market.
   (D.I. 509 at 2) Next, with regard to the “ability of the moving party to cure any such prejudice”
   factor and the “extent to which allowing the testimony would disrupt the order and efficiency of
   trial” factors, these also favor ClearOne. The above-referenced discovery efforts, which would
   be needed to effect a cure, would likely necessitate the disruption of the pending November 1,
   2021 trial date. (D.I. 485 at 3; Tr. at 84) As to the “bad faith or willfulness in failing to comply”
   factor, while the Court cannot say that Shure’s violation of the Stipulation was done in bad faith,
   at a minimum, this factor should not favor Shure, since Shure has not provided a good
   explanation for how its experts’ new theories regarding the Xceed BMA actually comport with
   the Stipulation’s terms. (D.I. 485 at 3) Lastly, with respect to the “importance of the testimony
   sought to be excluded” factor, if these new theories were that important, then Shure seemingly
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   IV.     CONCLUSION

           For the foregoing reasons, ClearOne’s Motion is GRANTED. The Hatch Supplemental

   Report, the Weinstein Supplemental Report, paragraphs 15 and 16 of the Vander Veen

   Supplemental Report and the relevant material on pages 4-5 of Shure’s Non-Infringement

   Opposition relating to the Xceed BMA are STRICKEN, and Shure may not rely on this material

   in this case.

           Because this Memorandum Order may contain confidential information, it has been

   released under seal, pending review by the parties to allow them to submit a single, jointly

   proposed, redacted version (if necessary) of the Memorandum Order. Any such redacted version

   shall be submitted no later than September 15, 2021 for review by the Court. It should be

   accompanied by a motion for redaction that shows that the presumption of public access to

   judicial records has been rebutted with respect to the proposed redacted material, by including a

   factually-detailed explanation as to how that material is the “kind of information that courts will

   protect and that disclosure will work a clearly defined and serious injury to the party seeking

   closure.” In re Avandia Mktg., Sales Pracs. & Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir.

   2019) (internal quotation marks and citation omitted). The Court will subsequently issue a

   publicly-available version of its Memorandum Order.



   Dated: September 10, 2021
                                                         Christopher J. Burke
                                                         UNITED STATES MAGISTRATE JUDGE



   would not have entered into the Stipulation (which prohibited Shure from introducing them).
   (D.I. 509 at 2) Moreover, if Shure believes that these new theories really are that important, then
   it has a remedy: Shure is free to bring a new case against ClearOne accusing the Xceed BMA.
   (D.I. 485 at 3; Tr. at 98-99)
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    Date:             Friday, March 26, 2021 5:59:23 PM


    Counsel,
    Pursuant to paragraph 11(a) of the Scheduling Order (D.I. 66), Plaintiffs object to the new arguments
    and references contained in Dr. Ratain’s reply expert report identified below that were not identified
    in Defendants’ interrogatory responses prior to the close of fact discovery in this case and/or should
    have been identified in Dr. Ratain’s opening report.
    Arguments:
        1. Palliative care extends life. (e.g., paragraph 16)
        2. Docetaxel resistance requires progression during docetaxel treatment. (e.g., paragraph 27)
        3. The TROPIC study could be conducted despite lack of phase II data because cabazitaxel’s
           activity was more predictable than most chemotherapy drugs. (e.g., paragraph 52)
        4. A POSA would have been motivated to use a reduced dose of cabazitaxel to combine with
           carboplatin in light of Cabrespine and Kenji. (e.g., paragraph 61)
       5. A POSA would have been motivated to use 15 mg/m2 of cabazitaxel to avoid docetaxel side
          effects. (e.g., paragraph 63)
       6. A POSA would have been motivated to use cabazitaxel over docetaxel to avoid fluid retention,
          particularly in patients with pleural effusions (e.g, patients with congestive heart failure). (e.g.,
          paragraph 65)
       7. A POSA would have been motivated to use an H2 antagonist over Takenaka, Trudeau, and
          Kaye (see list below). (e.g., paragraphs 72-73)
    References:
       1. Aogi, et al., “The efficacy and safety of gemcitabine plus paclitaxel combination first-line
          therapy for Japanese patients with metastatic breast cancer including triple-negative
          phenotype,” Cancer Chemother. Pharmacol., 67:1007-1015 (2011)
       2. Audrey, et al., “What oncologists tell patients about survival benefits of palliative
          chemotherapy and implications for informed consent: qualitative study,” BMJ, 337:a752
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       3. Berry, W. & M. Eisenberger, “Achieving Treatment Goals for Hormone-Refractory Prostate
          Cancer with Chemotherapy,” The Oncologist, 10(suppl3):30-39 (2005)
       4. Corn, et al., “Cabazitaxel plus carboplatin for the treatment of men with metastatic castration-
          resistant prostate cancers: a randomised, open-label, phase 1–2 trial,” Lancet Oncol., 20:1432-
          43 (2019)
       5. Eklund, J.W. & M.F.Mulcahy, “Chemotherapy Dosing in the Setting of Liver Dysfunction,”
          Oncology, 19(8):1057-1063 (July 2005)
       6. FDA Medical Review SA_JEV_3154241-3154330
       7. Kaye, et al., “Docetaxel in Advanced Ovarian Cancer: Preliminary Results from Three Phase II
          Trials,” Eur. J. Cancer, 31A(Suppl. 4):S14-S17 (1995)
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       8. Pal, et al., “Management of Docetaxel Failures in Metastatic Castrate-Resistant Prostate
           Cancer,” Urol. Clin. North. Am. 2012 Nov; 39(4)
       9. Takenaka, et al., “Combination chemotherapy with weekly docetaxel and estramustine for
           hormone refractory prostate cancer in Japanese patients,” Int’l J. Urology, 15:106-109 (2008)
      10. Temel, et al., “Early palliative care for patients with metastatic non- small-cell lung cancer,” N.
           Engl. J. Med., 363(8):733-742 at 733 (Aug. 2010)
      11. Trudeau, et al., “Docetaxel in Patients with Metastatic Breast Cancer: A Phase II Study of the
           National Cancer Institute of Canada-Clinical Trials Group,” J. Clin. Oncol., 14:422-428 (1996)
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   SANOFI-AVENTIS U.S. LLC, et al.,         )
                                            )
                Plaintiffs,                 )
                                            )   C.A. No. 20-804-RGA
         v.                                 )   (Consolidated)
                                            )
   ACTAVIS LLC, et al.,                     )   CONFIDENTIAL, SUBJECT TO
                                            )   PROTECTIVE ORDER
                Defendants.                 )



                OPENING EXPERT REPORT OF MARK J. RATAIN, M.D.
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   I.       INTRODUCTION

            1.     I, Mark J. Ratain, M.D., have been asked to render opinions regarding U.S. Patent

   No. 10,583,110 (“the ’110 Patent”) and U.S. Patent No. 10,716,777 (“the ’777 Patent”) (together,

   the “Asserted Patents” or “Sanofi Patents”). One or more of defendants Actavis LLC, Apotex

   Corp., Apotex, Inc., Mylan Laboratories Ltd., Dr. Reddy’s Laboratories, Inc., Dr. Reddy’s

   Laboratories, Ltd. and Sandoz, Inc. (collectively, “Defendants”) have asked me to provide an

   opinion regarding the following issues:

        x   Whether claims 1-6 of the ’110 Patent and claims 1-6 of the ’777 Patent would have

            been obvious over the prior art to a person of ordinary skill in the art (“POSA”);

        x   Whether claims 1-6 of the ’110 Patent and claims 1-6 of the ’777 Patent are directed to

            ineligible subject matter;

        x   Whether claims 1-6 of the ’110 Patent and claims 1-6 of the ’777 Patent lack sufficient

            written description; and

        x   Whether claims 1-6 of the ’110 Patent and claims 1-6 the ’777 Patent are not enabled.

            2.     I understand that there is a dispute about the relevant priority date for the patents.

   Specifically, I understand that Defendants contend that because the earliest provisional

   application did not describe the claimed pre-medication regimen, the priority date for the patents

   is January 11, 2010. I also understand that Sanofi asserts that the claims of the ’110 and ’777

   Patents were conceived and reduced to practice no later than October 29, 2009 and are therefore

   entitled to a priority date of October 29, 2009. In my opinion, the claims would be obvious

   regardless of which priority date is adopted, or, alternatively, they would be invalid for lack of

   written description and enablement. In my analysis, I have assumed a priority date of October

   29, 2009, except where I explicitly note otherwise.
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          I declare under penalty of perjury under the laws of the United States that the foregoing

   statements are true and correct and this expert report was executed by me on this 29th day of

   January, 2021.




                                                            ________________________________


                                                                    Mark J. Ratain, M.D.




                                                  
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                           EXHIBIT G
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    Sanofi intends to serve a report on Friday pursuant to the amended scheduling order (D.I. 267) to respond to new
    arguments in Dr. Ratain’s supplemental and reply reports. Sanofi is willing to withdraw Dr. Nelson’s opening
    infringement report for the ‘592 patent in view of the Court’s Memorandum Order from last Thursday (D.I. 302), but
    Sanofi reserves all rights to serve infringement reports on the ‘592 patent should the Court’s dismissal of the ’592
    patent be reversed.

    Best regards,

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    Caution: External Email



    Counsel:

    In view of the Court’s Memorandum Order from last Thursday (D.I. 302), Defendants believe the supplemental reports
    authorized under Paragraph 6.a. of the amended scheduling order (D.I. 267) are moot except as set forth in the
    Stipulated Order from last Friday (D.I. 304). Please let us know if Sanofi agrees. If Sanofi does not plan on serving a
    supplemental rebuttal report on invalidity this Friday, Defendants will agree to withdraw Dr. Ratain’s supplemental
    opening report served on August 18. Likewise, please let us know if Sanofi is willing to withdraw Dr. Nelson’s opening
    infringement report on the ‘592 patent.

    If needed, Defendants can make themselves available to meet and confer on this issue on Wednesday—please let us
    know.

    - Roshan



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